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        1                      UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
        2                             MIAMI DIVISION
        3                     CASE NUMBER 16-20893-CR-MORENO
        4
            UNITED STATES OF AMERICA,
        5
                           Plaintiff,                         Courtroom 13-3
        6
               vs.                                            Miami, Florida
        7
            MONTY RAY GROW,                                  January 25, 2018
        8
                         Defendant.
        9   __________________________________________________________________
       10                        JURY TRIAL PROCEEDINGS
                        BEFORE THE HONORABLE FEDERICO A. MORENO
       11                     UNITED STATES DISTRICT JUDGE
            _______________________________________________ ___________________
       12
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       13
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        1                                 EXHIBITS

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        3                                     Identification        in Evidence

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        5
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        1       (The following proceedings were held at 9:32 a.m.:)

        2             THE COURT:     Good morning.        The defendant is present,

        3   defense counsel, Government counsel.

        4             Mr. Rashbaum, how is your son?

        5             MR. RASHBAUM:     Judge, thanks for asking.       He has no

        6   fever this morning so -- my wife is a stellar mom.            I'm lucky.

        7             THE COURT:     All right.   I gave you all a few minutes

        8   ago, about 5, 10 minutes ago, proposed jury instructions so you

        9   can look at them.      No need to talk about it now, but it was

       10   something for you.

       11             This morning we got a call from our Ms. Brooks.           She

       12   was the 13th juror who became the 12th juror after we excused

       13   Ms. Glover who had the swelling in her ankle.            And Ms. Brooks

       14   was going to the doctor, to the hospital, she's got stomach

       15   pain.   The doctor had told her she couldn't work and I guess she

       16   forgot to tell us that.      In any event, she is either at the

       17   doctor or at the hospital right now and left a number, and

       18   that's Leah Michelle Brooks.

       19             So obviously, we shouldn't make her come because I'm

       20   not going to have the marshals get someone from the hospital.

       21   She has stomach pains, and it looked like it was serious, at

       22   least from what she says.

       23             What say the defense?

       24             MR. RASHBAUM:     Excuse her, Your Honor.

       25             THE COURT:    What say the Government?
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        1             MR. LARSEN:      Excuse the juror, Your Honor.

        2             THE COURT:     Okay.   See, now we are down to two

        3   alternates.    That's why we chose alternates, see.         And that's

        4   why it's important for trials to move quickly for both sides.

        5   All right?    That's what happens.        Okay.   They are being moved

        6   from one jury room to the other.

        7               So you've got your witness?

        8             MR. LARSEN:      Yes, Judge, we do.

        9             THE COURT:     All right.     Ready to go?

       10             MR. LARSEN:      Yes, we are.

       11             MR. JUENGER:     Should we bring the witness in now, Your

       12   Honor, just to be ready to go?

       13             THE COURT:     Yes, you might as well bring him in.

       14   Something has happened.

       15             Right over here on my left, your right.         Okay?   You can

       16   sit down, get comfortable.       The jury will be coming in.      Right

       17   in there.     It's hard to see.    Right there, our left.      Go ahead

       18   and have a seat, get comfortable.           We'll swear you in in a

       19   minute.

       20               And this witness is?

       21             MR. JUENGER:     Josie Brundige, Your Honor.

       22             THE COURT:     And she came from where?

       23               MR. JUENGER:    Jacksonville.

       24               THE COURT:   Okay.    Did you drive?

       25             THE WITNESS:     No, sir, I fly.
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        1             THE COURT:    All right.    I wonder what's going on.

        2   Bring them in.

        3             THE COURTROOM DEPUTY:      They are in there.

        4              THE COURT:    Bring them in.       Thank you.   Well, I didn't

        5   know.

        6             THE COURTROOM DEPUTY:      I was coming to tell you.

        7             THE COURT SECURITY OFFICER:         All rise for the jury,

        8   please.

        9              One second, Your Honor, one is in the restroom.

       10             THE COURT:    No, but bring them in.       Bring them in, and

       11   the last one comes in.     They all don't have to come in together

       12   as a team.    Just start bringing them in.        We don't wait.

       13       (The jurors entered the courtroom at 9:38 a.m.)

       14              THE COURT:    Good morning, everybody.

       15             THE JURY:     Good morning.

       16              THE COURT:    Have a seat and relax.

       17       (The remaining juror entered the courtroom 9:39 a.m..)

       18             THE COURT:    Please be seated.

       19             The defendant is present, defense counsel and

       20   Government counsel.

       21              Ms. Brooks, Leah Michelle Brooks, became ill, she had

       22   to go to the doctor, I'm sure she'll be all right, with stomach

       23   pains.    So we have excused her, just in case you wondered why

       24   she was not here.

       25             And then I want to apologize in particular to
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        1   Mr. Jones, James Lee Jones, because when I said get here for

        2   9:30, I also said for some of you 8:30, because I didn't want to

        3   zero in on anybody.     So Mr. Jones thought it was 8:30 and he was

        4   here before 8:00 because I saw him and the others.               So I'll make

        5   it up to you somehow.     I don't know how, but I'll make it up to

        6   you.   If not, you'll get your reward in the next world.              Right?

        7   I don't know.    Somehow or other that will work, but I want you

        8   to know I appreciate the fact and it was my fault.

        9             I also don't tell you too much in advance when we start

       10   the next day because then it can be confusing, but I might as

       11   well tell you that tomorrow morning, because of other matters

       12   that I have in the court, is 10:15.              Okay?    So 10:15 tomorrow.

       13             Yes, sir.    Mr. Jean.

       14            MR. JEAN:     I have a doctor's appointment.

       15             THE COURT:    You have a doctor's appointment.             Did you

       16   tell me about that?

       17            MR. JEAN:     Yeah.

       18             THE COURT:    You did?

       19            MR. JEAN:     Yeah.

       20             THE COURT:    You did, huh?           Okay.    What time was it?

       21             MR. JEAN:    At 9:00.

       22             THE COURT:    At 9:00.     And how long do you think it's

       23   going to take?

       24             MR. JEAN:    About an hour.

       25             THE COURT:    Pardon?
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                                            Brundige - Direct

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        1              MR. JEAN:    About an hour.

        2              THE COURT:   Half an hour, you said?

        3              MR. JEAN:    About an hour.

        4              THE COURT:     All right.     Well, go to the doctor, we'll

        5   figure it out.    Okay?

        6              I forgot to write it down, okay, but no problem.             And

        7   then, what we'll do is we will start at 10:30.             All right?

        8   There's no point making everybody come in at 10:15.

        9              How far is the way doctor?           How far away is the doctor?

       10   How far?    What part of town is the doctor in where you are

       11   going?

       12              MR. JEAN:    Right by my house.

       13              THE COURT:     But I don't remember where your house is

       14   so -- what city?

       15              MR. JEAN:    Miami Shores.

       16              THE COURT:     Miami Shores.       Okay.   All righty.

       17              Your next witness is?

       18              MR. JUENGER:    Josie Brundige.

       19              THE COURT:     Would you mind raising your right hand.

       20              JOSIE BRUNDIGE, GOVERNMENT'S WITNESS, SWORN.

       21              THE COURT:     Lower your hand and tell us your name.

       22              THE WITNESS:    My name is Josie Brundige, spelled

       23   J-o-s-i-e, B, as in boy, r-u-n-d-i-g-e.

       24              THE COURT:     All right.     Go ahead.

       25                              DIRECT EXAMINATION
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                                           Brundige - Direct

                                                                                       11


        1   BY MR. JUENGER:

        2   Q.   Ms. Brundige, where do you live, what city and state?

        3   A.   I live in Jacksonville, Florida.

        4   Q.   And do you have health insurance?

        5   A.   Yes, sir.

        6   Q.   What type of health insurance?

        7   A.   Tricare.

        8   Q.   And was there a time in the past when you were offered to

        9   order some drugs through the mail?

       10   A.   Yes, sir.   It was shown to me by a friend.

       11   Q.   And just tell me the name of the friend, please.

       12   A.   Her name is Eleanor Alley.

       13   Q.   Eleanor Alley?

       14   A.   Yes.

       15   Q.   And what were the drugs that you offered?

       16   A.   She just told me would you like to try a pain, something

       17   pain medication.      It's a kind of cream.

       18   Q.   And did you have pain?

       19   A.   The pain, yeah, because I work in health care and then I

       20   walk around a lot and so I tried it.

       21   Q.   And did you agree to order it?

       22   A.   I kind of like told her, okay, I will try it, and then she

       23   gave me a piece of paper.

       24   Q.   And were there other drugs that you agreed to try?

       25   A.   She didn't mention that.      She just said just the pain cream.
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                                                                                          12


        1   Q.   And were you offered any money if you ordered any drugs?

        2   A.   She just said like if you order this, you're going to get

        3   some money.

        4             MR. RASHBAUM:     Objection, Your Honor, hearsay.

        5             THE COURT:     Sustained.       You can't tell us what she

        6   said.

        7             MR. JUENGER:     It was an offer, Your Honor, but --

        8             THE COURT:     Pardon?     I'm sorry?

        9             MR. JUENGER:     It was an offer.          It's not offered for

       10   the truth.    That's ironic but --

       11             THE COURT:     Are you seeking the truth here?

       12             MR. JUENGER:    I am not.

       13             THE COURT:   You are not seeking the truth in this case?

       14             MR. JUENGER:     No.

       15             THE COURT:   You don't really want to say that, do you?

       16             MR. JUENGER:     Well --

       17             THE COURT:   I'm sustaining the objection.

       18             MR. JUENGER:     Fair enough, Your Honor.

       19             THE COURT:     Let's not talk lawyer-talk.          Just call the

       20   witness for whatever you think is important, not to argue with

       21   the Court about the rules of evidence.

       22   BY MR. JUENGER:

       23   Q.   Ms. Brundige, did you ever hear from a doctor about those

       24   drugs?

       25   A.   No, never.
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                                             Brundige - Cross

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        1   Q.   And did the drugs come?

        2   A.   I never heard from -- I mean none of them.

        3   Q.   You never received any drugs?

        4   A.   I mean, drugs, yeah, it was delivered, yes.

        5   Q.   And what drugs were delivered?

        6   A.   When I open it, it was pain cream and there's a vitamin and

        7   there is a scar cream also.

        8   Q.   Do you have any scars?

        9   A.   No, sir, I don't have any scar.

       10   Q.   And did you receive some money after the drugs came?

       11   A.   Yes.    Right after a month of that when we received it.

       12               MR. JUENGER:    That is all I have, Your Honor.

       13               THE COURT:     Cross-examination.

       14               MR. RASHBAUM:    Very briefly.

       15               THE COURT:     It should be.

       16                                CROSS-EXAMINATION

       17   BY MR. RASHBAUM:

       18   Q.   My name is Dan Rashbaum.        I represent Monty Grow.   Good

       19   morning.

       20   A.   Good morning.

       21   Q.   Did you ever meet Mr. Grow, Monty Grow?

       22   A.   No.

       23   Q.   Did you ever talk to Monty Grow about your pains or anything

       24   like that?

       25   A.   No, sir.
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                                              Brundige - Cross

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        1   Q.   Have you ever talked to Monty Grow in your whole entire

        2   life?

        3   A.   No.

        4   Q.   And that form that you gave detailing the pain in your back

        5   and whether you wanted scar cream or didn't want scar cream, did

        6   you give that to Monty Grow?

        7   A.   Yes.

        8   Q.   You gave --

        9   A.   I'm sorry.

       10   Q.   Let me rephrase.

       11                Have you ever given anything to Monty Grow or spoken to

       12   Monty Grow?

       13   A.   I never met him and I never spoke to him.

       14   Q.   Okay.    And you've never given him anything either, correct?

       15   A.   Correct.

       16                MR. RASHBAUM:    No further questions, Your Honor.

       17                THE COURT:     Redirect.

       18                MR. JUENGER:     No redirect, Your Honor.

       19                THE COURT:     Thank you, Ms. Brundige, you're excused.

       20   Have a safe trip back to Jacksonville.               Next witness.   You can

       21   go the same way you came.

       22        (The witness was excused.)

       23                MR. LARSEN:     Your Honor, the --

       24               THE COURT:     Who is it?

       25                MR. LARSEN:     Your Honor, the Government called Sven
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                                           Bjerke - Direct

                                                                                       15


        1   Bjerke.

        2             THE COURT:     All right.

        3             Raise your right hand, please, sir.

        4              SVEN BJERKE, GOVERNMENT'S WITNESS, SWORN.

        5             THE COURT:     Have a seat, tell us your name, and spell

        6   both first and last name.      All right?

        7             THE WITNESS:    My name be Sven Bjerke, S-v-e-n,

        8   B-j-e-r-k-e.

        9             THE COURT:     Thank you, sir.

       10                             DIRECT EXAMINATION

       11   BY MR. LARSEN:

       12   Q.   Good morning, Mr. Bjerke.

       13   A.   Good morning.

       14   Q.   Where do you live, city and state only, please?

       15   A.   Jacksonville, Florida.

       16   Q.   Do you know why you were called to testify here in court

       17   today, Mr. Bjerke?

       18   A.   Yes, sir.

       19   Q.   Why were you called to testify?

       20   A.   To speak in front of a jury about my business with Monty

       21   Grow.

       22   Q.   And how did you first meet Mr. Grow?

       23   A.   Through a friend of mine named Ryan Long.

       24   Q.   And who is Ryan Long?

       25   A.   Monty's friend.
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                                           Bjerke - Direct

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        1   Q.   Do you know how Mr. Long and Mr. Grow know each other?

        2   A.   I believe childhood buddies.

        3   Q.   Now, what did you specifically do -- what were your business

        4   dealings?     In a brief way describe your business dealings with

        5   Mr. Grow.

        6   A.   I got paid to recruit patients that had Tricare.

        7   Q.   By -- you got paid by whom?

        8   A.   By Monty.

        9   Q.   Did you plead guilty to charges associated with this

       10   business arrangement you had with the defendant?

       11   A.   I did plead guilty.

       12   Q.   What did you plead guilty to?

       13   A.   To receiving kickbacks.

       14   Q.   What type of charge did you plead guilty to, do you know?

       15   A.   Conspiracy.

       16   Q.   Conspiracy to receive kickbacks?

       17   A.   To receive kickbacks, sorry.

       18   Q.   And did you plead guilty because you are, in fact, guilty,

       19   Mr. Bjerke?

       20   A.   Yes, sir.

       21   Q.   And have you met Mr. Grow personally before?

       22   A.   I have met Monty once.

       23   Q.   Do you see Mr. Grow in the courtroom today?

       24   A.   Yes, sir, he's sitting over there.

       25   Q.   Did you, in connection with the charges, enter into a
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                                           Bjerke - Direct

                                                                                       17


        1   written Plea Agreement with the United States Government?

        2   A.   Yes, I did.

        3   Q.   Have you been sentenced yet in connection with the conduct

        4   that you pled guilty to?

        5   A.   I have not.

        6   Q.   Now, what do you understand that your Plea Agreement

        7   requires you to do?

        8   A.   Just to cooperate.

        9   Q.   What do you understand cooperate to mean?

       10   A.   I submitted documents and had an interview with the U.S.

       11   attorneys.

       12   Q.   And what else do you understand your Plea Agreement requires

       13   you to do?

       14   A.   Just to tell the truth.

       15   Q.   And have you been cooperating with the Government prior to

       16   today?

       17   A.   Yes, sir.

       18   Q.   Now, are you testifying today in court, at least in part,

       19   because you're hoping to get some further reduction of your

       20   ultimate sentence?

       21   A.   Sure.

       22   Q.   Has the Government asked for a reduction in your sentence at

       23   this point?

       24   A.   No.

       25   Q.   Who do you understand will make that decision if any request
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                                           Bjerke - Direct

                                                                                       18


        1   is ultimately made to reduce your sentence?

        2   A.   The judge would be the final decision on that.

        3   Q.   Do you know what perjury is, Mr. Bjerke?

        4   A.   Yes.

        5   Q.   What is it?

        6   A.   Lying on the witness stand.

        7   Q.   And what do you believe could happen to you if you lied on

        8   the witness stand today?

        9   A.   Jail time.

       10   Q.   Now, earlier you mentioned Ryan Long as the individual who

       11   introduced you to the defendant.         Why were you introduced to the

       12   defendant?

       13   A.   Just for a business opportunity, to become a pharmaceutical

       14   rep and make money.

       15   Q.   And what was this opportunity, this pharmaceutical rep?        Was

       16   there a company name?

       17   A.   It was InforMD Solutions.

       18   Q.   What was InforMD Solutions?

       19   A.   A pharmaceutical rep company.

       20   Q.   Did you sign a contract with Mr. Grow for InforMD Solutions?

       21   A.   Yes, I did.

       22   Q.   Do you know where InforMD Solutions was located?

       23   A.   Based in Louisiana.

       24   Q.   I'm going to show you what has been admitted in evidence as

       25   Government's Exhibit 137.     Sven Bjerke, this is you, right --
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        1   A.   Yes, sir.

        2   Q.   -- and Mr. Grow?

        3             I'm showing you the document that's attached to this

        4   email.   It says Independent Sales Agreement and your name?

        5   A.   Yes, sir.

        6   Q.   On the last page, is this your signature?

        7   A.   It is.

        8   Q.   And you see Monty Grow, President.          Do you know what MGTEN

        9   Marketing Group, Inc. is?

       10   A.   Yes, that's Monty's company.

       11   Q.   And this agreement was to be an independent sales agent for

       12   Mr. Grow?

       13   A.   Yes, sir.

       14   Q.   What did you understand you were going to be doing for

       15   Mr. Grow with this pharmacy in Louisiana?

       16   A.   Well, as a pharmaceutical rep, I guess you had to have a

       17   relationship with a doctor or doctors and to get them to use

       18   your script pad that had their information on it.

       19   Q.   Now, what time frame was this when you started working with

       20   Mr. Grow, the defendant, at the Louisiana or for the Louisiana

       21   pharmacy?

       22   A.   I would say mid to late 2014.

       23   Q.   So in mid 2014, did you have any other job at the time?

       24   A.   At the time I did, I worked in a warehouse.

       25   Q.   Did you have any pharmaceutical background or marketing
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                                                                                       20


        1   experience?

        2   A.     I did not.

        3   Q.     Tell the jury how you started with InforMD in Louisiana?

        4   Was it physically in Louisiana where you were living?

        5   A.   No, I was living in Jacksonville.

        6   Q.     How did you get started with Mr. Grow and InforMD?

        7   A.     Well, as soon as I received the kit, almost like a welcome

        8   kit from InforMD, they just send you this big kit that had --

        9   what is this -- intake sheets, prescription forms, and different

       10   literature telling their services and what kind of products they

       11   had.    And you were to, you know, have a relationship with

       12   doctors so that they would use your specific script pads when

       13   they prescribed stuff to patients.

       14   Q.     Your specific script pads, what do you mean by that?

       15   A.   Well, on the script pads, they would have identifying

       16   numbers or letters that you would get paid for if they were able

       17   to fill the prescriptions.

       18   Q.     And who did you understand you were to be marketing these

       19   InforMD products to?

       20   A.   Tricare.

       21   Q.     At InforMD?

       22   A.     At InforMD, yeah.

       23   Q.   Where would you go to try and persuade someone for InforMD,

       24   I'm talking about in Louisiana?        Where were you supposed to

       25   market the products to?
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        1   A.   To military.

        2   Q.   At InforMD?

        3   A.   Oh, no, not at InforMD.    InforMD was just a doctor's office.

        4   Q.   Okay.

        5   A.   You would have to have a relationship with doctors and

        6   then --

        7   Q.   I'm going to ask you about the military in a moment.       Tell

        8   the jury -- we're talking about July of 2014, the summer of

        9   2014.   What was the business arrangement with the defendant and

       10   InforMD?     What were you told to do?

       11   A.   Just to have a relationship with doctors and get the

       12   literature into their office, so that they could prescribe the

       13   products.

       14   Q.   How were you supposed to do that?

       15   A.   By meeting with doctors and maybe taking them out to lunch

       16   or something and having a relationship with them.

       17   Q.   Did you know any doctors or had any relationships with

       18   doctors?

       19   A.   I did not, no.

       20   Q.   Did Mr. Grow train you at all on these products from

       21   InforMD?

       22   A.   No.

       23   Q.   Did he train you about how to market the products?

       24   A.   No.

       25   Q.   Did he train you about what they were supposed to be used
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        1   for?    Again, I'm talking about the InforMD products.

        2   A.   No, not at all.

        3   Q.   How were you supposed to make money in this arrangement with

        4   the defendant at InforMD?

        5   A.     Well, at InforMD, if the doctors used the script pads, you

        6   would get a commission.

        7   Q.   Did you make any money at all through InforMD?

        8   A.     I made about 400 bucks.

        9   Q.   And what was that $400 related to?

       10   A.     I got -- actually got my mom to go in and take the script

       11   pad to her doctor and they were able to fill it.

       12   Q.   Okay.    So your mom took a script to her primary care doctor?

       13   A.   Correct.

       14   Q.   And you made how much money?

       15   A.     400 bucks.

       16   Q.     Is that all you made through your relationship with the

       17   defendant and InforMD?

       18   A.     For InforMD, yes.

       19   Q.   Was the money that you were supposed to make at InforMD, was

       20   it a commission or a percentage?

       21   A.     Yes.

       22   Q.     If you made money through any patient at InforMD, do you

       23   know whether Mr. Grow would also make money?

       24   A.     Yes.

       25   Q.   Okay.    Now, did you ever pay doctors while you were working
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                                                                                       23


        1   for InforMD?

        2   A.   Never.

        3   Q.   Did you actually ever make it into a face-to-face meeting

        4   with a doctor?

        5   A.   Never made it that far.

        6   Q.   Did you ever pay a patient to try these products or to take

        7   a prescription in?

        8   A.   I did not.

        9   Q.   Aside from your mother, who you just testified to, did you

       10   directly market to any patient while you were working with

       11   InforMD?

       12   A.   No.

       13   Q.   Now, did there come a time when the way you were marketing

       14   the products at InforMD changed?         Did there come a time when the

       15   business arrangement changed?

       16   A.   With InforMD?

       17   Q.   With InforMD or thereafter.       I'm talking about after the

       18   summer of 2014, was there ever a change?

       19   A.   Yeah, there was a change at some point.

       20   Q.   Can you tell the jury about that change?

       21   A.   Well, it went from having relationships with doctors to now

       22   being able to use something called telemed which is -- I guess

       23   which is a doctor, I am not quite sure what it is, but a doctor.

       24   You would turn the intake sheet and then a doctor would call the

       25   patient.
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        1   Q.   And how did you learn about that?           How did you know that?

        2   A.   Through turning in the sheets to Monty Grow.

        3   Q.   So the defendant told you about this change in the

        4   arrangement?

        5   A.   Sure.

        6   Q.   Okay.    Do you know where these telemed doctors came from?

        7   A.   I have no idea.

        8   Q.   Did the defendant tell you anything about relationships he

        9   had with the telemed doctors?

       10   A.   No.

       11   Q.   So with this change, the change we are talking about with

       12   the use of the telemed doctors, did you get any different

       13   instructions about how you were supposed to market these

       14   products?

       15   A.   Sure.    Now you could just market directly to a patient that

       16   had Tricare and then just get the sheet filled out with the

       17   information and email it to Grow and to tell them that they

       18   would expect a phone call from a doctor.

       19   Q.   I want to just go back to InforMD for just a second.           Were

       20   you told by the defendant to target Tricare beneficiaries back

       21   at InforMD?

       22   A.   Not specifically, no.

       23   Q.   So this was something new --

       24   A.   Correct.

       25   Q.   -- targeting the Tricare?
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        1   A.     Sure.

        2   Q.     So what type of direction, if any, did you get from the

        3   defendant about the products that you should sign up patients

        4   for?

        5   A.     It was just three things; it was scar cream, multivitamin,

        6   and pain cream.

        7   Q.     Were there any directions with respect to how much or

        8   refills?

        9   A.     There was a thing on the sheet that you could check off to

       10   get auto refills, so that was a pushing point.

       11   Q.     What do you mean, a pushing point?

       12   A.     You wanted auto refills, so you could get more money.

       13   Q.     And who told you that?

       14   A.     Mr. Grow.

       15   Q.     Why were you told to target Tricare patients for these

       16   products?

       17   A.     Well, they were the only ones that were paying, the only

       18   company that was paying out for these products.

       19   Q.     Did the defendant tell you to find any other type of patient

       20   for these products?

       21   A.     No.

       22   Q.     Did you receive any instruction from the defendant about

       23   what to tell patients about what the cost of these drugs, what

       24   the cost out of pocket to the patient would be?

       25   A.     Yes.    There would be no cost to them aside from a copay.
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        1   Q.   Did you ever receive any instruction from Mr. Grow about

        2   copays?

        3   A.   Sure.

        4   Q.   What did he tell you?

        5   A.   That they wouldn't collect a copay if they didn't want to

        6   pay for it.

        7   Q.   Who is "they" when you say they wouldn't collect?

        8   A.   I guess Tricare or --

        9   Q.   Okay.    So there would be no copay collected if the patient

       10   didn't want it.    I want to make sure I understand your

       11   question -- your answer.     Excuse me.

       12              MR. RASHBAUM:   Objection, Your Honor, leading.     He

       13   asked and answered.

       14              THE COURT:   Sustained.

       15   BY MR. LARSEN:

       16   Q.   Any other instructions with respect to copay that you got

       17   from the defendant?

       18   A.   No.

       19   Q.   Why would you tell a patient that didn't want to pay a copay

       20   that they could ignore it?

       21   A.   Just as, I guess, a selling point maybe to get them involved

       22   as perhaps a rep.

       23   Q.   Would there be any impact to you as a sales rep if a patient

       24   didn't have to pay a copay?

       25   A.   Yeah, they might lean towards getting the products if they
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                                                                                       27


        1   didn't have to pay anything out of their own pocket.

        2   Q.   Have you ever the heard the name of a person named Josie

        3   Brundige?

        4   A.   Sure.

        5   Q.   Who is she?

        6   A.   She's a friend of my aunt.

        7   Q.   Let me show you Government's Exhibit 77.      It's been

        8   admitted.    It's an email from you to Mr. Grow dated January 24,

        9   2015.   It says, "Tricare Patient Intake Form."

       10             Is this the intake form that you were testifying about

       11   earlier to fill out?

       12   A.   Yes, sir.

       13   Q.   And what instructions were you given by Mr. Grow with

       14   respect to how to fill this out?

       15   A.   Just to fill it out, get it filled out and email it to him.

       16   Q.   Okay.   And this email address up here, is this the email

       17   address that you would sometimes use --

       18   A.   Sure.

       19   Q.   -- or in this case, this email address,

       20   montygrow@hotmail.com?

       21   A.   Correct.

       22   Q.   And here you say, "Attached is a new Patient Intake Form."

       23   And you mentioned Eleanor Alley?

       24   A.   Yes, that's my aunt.

       25   Q.   Now, did you fill out this Patient Intake Form?
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        1   A.     I did.

        2   Q.     And I want to focus in on -- let's see.     There's the name

        3   Josie Brundige, her Tricare benefits number; surgeries, none.

        4   It says location of scar, and here it says zero, still wants the

        5   scar cream.       Did you write that?

        6   A.     I did.

        7   Q.     Did it seem odd to you to be writing down zero, but still

        8   wants the scar cream?

        9   A.     Sure.

       10   Q.     Why would that be odd?

       11   A.     'Cause I guess she doesn't need the scar cream and she still

       12   wanted it.

       13   Q.     And it says location of pain, knee; and metabolic vitamin,

       14   yes.

       15                 So you emailed this to Mr. Grow on January 24th?

       16   A.     Yes.

       17   Q.     Do you know what happened to the intake form that we were

       18   just discussing after you emailed it to the defendant?

       19   A.     I do not.

       20   Q.     How did you get paid for patients that you referred to the

       21   defendant?

       22   A.     I would get a direct deposit monthly.

       23   Q.     And how much money did you get from the defendant?

       24   during the course of this arrangement you've been talking about

       25   this morning?
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        1   A.   Somewhere around 80 grand.

        2   Q.   What did you get the 80 grand -- what did you do for that

        3   money?

        4   A.   Just recruited Tricare patients, that's it.

        5   Q.   And how many?     Was it a lot, a little?

        6   A.   My first tier wasn't very many, maybe a few, but then you

        7   had reps underneath you that were way more active than I was,

        8   that I was drawing income from as well.

        9   Q.   So was it a period of months, or how long were you involved

       10   with Mr. Grow?

       11   A.   I would say months, maybe not quite a year, six months.        I

       12   can't really remember.

       13   Q.   You said you were working in a warehouse before you got

       14   involved with the defendant?

       15   A.   Yes, sir.

       16   Q.   Was that a full-time job?

       17   A.   It was.

       18   Q.   So 40 hours a week?

       19   A.   Sure.

       20   Q.   And what kind of work were you doing there?

       21   A.   Just shipping and receiving.

       22   Q.   How much money did you earn at that job in a year?

       23   A.   About 42 grand.

       24   Q.   Okay.     Now, did there come a time when you learned that you

       25   had to become an employee of a pharmacy called PCA?
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        1   A.   I remember that, yes.

        2   Q.   What do you remember about that?

        3   A.   Just that we were switching over to be employees of the

        4   pharmacy, not quite sure why, just had to fill out paperwork.

        5   Q.   And who told you you had to do that?

        6   A.   Monty.

        7   Q.   Did you do the paperwork?

        8   A.   Sure.

        9   Q.   Did you ever work for this pharmacy?

       10   A.   I mean, I didn't do any work for the pharmacy, no.

       11   Q.   Did you ever do any more active recruiting of Tricare

       12   beneficiaries after you became or filled out this paperwork for

       13   the pharmacy?

       14   A.   I did not.

       15   Q.   How much money, if any, did you receive in payment from the

       16   pharmacy?

       17   A.   Somewhere around 32 grand.

       18   Q.   Okay.    So about $80,000 came directly from the defendant and

       19   then another $30,000 from the pharmacy?

       20   A.   Yes, sir.

       21   Q.   Did you ever get any training from the pharmacy on the

       22   products --

       23   A.   No.

       24   Q.   -- about how to sell them --

       25   A.   No.
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                                                                                       31


        1   Q.     -- whether they worked or not or how they worked?

        2   A.     Nothing.

        3   Q.     Did you incorporate a company named S. Bjerke, LLC?

        4   A.     Yes, I did.

        5   Q.     Why did you do that?

        6   A.     I was just told by Grow that that's just something I needed

        7   to do in order to get paid.

        8   Q.     Was this company -- did this company do anything, S. Bjerke,

        9   LLC?

       10   A.     It didn't really do anything, no.

       11   Q.     Did it do any business?

       12   A.     No, it didn't do any business, it just received money.

       13   Q.     Okay.

       14               MR. LARSEN:     Nothing further, Your Honor.

       15                  THE COURT:   Cross-examination.

       16               MR. RASHBAUM:     Thank you, Your Honor.

       17               THE COURT:      You're welcome.

       18                                 CROSS-EXAMINATION

       19   BY MR. RASHBAUM:

       20   Q.     How do you say your last name?          I'm sorry.

       21   A.     Bjerke.

       22   Q.     Good morning, Mr. Bjerke.

       23   A.     Good morning.

       24   Q.     If I mess up your name, I'm sorry.

       25   A.     No worries.
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        1   Q.   My name is Dan Rashbaum.        I represent Monty Grow.

        2                I want to just unpack a couple of things to make sure

        3   the jury is not confused.       When you first met Monty Grow and

        4   started working with him, it was at a company called InforMD,

        5   right.

        6   A.   Yes, sir.

        7   Q.   Okay.    And InforMD was a very large company?

        8   A.   Correct.

        9   Q.   And when you were signed up to work at InforMD, Mr. Grow was

       10   your contact at InforMD, correct?

       11   A.   Sure.

       12   Q.   Now, when you started with InforMD, the first thing that

       13   InforMD did was they sent you some literature, right, on the

       14   company and the products they were selling.

       15   A.   Correct.

       16   Q.   Let me just --

       17                MR. RASHBAUM:    Judge, I'm offering or admitting

       18   Defendant's Exhibit 17 with no objection.

       19                MR. LARSEN:    No objection.

       20                THE COURT:    All right.    With no objection, it will be

       21   admitted.

       22        (Defendant's Exhibit Number 17 was received in evidence.)

       23   BY MR. LARSEN:

       24   Q.   The literature looked something like this, correct?

       25   A.   Yes, sir.
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                                                                                       33


        1   Q.   Okay.   And InforMD also immediately sent you a 1099, right,

        2   so you could do your taxes?

        3   A.   Yes, sir.

        4   Q.   And InforMD, this large company, immediately sent you

        5   information so that you could tell them where they could wire

        6   money to for your commissions, right?

        7   A.   Yes.

        8   Q.   And you were paid at InforMD on a commissions basis, right?

        9   A.   Yes.

       10   Q.   I don't know the exact numbers, but it was a tiering system,

       11   right?

       12   A.   It was a tier, I believe, yes.

       13   Q.   Something like 7 percent, 5 percent, 3 percent?

       14   A.   Sure.   It sounds about right.

       15   Q.   And InforMD had you also filled out some other paperwork

       16   that companies would normally have you fill out before you start

       17   working for them, right?

       18   A.   I can't remember.

       19   Q.   Okay.   But they had you fill out the 1099, they gave you

       20   that information, and they asked for your direct deposit,

       21   correct?

       22   A.   Yes

       23   Q.   Your bank account information?

       24   A.   Sure.

       25   Q.   And then when you got your commissions at InforMD, your
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                                                                                          34


        1   payments didn't come directly from Mr. Grow, they came directly

        2   from InforMD.    Is that fair to say?

        3   A.   Okay.    That's fair, yes.

        4   Q.   And InforMD did not market to patients.            That's also fair to

        5   say, correct?

        6   A.   Right.

        7   Q.   The deal at InforMD was, you would go to, hopefully,

        8   doctors' offices.

        9   A.   Correct.

       10   Q.   But there was a problem with that.            It was difficult, right?

       11   A.   For me, yes.

       12   Q.   And it was difficult because the doctors already had

       13   relationships with other salespeople?

       14   A.   Sure.

       15   Q.   And other salespeople were taking the doctors out to ball

       16   games, right?

       17   A.   Sure.

       18   Q.   And they were friends with the doctors.

       19             MR. LARSEN:   Objection, foundation.

       20             THE COURT:    Is this a question?

       21             MR. RASHBAUM:    Yes.

       22             THE COURT:    What is the question?

       23   BY MR. RASHBAUM:

       24   Q.   You were having trouble because the doctors were already

       25   inundated with their friends and people who had relationships
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                                                                                       35


        1   with them, right?

        2               THE COURT:   Why don't you break it up, say did you have

        3   problems.

        4   BY MR. RASHBAUM:

        5   Q.   The doctors had friends that already had relationships with

        6   them, right?

        7               THE COURT:   If you know.

        8               MR. RASHBAUM:    If you know.

        9               THE COURT:   If you don't know, say I don't know.

       10               THE WITNESS:    Sure.

       11   BY MR. RASHBAUM:

       12   Q.   And Monty Grow and you had a rule because InforMD had a

       13   rule, we don't pay doctors for prescriptions.

       14   A.   Correct.

       15   Q.   Because you knew paying doctors for prescriptions would be a

       16   kickback, right?

       17   A.   Correct.

       18   Q.   And you knew you couldn't do that because Monty Grow and you

       19   discussed that and said we don't pay doctors for prescriptions.

       20   A.   Right.

       21   Q.   And so at some point in time, Mr. Grow leaves InforMD,

       22   correct?

       23   A.   Yes.

       24   Q.   By the way, just backing up a little bit, and again, you got

       25   introduced to Mr. Grow through Ryan Long, correct?
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                                                                                       36


        1   A.   Correct.

        2   Q.   And Ryan Long was also one of these marketers at InforMD?

        3   A.   Yes.    He was actually my sponsor.

        4   Q.   Okay.    So on my chart before he would be in your downstream.

        5   A.   Sure.

        6   Q.   Anything you brought in, he would get a percentage of as

        7   well?

        8   A.   Correct.

        9   Q.   So at some point in late 2014, early 2015, you learned that

       10   Mr. Grow is leaving InforMD, correct?

       11   A.   Yes.

       12   Q.   And that he's going to open up his own company?

       13   A.   Correct.

       14   Q.   And you learn through Mr. Long that there's an opportunity

       15   for you and him, Mr. Long, to move with Mr. Grow to his new

       16   company, correct?

       17   A.   Correct.

       18   Q.   And the whole part of this new company is you no longer are

       19   going to run into that roadblock because you won't pay doctors

       20   because that would be a kickback, you're going to market

       21   directly to patients, correct?

       22   A.   Correct.

       23   Q.   And when you market directly to those patients, you're going

       24   to market to patients who have Tricare?

       25   A.   Yes.
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                                                                                       37


        1   Q.   And the reason why you're going to market directly to

        2   patients who have Tricare is because Tricare was the only game

        3   in town that was paying for these compound pharmaceutical

        4   products, right?

        5   A.   Yes.

        6   Q.   So it wouldn't make sense to market it to Medicare

        7   patient's, right, because they wouldn't pay for the product,

        8   correct?

        9   A.   Correct.

       10   Q.   And when Mr. Grow signed you on to his new company, MGTEN,

       11   what's the first thing he gives you?            He gives you these same

       12   marketing materials, correct?

       13   A.   Sure.

       14   Q.   And he gives you the 1099, right?

       15   A.   Correct.

       16   Q.   And you're tiered situation, the 7 percent, 5 percent, 3

       17   percent, that remained the same as well, correct?

       18   A.   Yes.

       19   Q.   He basically takes -- he copies the entire InforMD structure

       20   and brings it to this new company, right?

       21   A.   Yes.

       22   Q.   The only thing that changes is you're not dealing with

       23   doctors, you're dealing directly with patients, right?

       24   A.   Correct.

       25   Q.   And the way it works at this new company -- and I'm showing
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                                                                                       38


        1   you as an example Government's Exhibit 77, which the Government

        2   just showed you and put into evidence -- is it starts with you

        3   or someone in your downstream finding a Tricare patient who

        4   needs one of the medications, correct?

        5   A.   Sure.

        6   Q.   Mr. Grow never told you, just go find people who don't need

        7   the product, right?

        8   A.   Right.     No, he never said that.

        9   Q.   So you go and you find people who need it and you then take

       10   their basic information, correct?

       11   A.   Yes.

       12   Q.   And the information you take is real information, right?

       13   You don't make this stuff up, correct?

       14   A.   Correct.

       15   Q.   And on the intake form it always says, as you could see

       16   here, let the patient know that they will take a call from the

       17   doctor and then the pharmacy.       So when you get these patients,

       18   you let them know that they're going to get a call on the phone

       19   from a doctor, right?

       20   A.   Yeah.

       21   Q.   And that they should tell him what's wrong with them and

       22   maybe the doctor will prescribe the medication, correct?

       23   A.   Correct.

       24   Q.   And once the patient fills out this intake form, you or the

       25   people in the downstream would send that information to
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        1   Mr. Grow, correct?

        2   A.   Yes.

        3   Q.   And Mr. Grow wouldn't have any contact directly with the

        4   patient, correct?

        5   A.   I'm not sure.

        6   Q.   Fair enough.     A lot of times you didn't have contact with

        7   the patient, right?

        8   A.   Correct.

        9   Q.   Because it would be one of your downstream marketers who met

       10   a patient, who filled out an intake form, and you would get

       11   credit in the commission line --

       12   A.   That's correct.

       13   Q.   -- but you don't know who the patient is, right?

       14   A.   That's correct.

       15   Q.   And so you would just assume the patient is putting the

       16   truth on the form, correct?

       17   A.   Yes.

       18   Q.   You don't think you should be held responsible if someone

       19   who you never met put something wrong on a form, do you?

       20   A.   No.

       21   Q.   Now, I want to talk about Ms. Brundige.      So on

       22   Ms. Brundige's form, it says location of scar, zero, still wants

       23   the scar cream.     Do you see that?

       24   A.   I do see that.

       25   Q.   You didn't lie on the form and say she had a scar on her
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        1   left shoulder?

        2   A.   Correct.

        3   Q.   You wrote the truth, which is Ms. Brundige says she doesn't

        4   have a scar, but she wants scar cream, correct?

        5   A.   Yes.

        6   Q.   And you sent that to Mr. Grow.             And are you aware --

        7               THE COURT:     I'm sorry, I don't know if he answered.

        8               MR. RASHBAUM:    Oh, I'm sorry.

        9               THE WITNESS:    Yes, yes.

       10               THE COURT:     Speak real loudly into the microphone.

       11   Thank you.

       12   BY MR. RASHBAUM:

       13   Q.   Are you aware that after saying that to Mr. Grow --

       14               THE COURT:    Well, "are you aware," whenever you all say

       15   "are you aware," I interrupt.          I don't know what that means.

       16               MR. RASHBAUM:    I'll rephrase.         Good point.   May I have

       17   one moment, Your Honor?

       18               THE COURT:     Sure.

       19   BY MR. RASHBAUM:

       20   Q.   After sending this form to Mr. Grow, it's true that Mr. Long

       21   reached out to you --

       22               MR. LARSEN:     Object, Your Honor, foundation.

       23               THE COURT:     Okay.

       24               MR. RASHBAUM:     I'm finding out if he knows.

       25               THE COURT:    I'm sorry?
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        1              MR. LARSEN:     Foundation and hearsay, Your Honor.

        2              THE COURT:    All right.     And what is the response on

        3   Long's statements, if any?

        4              MR. RASHBAUM:     I'm not asking what Mr. Long said.    I'm

        5   asking if Mr. Long reached out to him about this patient.

        6              THE COURT:    Well, how would he know if there's no

        7   substance to it?

        8              MR. RASHBAUM:     There is substance, the substance is --

        9              THE COURT:    I know and that's the problem.     The

       10   substance would be hearsay unless it meets one of the

       11   exceptions.    I mean, it may meet an exception, I don't know, but

       12   I don't know.

       13              MR. RASHBAUM:     One moment, Your Honor.

       14              I'm laying a foundation for his actions and it goes to

       15   Mr. Grow's state of mind.

       16              THE COURT:    But he can't testify as to Mr. Grow's state

       17   of mind.

       18              MR. RASHBAUM:    I'm not asking what Mr. Grow's state of

       19   mind is.

       20              THE COURT:    So what's your next question?

       21   BY MR. RASHBAUM:

       22   Q.   Did Mr. Long ever reach out to you --

       23              THE COURT:    I'm going to sustain the objection.      The

       24   way people reach out I suspect in 99 percent of the

       25   circumstances, I do not know about the one percent, is by
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        1   talking, which means Long's words would be admitted.          Maybe they

        2   are admissible, maybe they are not, but you're going to have to

        3   convince me how Long's words are admissible.

        4              Is Long a witness according to the Government?

        5              MR. LARSEN:     He's not a witness, Your Honor.

        6              THE COURT:    You've got how many witnesses left, three

        7   or four?

        8              MR. LARSEN:     Four.

        9              THE COURT:    I did that intentionally so you all would

       10   know that, though it doesn't have anything to do with my

       11   decision, but the jurors are happy to hear that.

       12              I'm not going to let you get into Long's words unless

       13   you convince me that they're admissible.

       14              MR. RASHBAUM:    I'll try this way, and if not, I'll move

       15   on.

       16              THE COURT:    No, give me the legal argument.      How are

       17   Long's words admissible?

       18              MR. RASHBAUM:    I am not asking about Long's words.

       19              THE COURT:    All right.

       20   BY MR. RASHBAUM:

       21   Q.    Were you ever contacted by Mr. Long, without telling me

       22   anything about what he said --

       23              THE COURT:    No.   When someone contacts you they say,

       24   hey, listen, guy, did you hear about this?          We don't know what's

       25   going to happen because I suspect that Mr. Bjerke is not as
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        1   familiar with the rules of evidence as you are, though I'm not

        2   sure now.       I don't know, but we'll see.

        3                 MR. RASHBAUM:     Judge, it's coming in for the impact on

        4   the listener.

        5                 THE COURT:     But that's not relevant, the impact on this

        6   listener.

        7                 MR. RASHBAUM:     For his actions, what he did after --

        8                 THE COURT:     You could ask him what he did afterwards.

        9   BY MR. RASHBAUM:

       10   Q.     After Mr. Long contacted you, what did you do?

       11                 THE COURT:    If he did.

       12                 MR. RASHBAUM:     I'm trying to ask him if he contacted

       13   him.

       14                 THE COURT:     I know, but that's what you can't get into.

       15   You can ask him what he did.            Do you have a date?

       16                 MR. RASHBAUM:     Yeah.

       17                 THE COURT:     What did you do after this particular date?

       18   You can ask that.          You can't get through the back door what you

       19   cannot get in through the front door of the same house.

       20   BY MR. RASHBAUM:

       21   Q.     January 24, 2015, this intake form is sent from you to Monty

       22   Grow.     Do you see that?

       23   A.     Yes.

       24   Q.     After that date, yes or no, you received a phone call from

       25   Mr. Long?
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        1               MR. LARSEN:     Objection, hearsay.

        2               THE COURT:    It is hearsay.           Or if not, it would be

        3   irrelevant because it doesn't prove anything.

        4               MR. RASHBAUM:    I want to show what he did after he got

        5   that phone call.

        6               THE COURT:    I don't know if he got a phone call or not.

        7   You can say what did you do about this case after that date.

        8               MR. RASHBAUM:     Did you ever have any other --

        9               THE COURT:     What did you do after that date regarding

       10   this case?

       11               THE WITNESS:    I don't remember.

       12               THE COURT:    Next question.           Move on.

       13               MR. RASHBAUM:     I'll move on, Your Honor.

       14               THE COURT:     You will.    I just said it.

       15   BY MR. RASHBAUM:

       16   Q.   Mr. Grow was explicit with you, correct, that it was also

       17   illegal to pay patients for prescriptions, right?

       18   A.   Sure.

       19   Q.   So just so we're clear, Mr. Grow was specific with you at

       20   InforMD that it was illegal to pay doctors, right?

       21   A.   Correct.

       22   Q.   And when he opened up his own company, he was explicit with

       23   you that it was illegal to pay patients, correct?

       24   A.   Yes.

       25               MR. RASHBAUM:    One moment, Your Honor.           No further
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        1   questions, Your Honor.

        2               THE COURT:    Redirect.

        3               MR. LARSEN:    Thank you.

        4                               REDIRECT EXAMINATION

        5   BY MR. LARSEN:

        6   Q.   Mr. Bjerke, Mr. Rashbaum asked you about this document, and

        7   you said on cross that this is the document, these

        8   materials, Mr. Grow asked you to use these with the patients --

        9   A.   Yes.

       10   Q.   -- for a company called InforMD Solutions.      Were you working

       11   for InforMD Solutions in the fall -- well, let's say early 2015,

       12   January of 2015, when we were talking about that prescription?

       13   A.   No, I was not.

       14   Q.   So if you were using InforMD -- were you ever using these

       15   documents with any patient?

       16   A.   I was not.

       17   Q.   Now, on direct you talked about your mom.       What was your

       18   mom's name?

       19               MR. RASHBAUM:    Objection, Your Honor, outside the scope

       20   of cross.     I didn't ask one question about mom.

       21               THE COURT:    Did you ask him on direct about the mother?

       22               MR. LARSEN:     I asked him about --

       23               THE COURT:    No, I just want -- you know how you all

       24   say, just say yes or no.

       25               MR. LARSEN:     Yes, Your Honor.
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        1                THE COURT:    You did.     So why go through it again?

        2                MR. LARSEN:    Well, it's going to lead into my question

        3   that is within the scope of the direct and the cross.

        4                THE COURT:    Well, then why don't you skip that part and

        5   go right to it.

        6   BY MR. LARSEN:

        7   Q.    Let me show you Government's Exhibit 77.         Mr. Rashbaum

        8   focused your attention, on let the patient know they will need

        9   to take a call from the doctor and then the pharmacy.          Was that

       10   what you were doing at InforMD, having telemedicine?

       11   A.    No.

       12   Q.    That's different than what you were doing at InforMD, isn't

       13   it?

       14   A.    Yes.

       15   Q.    It's a big difference, isn't it?

       16   A.    It's different.

       17   Q.    You said on cross, in response to Mr. Rashbaum's question --

       18   he said that the defendant told you to find people who needed

       19   these products, and is that the instruction you received, to

       20   find people who need it, or did you receive other instruction?

       21   A.    To find patients that needed or desired.

       22   Q.    Was that the most important instruction?

       23                MR. RASHBAUM:    Objection, Your Honor, leading.

       24                THE WITNESS:    Also the --

       25                THE COURT:    Overruled.
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        1             THE WITNESS:      Also be a part of the sales team.

        2   BY MR. LARSEN:

        3   Q.   What was the most important instruction Mr. Grow gave you

        4   about patients to find?

        5             MR. RASHBAUM:      Asked and answered.

        6             THE WITNESS:      Tricare.

        7             THE COURT:      Overruled.        I'm sorry, I didn't hear.

        8             THE WITNESS:      That they had to have Tricare.

        9   BY MR. LARSEN:

       10   Q.   Was that the most important thing?

       11   A.   Sure.

       12   Q.   Did you know anything about the telemedicine doctors being

       13   paid by the defendant?       Did you know that?

       14   A.   I did not.

       15             MR. LARSEN:      Nothing further, Your Honor.

       16             THE COURT:      Thank you, sir, you're excused.       Have a

       17   good day.

       18        (The witness was excused.)

       19                THE COURT:   Your next we witness is?

       20             MR. JUENGER:      Armando Lozada.

       21             THE COURT:      Raise your right hand.

       22             ARMANDO LOZADA, GOVERNMENT'S WITNESS, SWORN.

       23             THE COURT:      Okay.     Have a seat, get comfortable, and

       24   speak real loudly into that microphone in front of you.

       25                              DIRECT EXAMINATION
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        1   BY MR. JUENGER:

        2   Q.   Sir, can you tell us your name and spell it for the court

        3   reporter?

        4   A.   My name an Armando Lozada, A-r-m-a-n-d-o, L-o-z-a-d-a.

        5   Q.   And where do you live, city and state?

        6   A.   I live in Austin, Texas.

        7   Q.   And how long have you lived in Austin, Texas?

        8   A.   I've lived in Austin, Texas for approximately two months.

        9   Q.   Where did you live before that?

       10   A.   In Broward County.

       11   Q.   And how old are you?

       12   A.   I am 28 years old.

       13   Q.   And what do you do for a living?

       14   A.   I am a pharmacy technician.

       15   Q.   And are you licensed as a pharmacy technician?

       16   A.   Absolutely.

       17   Q.   And how long have you been a licensed pharmacy technician?

       18   A.   For about nine years.

       19   Q.   And without going into great detail, tell us what it

       20   is, what a pharmacy technician is, what do you do for your job?

       21   A.   We are technicians.     We are licensed under pharmacists to

       22   dispense medications, compound medications, which is specific

       23   different medications that are prescribed for different

       24   patients.

       25   Q.   Did you ever work as a pharmacy technician for a company
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        1   called Patient Care America?

        2   A.   I did.

        3   Q.   When was that, more or less?

        4   A.   Towards the end of 2014, like December of 2014, till about

        5   July of 2015.

        6   Q.   And what kind of pharmacy was Patient Care America?

        7   A.   Patient Care America was a compounding pharmacy.

        8   Q.   And what is compounding just in layman's terms?            We don't

        9   need a history lesson.

       10   A.   Basically a specialty medication that is specially made for

       11   each patient from a prescription from a doctor that is not

       12   commercially available.

       13             THE COURT:     Let me interrupt.         Mr. Jones, do you need a

       14   break?

       15             MR. J. JONES:     Yes, yes.

       16             THE COURT:     You do?   Okay.         Why don't we take a

       17   10-minute break.    Stay in this jury room.           You can leave your

       18   notebooks there, and then we will bring you back.

       19             You know what I'm going to say, don't talk about the

       20   case.

       21        (The jury retired from the courtroom at 10:33 a.m.)

       22             THE COURT:     Let me hear that door.

       23             Okay.   You have to take a break, too.           I think, since

       24   he was here before 8:00, he probably drank a lot of coffee.

       25             MR. JUENGER:    Your Honor, may the witness take a
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        1   bathroom break, if necessary?

        2             THE COURT:   Everybody can take a bathroom break if you

        3   want.    You do what you want.

        4             If you want stretch outside of the courtroom, not

        5   outside of the courthouse, you may.

        6      (There was a brief recess.)

        7             THE COURT:     Now you know why I don't like taking a

        8   break.

        9             The Chief Judge wanted to talk to me and it took longer

       10   than he thought, but it was very productive.         I apologize.

       11             Ready?   Set?

       12             MR. JUENGER:    Yes, Your Honor.

       13             THE COURT:   Go bring in the jurors.

       14             THE COURT SECURITY OFFICER:         All rise for the jury,

       15   please.

       16      (The jury entered the courtroom at 11:14 a.m.)

       17             THE COURT:     All right.   Thank you, folks, please be

       18   seated.

       19             You know what happens is, we took a recess, and we will

       20   take a recess whenever you all want, okay, because nature calls

       21   and you've got to go.     But then I go in there and I had a

       22   meeting with another judge, the Chief Judge, so I have to show

       23   up and it takes a little longer, but I don't want you to think

       24   that the lawyers were delaying anything.          They were waiting, I

       25   assume just as patiently.      I know they were waiting because I
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        1   wasn't here.      I was across the hall.

        2               It had nothing to do with the case so you don't have to

        3   worry about that, and they are moving the case, both sides.         All

        4   right.

        5                MR. JUENGER:   Thank you, Your Honor.

        6   BY MR. JUENGER:

        7   Q.   Mr. Lozada, I think the last question I asked you before we

        8   broke was what is compounding, and I think you were in the

        9   middle of your answer.       So if you could answer that question.

       10   What is compounding in simplest terms?

       11   A.   Compounding is basically when you basically make a

       12   medication, it's a specialized medication that is made for a

       13   patient with a prescription from a doctor.

       14   Q.   Okay.    And did you or, to your knowledge, did anyone else at

       15   PCA ever design drug formulas from scratch?

       16   A.   Yes, pharmacists do design formulas.

       17   Q.   Okay.    If you could reach out in front of you, I have placed

       18   before you what's been admitted as Government's Exhibit 143.         Do

       19   you see that?

       20   A.   Yes.

       21   Q.   And if you could please turn to the last page of that, and

       22   I'm putting it on the ELMO.        I want to focus your attention in

       23   on the middle.     What is this?     What is the document on the last

       24   page there?

       25   A.   Transdermal Formulations.
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        1   Q.   And it's up on the screen as well, you can look at either

        2   one, but the document as a whole is what?

        3   A.   It's a prescription.

        4   Q.   And does that seem familiar to you?

        5   A.   Yes, it does.

        6   Q.   And so let me -- before I start asking questions, let me

        7   zoom in a little bit to the part that says Pain Management

        8   Transdermal Formulations.      Do you see that?

        9   A.   Yes, I do.

       10               MR. JUENGER:   For the jurors who are looking, can you

       11   all see that well enough?

       12               THE JURY:   Yes.

       13               MR. JUENGER:   Okay.

       14   BY MR. JUENGER:

       15   Q.   And so I want to ask you, Mr. Lozada, about the first

       16   formulation that has a box checked.             Do you see that?

       17   A.   Yes.

       18   Q.   It says p-01 Transdermal?

       19   A.   Yes.

       20   Q.   And what's the list that comes after it moving from left to

       21   right on the prescription?

       22   A.   Loperamide, flurbiprofen, cyclobenzaprine, and baclofen and

       23   DMSO.

       24   Q.   But what are those?

       25   A.   Those are all active ingredients --
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        1             MR. MARCUS:    Objection, Your Honor.

        2             THE COURT:     Grounds.

        3             MR. MARCUS:    Calls for an opinion under 701.

        4             THE COURT:    Well, the reason he cannot give it is

        5   because he is only a pharmacy --

        6             MR. MARCUS:    Technician.

        7             THE COURT:     -- technician.

        8             MR. MARCUS:    Yes.

        9             THE COURT:    He doesn't know anything about pharmacy in

       10   your view, that's the argument?

       11             MR. MARCUS:    He is not here as an expert in

       12   pharmacology.

       13             THE COURT:    And the response.

       14             MR. JUENGER:    He's not an expert, Your Honor.       He's

       15   here to just tell us about what he did.          He's identified this as

       16   a prescription.    He is a pharmacy technician.        I can ask more

       17   questions about how familiar he is, what he would do with this.

       18   That's where I'm going.

       19             THE COURT:    You know, what happens is we have opinions

       20   that people can give as lay individuals and we have opinions

       21   that experts can give, and then we have lot of people who are in

       22   between, a law enforcement agent who may know more things than

       23   others without having a Ph.D. in particular subject matters.            We

       24   discussed a little bit of this before, but I think I'm going to

       25   give the Government a little bit of leeway, limited, and then
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        1   you can cross-examine him on it.

        2                I'll overrule the objection, but that's not an

        3   invitation to open the door because then he is going to come in

        4   with two Cadillacs and we can be here for as long as he wants.

        5                MR. JUENGER:     I'm endeavoring to move us along.

        6                THE COURT:     So one more question and then skip to the

        7   eventual response that you're seeking, which I think has to do

        8   not with the type of compound, but with some other matter,

        9   right?   You know what I'm talking about?

       10                MR. JUENGER:    I do, Your Honor.

       11   BY MR. JUENGER:

       12   Q.   So, Mr. Lozada, this formulation, you read them all off and

       13   I was simply asking what are those, and you were answering, and

       14   if you could give us the answer about what those are?

       15   A.   Those are active ingredients.

       16   Q.   Okay.    So those are active ingredients to be able to create

       17   that drug?

       18   A.   Correct.

       19   Q.   And is that the sum total of all of the ingredients that

       20   would go into that particular drug when you make the final

       21   product?

       22   A.   There are other ingredients that are involved in all of

       23   these formulations.

       24   Q.   And what are some of those other ingredients?       Just focus in

       25   on p-01.
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        1   A.   The other ingredients, there would be a base, a base cream,

        2   and there would also be more of a wetting agent.

        3              THE COURT:     How do you know that?

        4              THE WITNESS:     It's a compounded medication, you have to

        5   have -- it has to be -- you have to have a wetting agent in

        6   order to blend the formulation.        All of these are actual

        7   powders.

        8              THE COURT:     How do you know that?    How do you know that

        9   you have to have that?

       10              THE WITNESS:     Because I'm a compounding technician.

       11              THE COURT:     And how did you become one?

       12              THE WITNESS:     I've gone through schooling and

       13   certification.    I'm actually certified by the PTCB board of the

       14   United States as a pharmacy technician as well.

       15              THE COURT:     What is the PTC Board?

       16              THE WITNESS:     It's a national certification for the

       17   pharmacy technicians.

       18              THE COURT:     What do the initials stand for?

       19              THE WITNESS:    Pharmacy Tech Certification Board.

       20              THE COURT:     How long did you have to be trained in

       21   medicine in order to pass that, to be certified?

       22              THE WITNESS:     You have to take 500 hours of --

       23   basically 500 hours of pharmacy technician training and also

       24   pass the State Boards.

       25              THE COURT:     And you did all of that?
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        1                THE WITNESS:    Yes, I did.

        2                THE COURT:     All right.   Go ahead.

        3   BY MR. JUENGER:

        4   Q.   Mr. Lozada, how many times, when you were working at Patient

        5   Care America, did you make that p-01 formula?

        6   A.   Numerous times.

        7   Q.   You literally made that cream?

        8   A.   Yes.

        9   Q.   And so in addition to these --

       10                THE COURT:     As soon as you say "so" -- I am going to

       11   leave you alone, but as soon as you say "so," it looks like it's

       12   going to be a leading question.          I could be wrong, but it looked

       13   like it, sounded like it.

       14               MR. JUENGER:     And now I've forgotten his answer.

       15   BY MR. JUENGER

       16   Q.   How many times would you have made this drug?

       17   A.   Numerous times.

       18   Q.   Well, how many?        Give me --

       19   A.   A lot.

       20   Q.   -- a numerical ballpark?

       21   A.   I'd say a hundred times, if not more.

       22   Q.   Okay.    And you were mentioning that there are additional

       23   ingredients, I think you said a wetting agent and a base

       24   ingredient?

       25   A.   Correct.
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        1               THE COURT:     See, if the answer is "correct," you know

        2   what I'm going to say.        What am I going to say?

        3               MR. JUENGER:    You're going to say it's a leading

        4   question.

        5               THE COURT:     Who, what, where, when; what other

        6   material, what else did you do, what else goes in it, what does

        7   it mean.     And I will leave you alone.

        8   BY MR. JUENGER:

        9   Q.   What were the additional ingredients for p-01?

       10   A.   There's ethoxydiglycol and there's also a base.

       11   Q.   And I want to direct your attention to the top of this, the

       12   top right of this prescription and ask you:        Do you know where

       13   this prescription came from?

       14   A.   Yes.

       15   Q.   Where?

       16   A.   Monty Grow's -- it was Monty Grow's -- it was a doctor from

       17   Monty Grow.

       18   Q.   And how do you know that?

       19   A.   Because the initials up at the top right-hand corner.

       20   Q.   And is there something else in the top right-hand corner?

       21   A.   No.    No.

       22   Q.   Can you look on the screen?

       23               THE COURT:   This is an exhibit that has been admitted?

       24               MR. JUENGER:    Yes, 143.

       25               THE COURT:     The jurors, all still know how to read?
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        1   Everybody knows how to read.

        2             Next question.    You can always use it in closing

        3   argument.

        4             MR. JUENGER:     Yes, Your Honor.

        5   BY MR. JUENGER:

        6   Q.   And now, what was your job title at PCA?

        7   A.   I was lead pharmacy technician.

        8   Q.   What were your responsibilities as lead pharmacy technician?

        9   A.   Basically, to lead the group of technicians more in the lab,

       10   laboratory, compounding medications, ordering medications,

       11   ordering different ingredients.

       12   Q.   Okay.   And I want to ask you about ordering an ingredient.

       13   Did you order ethoxydiglycol?

       14   A.   Yes, I did.

       15   Q.   And where did you order the ethoxydiglycol from?

       16   A.   Monty Grow.

       17   Q.   Well, was there another place that you ordered?

       18   A.   Yes, Medisca.

       19   Q.   And what is Medisca and how do you spell it?

       20   A.   M-e-d-i-s-c-a.   Medisca is a chemical wholesaler for

       21   pharmaceuticals.

       22   Q.   And when you purchased ethoxydiglycol from Medisca how much

       23   did PCA pay for it?

       24   A.   It could be probably about a hundred dollars probably for a

       25   four-liter jar of ethoxy.
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        1   Q.     And we all know math, but four liters is how many

        2   milliliters?

        3   A.     4,000 MLs.

        4   Q.     So 4,000 MLs for $100, and we can divide and figure out what

        5   it is per milliliter.

        6                 Now, do you know how much the Medisca ethoxydiglycol

        7   reimbursed from Tricare for prescriptions like the ones we were

        8   just talking about?

        9   A.     How much per ML?

       10   Q.     Yes.

       11   A.     I would say probably about -- between 10 to 15 cents a

       12   milliliter.

       13   Q.     A milliliter, okay.       And now I want to ask you about

       14   something you said earlier.          Are you familiar with the term

       15   "Ethoxy Gold"?

       16   A.     Yes, I am.

       17   Q.     What is Ethoxy Gold?

       18                 MR. MARCUS:    Objection, Your Honor, calls for hearsay.

       19                 THE COURT:     How would you know the answer to that?    Is

       20   that something you learned in your training?

       21                 THE WITNESS:    The answer to?

       22                 THE COURT:     To the word Ethoxy Gold.

       23                 THE WITNESS:     No.

       24                 THE COURT:     Is it someone told you what Ethoxy Gold

       25   was?
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        1               THE WITNESS:    Yes.

        2               THE COURT:     Who was the person who told you?

        3               THE WITNESS:     It was the pharmacy, it's not --

        4               THE COURT:     Is there a human being who told you what

        5   Ethoxy Gold --

        6               MR. MARCUS:    It's hearsay.

        7               THE WITNESS:     Matt Smith.

        8               THE COURT:     I'm sorry?

        9               THE WITNESS:     Matt Smith.

       10               THE COURT:    I'll sustain the objection to what Matt

       11   Smith said.

       12   BY MR. JUENGER:

       13   Q.   Did you order Ethoxy Gold?

       14   A.   Yes.

       15   Q.   And who did you order Ethoxy Gold from?

       16   A.   Monty.

       17   Q.   Monty who?

       18   A.   Monty Grow.

       19   Q.   I want to show you now what has been admitted as

       20   Government's Exhibit 72, and I'm going to hand a copy of

       21   Government's Exhibit 72 to the witness.

       22               And Mr. Lozada, can you tell us what, if you know,

       23   Government's Exhibit 72 is?

       24   A.   It's an email.

       25   Q.   And what's happening?
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        1   A.   It's an email from myself to Monty Grow in regard to a

        2   shipment of an order of Ethoxy Gold.

        3   Q.   And does this indicate how much the Ethoxy Gold costs for

        4   PCA to purchase?

        5   A.   Correct.

        6   Q.   And what is that amount?

        7   A.   $12.50 per ML.

        8   Q.   And are you aware --

        9             THE COURT:     Whenever you say "are you aware," you know

       10   I'm going to interrupt you.

       11   BY MR. JUENGER:

       12   Q.   Do you know how much Ethoxy Gold reimbursed from Tricare in

       13   the types of formulas that we looked at on the prescription?

       14   A.   Per ML?

       15   Q.   Per ML if you know.

       16             THE COURT:     Before you tell us how much, how do you

       17   know?

       18             THE WITNESS:     It's a prescription that's billed.     Every

       19   NDC is billed separately.

       20             THE COURT:     How do you know, by looking at something?

       21             THE WITNESS:    By billing it and you see a

       22   reimbursement.

       23             THE COURT:     And you've seen the reimbursements and

       24   you've seen the bills or --

       25             THE WITNESS:     Correct.
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        1              THE COURT:     -- you do the billing?       You do billing?

        2              THE WITNESS:    I have done the billing.

        3              THE COURT:    All right.       Go ahead.   You can answer.

        4   BY MR. JUENGER:

        5   Q.   And so the amount per ML?

        6   A.   Roughly, I'd say between 55 to $60 per ML.

        7              THE COURT:    ML is milliliters?

        8              THE WITNESS:     Milliliters.

        9   BY MR. JUENGER:

       10   Q.   And in one of those creams that we looked at, p-01, how many

       11   milliliters of ethoxy or Ethoxy Gold would be required to do a

       12   360 gram cream?

       13   A.   20 percent.

       14   Q.   20 percent of what?

       15   A.   20 percent of the 360 grams.

       16   Q.   And so based on that, can you give us an idea of how much

       17   Tricare would reimburse for the Ethoxy Gold in a 360 gram cream?

       18   A.   It could be a couple thousand dollars or a few thousand

       19   dollars.

       20   Q.   Was there any difference between ethoxy from Medisca and

       21   Ethoxy Gold from Monty Grow?

       22              MR. MARCUS:    Objection, Your Honor.

       23              THE COURT:     Grounds.

       24              MR. MARCUS:     Calls for an opinion.

       25              THE COURT:     How would you know that, whether there's
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        1   any difference or whether they are the same?

        2               THE WITNESS:     There's --

        3               THE COURT:     How do you know?      Before you tell me, how

        4   would you know?

        5               THE WITNESS:     There's a Material Safety Data Sheet,

        6   there's a sheet that comes with the medication -- or the

        7   ingredient itself.

        8               THE COURT:     And it tells you whether they're the same

        9   or different?

       10               THE WITNESS:     Yes.

       11               THE COURT:     And who prepares that?

       12               THE WITNESS:    The wholesaler, basically, the

       13   manufacturer.

       14               THE WITNESS:    And you have that, Government?

       15               MR. JUENGER:     We have some, yes.

       16               THE COURT:     Then you're going to introduce that and

       17   I'll sustain the objection.

       18   BY MR. JUENGER:

       19   Q.   Well, did you use these products on a day-to-day basis?

       20   A.   The ethoxy?

       21   Q.   Yes.

       22   A.   Yes.

       23   Q.   When you used it, was there any material difference between

       24   ethoxy and Ethoxy Gold?

       25               MR. MARCUS:    Same objection.
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        1             THE COURT:     When you say you used it, you used them for

        2   yourself?

        3             THE WITNESS:     No.

        4             THE COURT:     I didn't think so.     So same thing.

        5             MR. JUENGER:     Let me rephrase.

        6             THE COURT:     I sustained it before.    I should sustain it

        7   now because nothing has changed.        He knows what it's like by

        8   looking at two pieces of paper that say either they are

        9   different or the same, right?

       10             MR. JUENGER:    No, Your Honor.

       11             THE COURT:    Did I miss that?

       12             MR. JUENGER:     No, I didn't miss that.

       13             THE COURT:     No, did I miss that?

       14             MR. JUENGER:     No, you did not miss that.

       15             THE COURT:     If you have the two pieces of paper that

       16   say they're different or they're the same, we'll talk about it

       17   at that time.

       18   BY MR. JUENGER:

       19   Q.   Mr. Lozada, did you actually put these drugs together with

       20   your own hands?

       21   A.   Absolutely.

       22   Q.   And was there any difference when you used one ingredient

       23   versus the other?

       24   A.   No, there's not.

       25             MR. MARCUS:     I object to the question.    It's
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        1   misleading.

        2               THE COURT:     Then you'll straighten it out in

        3   cross-examination, right?        That's what part of cross is.     So

        4   I'll overrule it on that basis.

        5   BY MR. JUENGER:

        6   Q.   And Mr. Lozada, other than the price and the reimbursement,

        7   was there any difference in how the product arrived at PCA once

        8   it was ordered?

        9   A.   What do you mean by that exactly?

       10   Q.   In terms of the quantities that it was purchased in and the

       11   containers it came in.

       12   A.   Yes.    The Ethoxy Gold was actually shipped to us in 1 ML

       13   bottles.

       14               THE COURT:     What bottles?        I'm sorry.

       15               THE WITNESS:    1 ML, 1 milliliter bottles.      And the one

       16   from Medisca, which is regular ethoxydiglycol, would be shipped

       17   to us in a 4,000 ML bottle.

       18   BY MR. JUENGER:

       19   Q.   And as a pharmacy technician using these products, was it

       20   more or less convenient to use the larger quantity or the

       21   smaller quantity?

       22   A.   It was more convenient to use the larger quantity vial

       23   instead of the 1 ML vials.

       24   Q.   What steps did PCA take to actually employ using the 1

       25   milliliter units?
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        1               MR. MARCUS:    Objection, calls for hearsay.

        2               THE COURT:     What steps did you take, if any?         Did you

        3   do anything?

        4               THE WITNESS:     We had to --

        5               THE COURT:    No, no.   "We."        Only two people speak "we,"

        6   the Queen of England and the Pope.               You're neither.   So you've

        7   got to say "I" if you did something.               Okay?

        8               THE WITNESS:    I had to open 1 ML vials in order to make

        9   a cream.

       10   BY MR. JUENGER:

       11   Q.   And so for one cream how many vials would you have to open?

       12   A.   It could be -- depending on the quantity of the cream that

       13   was made, because they were also made in batches, it could be

       14   thousands of bottles that needed to be opened.

       15   Q.   Did that take more time than using the larger 4,000

       16   milliliter container?

       17   A.   Absolutely.

       18   Q.   Did you see other people opening the 1 milliliter vials?

       19   A.   Absolutely.

       20   Q.   Did a time come when PCA stopped using ethoxydiglycol -- or

       21   I'm sorry -- Ethoxy Gold?

       22   A.   Yes.

       23   Q.   And why did PCA stop using it?

       24               MR. MARCUS:    Objection, calls for hearsay.

       25               THE COURT:     I don't know.         You can answer if there --
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        1   did there come a time when you stopped using it?

        2               THE WITNESS:    Correct.

        3               THE COURT:     You personally?

        4               THE WITNESS:     Yes.

        5               MR. MARCUS:     The question was why, Your Honor.

        6               THE COURT:     I know.   Why did you stop, you personally?

        7               THE WITNESS:     I stopped using it because it was no

        8   longer covered.     It was covered at a 12 cent ratio compared to

        9   what it was covered before.

       10   BY MR. JUENGER:

       11   Q.   When you say "it," what do you mean?

       12   A.   I mean the ethoxydiglycol, the Ethoxy Gold.

       13   Q.   Just so the record is clear --

       14               THE COURT:     Everything on the record is clear.

       15               MR. JUENGER:     Okay.

       16               THE COURT:     You can ask the question if you want.

       17   BY MR. JUENGER:

       18   Q.   Did Mr. Grow sell PCA other ingredients besides the Ethoxy

       19   Gold?

       20   A.   Yes.

       21   Q.   And just name some of those.

       22   A.   Stera Base.

       23   Q.   And did Stera Base have equivalence in the same way that

       24   Ethoxy Gold had equivalent to the Medisca ethoxydiglycol?

       25               MR. MARCUS:     Objection, again, calls for an opinion.
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        1   He's asking him to opine as to what's equivalent.

        2               THE COURT:     Okay.   Isn't that what we already went

        3   through once, or not, or is this a different question?

        4               MR. JUENGER:    It's a different ingredient, Your Honor.

        5               THE COURT:    Different ingredient and the ruling should

        6   be the same.     No?

        7   BY MR. JUENGER:

        8   Q.   Mr. Lozada, besides selling ingredients, did Grow have any

        9   other relationship with Patient Care America?

       10   A.   He was also a marketer.

       11   Q.   And what does that mean?

       12   A.   A sales rep.

       13   Q.   And what did he do as a sales rep?

       14   A.   He worked with doctors and sent in prescriptions for

       15   patients.

       16   Q.   And we looked at one of the prescriptions earlier, correct?

       17   A.   Correct.

       18   Q.   And did Mr. Grow's prescriptions focus on particular

       19   insurance?

       20   A.   Yes.

       21   Q.   And what was that insurance?

       22   A.   Tricare.

       23   Q.   And how did Mr. Grow's scripts end up at PCA?

       24               MR. MARCUS:     Objection to the term "Mr. Grow's

       25   scripts," lack of foundation.
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        1               THE COURT:   Can you rephrase the question?

        2               MR. JUENGER:   I can.

        3   BY MR. JUENGER:

        4   Q.   I am going to go back and show you again.        If you look on

        5   the screen, Mr. Lozada, there's a prescription.          Do you see

        6   that?

        7   A.   Yes.

        8   Q.   Whose prescription is that?

        9   A.   Monty Grow's.

       10   Q.   And can you tell from looking at the prescription how it

       11   arrived --

       12   A.   Yes.

       13   Q.   -- at Patient Care America?

       14   A.   Yes.

       15   Q.   And how did it arrive?

       16   A.   Via fax.

       17   Q.   Did you ever see anyone at PCA whiting out information on

       18   prescriptions from Mr. Grow?

       19   A.   Yes.

       20   Q.   What was being whited out?

       21   A.   Mr. Grow's fax number.

       22   Q.   And who instructed that to be done?

       23   A.   Matt Smith.

       24   Q.   And who is Matt Smith?

       25   A.   The vice president of operations at Patient Care America.
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        1   Q.   And I want to show you the cover sheet, the top page, if I

        2   can find it, for Government's 143.            Do you have that,

        3   Mr. Lozada?

        4   A.   Yes.

        5   Q.   And you don't have to read this because we can all read, but

        6   what is Mr. Smith instructing -- this is to you, correct?

        7   A.   This is.

        8   Q.   And what is he instructing?

        9   A.   Instructing that the fax numbers from Mr. Grow on Ginger

       10   Lay's prescriptions are blacked out or whited out before being

       11   scanned into PK software.

       12   Q.   What is PK software.

       13   A.   It's the software that we used to bill and input all of the

       14   prescriptions that we receive from the doctors.

       15   Q.   I want to show you now what has been admitted as

       16   Government's Exhibit 85.     And Mr. Lozada, if you would start at

       17   the bottom of Government's Exhibit 85, and you don't need to

       18   read it, but who is this email to, from and to?

       19   A.   It's from myself, Armando Lozada, to Monty Grow.

       20   Q.   And what are you describing to Mr. Grow in this email?

       21   A.   That I received the same prescription three to four times.

       22   Q.   And did Mr. Grow respond to you?

       23   A.   Yes, he did.

       24   Q.   And I'll read bits of what he said and I want to ask you

       25   some questions about it.
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        1             He writes, "I understand your frustration and will try

        2        my best to make sure that the prescriptions are filled out

        3        correctly the first time.      If you notice, most of the time

        4        the reasons they are sent multiple times is because they are

        5        filled out wrong or the grams aren't check off or no refills

        6        or signature."

        7                I want to ask you:   Is that consistent with the

        8   problems that you were identifying in this email?

        9   A.   Meaning what exactly?

       10   Q.   Meaning that in the beginning email you said you were

       11   receiving scripts three or four times.

       12   A.   Correct.

       13   Q.   Why was that a problem for you?

       14   A.   It was a problem just because when I receive a prescription

       15   it goes to be processed.

       16                Once I receive it again, it takes a lot of time to --

       17   you know, you've got to hand it over to another technician or

       18   whoever goes to bill it to find out that it's actually a

       19   duplicate prescription.

       20   Q.   Were they true duplicates?

       21   A.   At times there were true duplicates.

       22   Q.   Okay.    In your email to Mr. Grow you wrote that "it's time

       23        consuming having to go through all these faxes and compare

       24        to what was received prior that day."

       25             So was it just duplicates that was your concern?
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        1   A.   No.

        2   Q.   And what was the other concern?

        3   A.   Basically, making sure everything was sent over correctly

        4   the first time.

        5   Q.   And who decides if something is correct the first time?

        6   A.   It's a completed prescription, a completed prescription

        7   needs to have, for example, a doctor's signature, a quantity

        8   written from the physician as well.           And some of these

        9   prescriptions would come over without some of that information.

       10   Q.   Okay.     And at the end of Mr. Grow's response to you, he

       11        says, "That's why I used to have them sent to me directly

       12        before you would ever see them to make sure they were done

       13        correctly by the time they got to you.         Unfortunately, I was

       14        told to change that process."

       15                So who were the scripts coming from as indicated in

       16   this email from Mr. Grow?

       17   A.   The doctor's office.

       18   Q.   But he says, "I used to have them sent to me directly before

       19        you would ever see them."

       20   A.   Correct.

       21   Q.   And so again, who did the scripts come from?

       22   A.   From Mr. Grow.

       23   Q.   Okay.    Mr. Lozada, was there ever an issue with

       24   prescriptions from Mr. Grow with regard to any of the

       25   ingredients in the vitamins?
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        1   A.   Ever an issue?       Can you elaborate on that a little bit?

        2   Q.   Sure.    I'll show you again Government's Exhibit 143, the

        3   last page.      Can you see where it says "metabolic supplement"?

        4   A.   Yes, sir.

        5   Q.   And the box is checked and it lists a number of ingredients,

        6   including Resveratrol?

        7   A.   Correct.

        8   Q.   And again, was there ever a time when there were issues with

        9   this formulation?

       10   A.   Yes, there was.

       11   Q.   And what is the problem?

       12   A.   That the Resveratrol no longer covered.

       13   Q.   So why was that a problem?

       14   A.   The prescriptions -- we could not process the prescriptions

       15   or bill them through an insurance because the Resveratrol was

       16   actually not covered and it's on an actual prescription.

       17   Q.   And so was the prescription valid anymore?       Could you bill

       18   for it?

       19   A.   Not -- no, not this exact prescription if it included

       20   Resveratrol.

       21   Q.   And do you know if PCA billed for it without Resveratrol

       22   even though the prescription had Resveratrol --

       23             MR. MARCUS:      Objection, Your Honor.

       24   Q.   -- if you know?

       25                THE COURT:    Grounds.
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        1               MR. MARCUS:     Calls for hearsay.

        2               THE COURT:     How would you know?   Did you do any of that

        3   billing?

        4               THE WITNESS:    Yes, yes, sir.

        5               THE COURT:     I will overrule the objection as long as

        6   it's something that you did.

        7   BY MR. JUENGER:

        8   Q.   And so the question was:      Did you, working at PCA, bill for

        9   prescriptions that had Resveratrol, bill as though the

       10   prescription did not have Resveratrol?

       11   A.   Yes.

       12   Q.   And was that proper?

       13   A.   No.

       14   Q.   And what efforts were made to correct that problem?

       15   A.   There was a Therapeutic Alternative Form that a doctor would

       16   sign off on.

       17   Q.   And what is that?       What does that mean?

       18   A.   A therapeutic alternative would be basically the doctor

       19   giving consent to the pharmacy or the pharmacist to go ahead and

       20   either remove an ingredient or change it with another ingredient

       21   in the same family.

       22   Q.   With regard to this therapeutic alternative, did you ever

       23   reach out to the doctors about obtaining a Therapeutic

       24   Alternative Form?

       25   A.   I did not.
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        1   Q.   Do you know, if you know, did anyone from PCA do so?

        2   A.   The pharmacists are supposed to do that.

        3   Q.   The pharmacists are supposed to do that.                Do you know if any

        4   PCA pharmacist did reach out to the applicable doctors?

        5   A.   To my knowledge, for Monty's account, we could not contact

        6   physicians.

        7   Q.   And why was that?

        8   A.   It was what I was told.

        9   Q.   Who told you that?

       10               MR. MARCUS:     Your Honor, move to strike.            Again, it's

       11   hearsay.

       12               THE COURT:     Okay.   If you would have objected before, I

       13   would have sustained the objection.                 All right.   It's stricken.

       14   You cannot tell us what other people said unless there's some

       15   exception.

       16               MR. JUENGER:    That's all I have then for this witness,

       17   Your Honor.

       18               THE COURT:     Cross-examination.

       19                                CROSS-EXAMINATION

       20   BY MR. MARCUS:

       21   Q.   Good morning, Mr. Lozada.

       22   A.   Good morning.

       23   Q.   Let's work backwards.         You were just asked some questions

       24   about therapeutic alternatives.           Do you recall that?

       25   A.   Yes.
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        1   Q.   Now, you were also shown a sheet that listed certain

        2   formulas for certain prescription medications.         Do you recall

        3   that as well?

        4   A.   Yes.

        5   Q.   And those formulations have different ingredients in them;

        6   is that correct?

        7   A.   Yes.

        8   Q.   And you worked for PCA, which is a pharmacy, right?

        9   A.   Correct.

       10   Q.   And the pharmacy has contractual relationships with

       11   insurance companies, correct?

       12   A.   Yes.

       13   Q.   And you bill those insurance companies, correct?

       14   A.   Yes.

       15   Q.   And they make their own rules for reimbursement.         Do you

       16   agree with that?

       17   A.   Yes.

       18   Q.   And they make decisions sometimes about which ingredients

       19   they'll reimburse for and which ones they won't?

       20   A.   Yes.

       21   Q.   And so you were asked about -- just ask about Resveratrol,

       22   right, that's an ingredient that was in the wellness vitamin

       23   formula?

       24   A.   Yes.

       25   Q.   And Tricare made a decision not to cover that particular
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                                                                                       77


        1   ingredient?

        2   A.   Correct.

        3   Q.   And with prescription medications, that's something that is

        4   not uncommon, is it?

        5   A.   It depends on the compound.

        6   Q.   Right.     How about even noncompounded medications, right?     I

        7   mean, insurance companies make decisions on reimbursement?

        8               MR. JUENGER:   Objection as to relevance, Your Honor.

        9               THE COURT:   Overruled.   Go ahead, you can answer.

       10   BY MR. MARCUS:

       11   Q.   Did you need me to repeat the question?

       12   A.   Yes.

       13   Q.   For compounding and noncompounding medications the insurance

       14   company makes decisions about what it's going to reimburse for,

       15   correct?

       16   A.   Yes.

       17   Q.   And if they make a decision that they're not going to cover

       18   an ingredient, the pharmacy then has to --

       19               MR. JUENGER:   Your Honor, objection, foundation as to

       20   who they are and what their decisions are.       I don't think this

       21   witness has said anything about that.

       22               THE COURT:   Overruled.   Once you call him as a witness,

       23   I am going to let him cross-examine him.        Go ahead.

       24   BY MR. MARCUS:

       25   Q.   You said yourself that you're involved in submitting billing
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                                                                                       78


        1   and reimbursement to insurance companies, correct?

        2   A.   Correct.

        3   Q.   And if they don't cover a prescription the pharmacy doesn't

        4   get paid; is that right?

        5   A.   Correct.

        6   Q.   And if that happens, then patients are in a situation where

        7   they have to make a decision if they're going to pay for

        8   something out of pocket, right, completely on their own, or not

        9   get that particular medication; is that correct?

       10   A.   Repeat that question again.

       11   Q.   If insurance doesn't cover a prescription because it has an

       12   ingredient that it's not reimbursing for, then that cost has to

       13   be passed on to someone, doesn't it?

       14   A.   No.

       15   Q.   No?   Well, so if they don't reimburse for the prescription,

       16   who's going to pay for the medication?

       17   A.   Either the patient can pay cash or it has to be changed.

       18   Q.   Right.     So either the patient has to pay the sticker price,

       19   let's say, right, on a medication or the pharmacy can change the

       20   ingredients to something that would be covered, correct?

       21   A.   The doctor has to change the ingredient.

       22   Q.   Oh, I know.     We'll get to that.         Right.   So the doctor

       23   always is the one that makes a decision on a prescription,

       24   right?

       25   A.   Correct.
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        1   Q.   And they're also the ones that make decisions on if an

        2   alternative ingredient could be substituted into a formula,

        3   correct, on a prescription?      Do you agree with that?

        4   A.   Repeat that.

        5   Q.   You mentioned the Therapeutic Alternative Form.

        6   A.   Correct.

        7   Q.   And the point of that, right, is that those forms get sent

        8   to the physician to see if there's an alternative ingredient

        9   that can be changed for the ingredient that's not covered

       10   anymore by insurance?

       11   A.   Correct.

       12   Q.   Right.     And the whole idea is to see if they'll consent and

       13   agree that that's an appropriate substitute?

       14   A.   Correct.

       15   Q.   You agree that there's nothing wrong with making an

       16   appropriate substitute if a doctor makes that decision?

       17   A.   Correct.

       18   Q.   Right.     And so you were asked about Resveratrol.    That was

       19   an issue -- do you recall when that came up?       Was that in the

       20   spring of 2015?

       21   A.   Yes.

       22   Q.   Right.     And you said Tricare stopped covering that.

       23   A.   Correct.

       24   Q.   Now, Mr. Juenger characterized those prescriptions as

       25   Mr. Grow's prescriptions.      Do you remember those questions?
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        1   A.   Yes.

        2   Q.   In fact, those prescriptions are written by a physician;

        3   isn't that true?

        4   A.   Yes.

        5   Q.   And Mr. Grow was a marketer, correct?

        6   A.   Yes.

        7   Q.   And PCA had many different marketing groups, did it not, for

        8   the compounded medications?

        9   A.   Yes.

       10   Q.   At the same time, in 2015?

       11   A.   Yes.

       12   Q.   Three, four, five, six other groups?

       13   A.   Yes.

       14   Q.   And were all of these groups marketing prescriptions that

       15   involved reimbursement to Tricare?

       16   A.   Not all of them.

       17   Q.   Some of them were, weren't they?

       18   A.   Yes.

       19   Q.   Okay.   So did you have other formulas for vitamins that

       20   involved Resveratrol as an ingredient?

       21   A.   Not that I can recall.

       22   Q.   And so when that came up, something had to be done, right?

       23   There was a decision to make, right, about what to do now that

       24   Resveratrol is no longer being covered by insurance?

       25   A.   Correct.
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        1   Q.   And you were asked whether or not doctors filled out

        2   Therapeutic Alternative Forms.         Do you recall that?

        3   A.   Yes.

        4               MR. MARCUS:     Your Honor, at this time I would move into

        5   evidence Defense Exhibit 211.

        6                THE COURT:    Any objection from the Government?

        7                MR. JUENGER:    No objection, Your Honor.

        8                THE COURT:    It will be admitted.

        9        (Defendant's Exhibit Number 211 was received in evidence.)

       10                MR. MARCUS:    I just want to hand the witness a copy,

       11   Your Honor, and I'll put it up on the screen.

       12   BY MR. MARCUS:

       13   Q.   Do you see the date of this email, March 27, 2015?

       14   A.   Yes.

       15   Q.   And do you know a Mr. Louis at PCA, who used to work at PCA?

       16   A.   Yes.

       17   Q.   And this is talking about a consent to change formula that

       18   Dr. Cullen has approved?

       19   A.   Yes.

       20   Q.   Okay.    Let's just take a look.        Let's see if I can focus

       21   that.

       22               So earlier on direct when you were talking about

       23   Therapeutic Alternative Forms, this is a Letter of Authorization

       24   from a physician, right?

       25   A.   Yes.
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        1   Q.   And this is a physician agreeing to make a change in the

        2   compounding formula?

        3   A.   Yes.

        4   Q.   This was a document that Mr. Grow was sending to your

        5   pharmacy in the spring of 2015?

        6   A.   Yes.

        7   Q.   Can you see the date of the signature, March 20th?

        8   A.   Yes.

        9   Q.   And again, this is the same form signed by a different

       10   physician, correct?

       11   A.   Yes.

       12   Q.   So that's how the process is supposed to work when you want

       13   to substitute an ingredient; you agree with that?

       14   A.   The process is supposed to work -- you're supposed to

       15   actually hear from the physician themselves.       The pharmacy is

       16   actually supposed to reach out to the physician.

       17   Q.   Okay.   Well, let's just put it back up and see.      There's

       18   information on this form, as you see, on the Letter of

       19   Authorization?

       20   A.   Yes.

       21   Q.   This physician is giving their address and phone number.        Do

       22   you see that?

       23   A.   Yes.

       24   Q.   So your pharmacy could call that physician if it wanted to

       25   and needed to, couldn't it?
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        1   A.     Yes.

        2   Q.     And there's a DEA number.   Now, you weren't in charge of

        3   calling physicians yourself, correct?

        4   A.     No.

        5   Q.     That wasn't your job?

        6   A.     No.

        7   Q.     I'll just show another page, but certainly, as this document

        8   indicates, your pharmacy certainly would have had all the phone

        9   numbers and information to call these physicians, right, about

       10   this change of authorization?

       11   A.     Yes.

       12   Q.     And that information was coming, attached to this email.      Do

       13   you see that?

       14   A.     Yes.

       15   Q.     In your job you had pharmacists, correct, that supervised

       16   you?

       17   A.     Yes.

       18   Q.     Was Kim Day one of those pharmacists?

       19   A.     Yes, she was.

       20   Q.     Mary Jo Giles?

       21   A.     Yes, she was.

       22   Q.     They would have been in charge of supervising the process of

       23   talking to physicians as needed?

       24   A.     Yes.

       25   Q.     Now, I want to go back to the fax number and the white-out
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        1   issue you were asked some questions about.            Do you recall that?

        2   A.   Yes.

        3   Q.   Let's do it this way:       You were shown Exhibit 143, which is

        4   dated January 23rd, and there is some discussion about fax

        5   numbers.     Do you see that?

        6   A.   Yes.

        7   Q.   Now, Mr. Juenger asked you if prescriptions were being

        8   whited out.     Do you recall that?

        9   A.   Yes.

       10   Q.   In this email, the only thing that's being whited out is a

       11   fax number, correct?

       12   A.   A fax number was being whited out.            Prescriptions were not

       13   whited out.

       14   Q.   Right.    Fax number was, right?

       15   A.   Yes.

       16   Q.   Okay.    Not the prescriptions.         Let's talk about the fax

       17   number.

       18               MR. MARCUS:     And at this time, Your Honor, I would move

       19   into evidence Defense Exhibit 58.

       20                THE COURT:     Any objection?

       21                MR. JUENGER:     Can I see it?

       22                THE COURT:     Any objection?

       23                MR. JUENGER:    No objection, Your Honor.

       24                THE COURT:   It will be admitted.

       25        (Defendant's Exhibit Number 58 was received in evidence.)
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        1   BY MR. MARCUS:

        2   Q.   Now, you mentioned that prescriptions should be faxed to the

        3   pharmacy directly.     Do you recall that?

        4   A.   Yes.

        5   Q.   And there's medical privacy issues, right, raised by HIPAA,

        6   laws like that?

        7   A.   Yes.

        8   Q.   And that's one of the reasons you want to have the direct

        9   transmission, correct?

       10   A.   Yes.

       11   Q.   Okay.    Let me show you this.     This is an email from two days

       12   before the last exhibit.     This is Defense Exhibit 58.

       13                Do you see that this is an email from Monty Grow to

       14   Matt Smith?

       15   A.   Yes

       16   Q.   And you identified Matt Smith on direct, he was an executive

       17   at PCA.

       18   A.   Yes.

       19   Q.   He was in charge of all the operations of the pharmacy?

       20   A.   Yes.

       21   Q.   And you see that it actually has the same heading of

       22   Government's Exhibit 43.      It's talking about this efax issue,

       23   correct?

       24   A.   Yes.

       25   Q.   Mr. Smith is telling Mr. Grow that there's a HIPAA concern,
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        1   right?     There's brokering concerns when a prescription does not

        2   come directly from the doctor.       Do you recall that?

        3   A.   Yes.

        4   Q.   This is on January 21st?

        5   A.   Okay.

        6   Q.   And the pharmacy then made a change, didn't it?

        7   A.   Meaning what?

        8   Q.   Well, the pharmacy changed the fax numbers so that

        9   prescriptions could go directly to the pharmacy?

       10   A.   No.

       11   Q.   When you say no, do you know that or are you guessing?

       12   A.   I'm not aware of any fax number change.

       13   Q.   Well, you don't know if there was an efax set up that would

       14   go directly to the pharmacy?

       15   A.   That I wasn't a part of.

       16   Q.   Okay.     So you really have no idea why this fax number was

       17   being changed and having to be whited out, right?

       18   A.   The fax number was being whited out because it was showing

       19   that it was coming from Monty Grow instead of a physician's

       20   office.

       21   Q.   Right.     And you don't know if that fax number was changed so

       22   that now there was a fax number coming directly to the pharmacy

       23   for the prescriptions that Mr. Grow's group were marketing to

       24   physicians?

       25   A.   It was.
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        1   Q.     So there was a direct fax line to your --

        2   A.     There's an efax, that's how we received the prescriptions.

        3   Q.     Right.   And let me be more precise.

        4               You don't know if there was a change in January of 2015

        5   to the fax procedure so that now there would be an efax that

        6   would come directly to the pharmacy?

        7   A.     Well, they all come directly to the pharmacy.       I'm a little

        8   confused.

        9   Q.     You don't know if there was a change so that the

       10   prescriptions that were coming from telemedicine companies would

       11   now come directly to the pharmacy?

       12   A.     I'm not aware of that.

       13   Q.     You're not aware.     Right.   You were just shown a document.

       14   You're not aware of whether that change in fax number policy is

       15   the basis for why Mr. Grow's fax number would then become whited

       16   out?

       17               MR. JUENGER:    I think it's asked and answered now, Your

       18   Honor.

       19               THE COURT:     I don't know.     People say objection and

       20   then I listen to it.

       21               MR. JUENGER:    Objection.

       22               THE COURT:   Overruled, though probably true, that it is

       23   asked and answered.

       24   BY MR. MARCUS:

       25   Q.     Was that something you were responsible for, receiving faxes
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        1   from physicians?

        2   A.   Yeah.    As you can see on the fax form, there's a few people

        3   that are actually cc'd on all the faxes that were incoming.

        4   Q.   Right.     But the particulars of what was happening with fax

        5   procedures in January of 2015, that was not something you have a

        6   memory of, do you?

        7   A.   No.

        8   Q.   But what is clear is that prescription information was not

        9   being whited out.     You agree with that?

       10   A.   Prescription information was not whited out, fax number was.

       11                MR. MARCUS:     At this time I'd like to move into

       12   evidence Defense Exhibit 53.

       13                THE COURT:     Any objection?

       14                MR. JUENGER:    No objection, Your Honor.

       15                THE COURT:    It will be admitted.

       16        (Defendant's Exhibit Number 53 was received in evidence.)

       17   BY MR. MARCUS:

       18   Q.   Mr. Lozada, you were asked some questions about Government's

       19   Exhibit 85, right?

       20   A.   Yes.

       21   Q.   And this was about how you were receiving different

       22   prescriptions and trying to make sure that you were getting the

       23   correct prescription with the right information?

       24   A.   Correct.

       25   Q.   And the truth is Mr. Grow was involved in facilitating
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        1   sometimes when prescriptions would come in incorrectly with

        2   something missing, whether it be quantity or a signature.

        3   You're aware of that?

        4   A.   If it was his account, we would have to go through him.

        5   Q.   Right.

        6   A.   Yes.

        7   Q.   So this would be kind of troubleshooting, wouldn't it, to

        8   try to make sure that you, the pharmacy, would ultimately get

        9   the right information so it could fill a valid prescription and

       10   provide that to a patient.         So this is just --

       11               THE COURT:     Was that a question?

       12               MR. MARCUS:    Yes, it was.

       13               THE COURT:     Was there an answer?

       14               THE WITNESS:    Yes.

       15               THE COURT:     Next question.

       16   BY MR. MARCUS:

       17   Q.   So let me show you Defense Exhibit 53.            So on January 29th,

       18   you're emailing other employees within PCA, right?             Do you see

       19   that?

       20   A.   Yes.

       21   Q.   And again, this is about you've received a prescription on a

       22   patient where the image is very small.              Do you see that?

       23   A.   Yes.

       24   Q.   And you can't exactly make out the physician information?

       25   A.   Correct.
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        1   Q.     And so you want Mr. Grow and his group, his company to

        2   resend a clearer copy?

        3   A.     Correct.

        4   Q.     And then that information is forwarded to Mr. Grow?

        5   A.     Correct.

        6   Q.     With the hope and idea that then he will interact with, for

        7   example, a telemedicine company and make sure that the

        8   physician's information gets to you and is correct?

        9   A.     Yes.

       10   Q.     And he's involved in that process?

       11   A.     Yes.

       12   Q.     And ultimately, it's the pharmacy, their responsibility to

       13   check and make sure with physicians that the information is

       14   correct?

       15   A.     Meaning?   Can you rephrase that for me?

       16   Q.     So like in this example, when you get a prescription that

       17   like, for example, you can't read, you're going to follow-up on

       18   that, right?      You're going to ask for, in this case, a clearer

       19   copy?

       20   A.     Yes.

       21   Q.     And if you got a prescription that didn't check off a

       22   requirement box, you would follow up on that as well; would you

       23   not?

       24   A.     Yes.

       25   Q.     With the idea of going back to getting the correct
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        1   information?

        2   A.   Yes.

        3   Q.   So that when you ultimately fill your prescriptions at the

        4   pharmacy, it's done based on the orders of the physician?

        5   A.   Yes.

        6   Q.   Okay.    And that's a process that ultimately the pharmacy is

        7   overseeing, correct?

        8   A.   Yes.

        9   Q.   Let's talk about Ethoxy Gold and ethoxy.      You were asked

       10   some questions about compounded medication, and one of the

       11   things you said is that some of these ingredients and

       12   formulations are powder.     Do you recall that?

       13   A.   Yes.

       14   Q.   And ethoxy is actually a shorthand for a longer chemical

       15   name, isn't it?

       16   A.   It's ethoxydiglycol.

       17   Q.   Ethoxydiglycol.    And in your testimony you described that as

       18   a wetting agent?

       19   A.   Correct.

       20   Q.   Right.     It's liquid, right, it's a solvent?

       21   A.   Yes.

       22   Q.   And its purpose is to take the other ingredients, correct,

       23   and help deliver them to the site of treatment.       Do you agree

       24   with that?

       25   A.   It helps the powders blend.      The powders blend into the base
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        1   of the cream as well.

        2   Q.   Right.    And so for example, let's take a topical pain cream.

        3   You talked about the formulations, right?       You were asked about

        4   pain cream?

        5   A.   Yes.

        6   Q.   Now, your pharmacy was compounding a lot of topical pain

        7   creams, correct?

        8   A.   Yes.

        9   Q.   Not just for Mr. Grow's group, but for many other marketing

       10   groups, correct?

       11   A.   Yes.

       12   Q.   And the topical pain cream treats at the site of local pain

       13   or injury.     Do you agree with that?

       14   A.   Yes.

       15   Q.   So when I take a Motrin, for example, a tablet, I'm

       16   ingesting that, right?     I am swallowing that, right?

       17   A.   Yes.

       18   Q.   And that has to be metabolized and spread throughout my

       19   bloodstream.    Do you agree with that?

       20   A.   Yes.

       21   Q.   It's not localized, it doesn't go directly to the site of

       22   pain?

       23   A.   Yes.

       24   Q.   But a topical cream can be applied directly to where you

       25   have pain?
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        1   A.   Yes.

        2   Q.   For example your back or your knee?

        3   A.   Yes.

        4   Q.   It has to be absorbed by the skin to be effective.       Do you

        5   agree with that?

        6   A.   Yes.

        7   Q.   And these agents, for example ethoxydiglycol, is very

        8   important in aiding the absorption of the pain cream?

        9   A.   Yes.

       10   Q.   And that's why it's a necessary ingredient in this overall

       11   formula?

       12   A.   Correct.

       13   Q.   Okay.    Now, you were asked about purchasing ethoxydiglycol,

       14   ordering it on behalf of the pharmacy.

       15   A.   Yes.

       16   Q.   You mentioned that you sometimes would order it from

       17   Medisca?

       18   A.   Yes.

       19   Q.   Right.     And Mr. Grow also provided it, correct, his company,

       20   he sold that to the pharmacy?

       21   A.   Yes, Ethoxy Gold.

       22   Q.   Okay.    Well, we'll talk about that in a second.     Let me ask

       23   you this since you bring it up.

       24               If we look at the invoices that you billed to Tricare,

       25   are we going to see the words Ethoxy Gold?
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        1   A.   No.

        2   Q.   We're going to see ethoxydiglycol?

        3   A.   Yes.

        4   Q.   If we see the invoices from PCA on purchasing, are we going

        5   to see the words Ethoxy Gold?

        6   A.   No.

        7   Q.   Mr. Grow was selling ethoxydiglycol to your pharmacy?

        8   A.   Yes.

        9   Q.   And you talked a lot about the milliliters.      You are

       10   essentially talking about purchasing ethoxydiglycol in different

       11   sizes?

       12   A.   Yes.

       13   Q.   Right?   And you talked about larger sizes versus smaller

       14   sizes?

       15   A.   Yes.

       16   Q.   Now, ethoxydiglycol we talked about was a necessary

       17   ingredient for compounding.     You agreed with that?

       18   A.   Yes.

       19   Q.   Would you consider yourself an expert in purchasing

       20   ethoxydiglycol?

       21   A.   An expert?   I wouldn't consider myself an expert, but I do

       22   order ethoxydiglycol.

       23   Q.   Right.   But for example, you worked from 2014, you said,

       24   through 2015?

       25   A.   Yes.
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        1   Q.   Okay.   In that period of time how many different

        2   manufacturers did you talk to about the availability of

        3   ethoxydiglycol?

        4   A.   Not very many.

        5   Q.   Okay.   Do you know whether ethoxydiglycol was available at

        6   other places when PCA purchased it from Mr. Grow's company?

        7   A.   Yes, it was.

        8   Q.   Yeah?

        9   A.   Yes, it was.

       10   Q.   You mentioned Medisca?

       11   A.   Yes.

       12   Q.   Okay.   And you know the term law of supply and demand?

       13   A.   Yes.

       14   Q.   Are you aware that in this time period ethoxydiglycol became

       15   very difficult to obtain nationally?

       16   A.   Not really.

       17   Q.   How much did you purchase?

       18   A.   Thousands of MLs at a time.

       19   Q.   Yeah.   And do you recall the dates you purchased from

       20   Medisca?

       21   A.   I do not recall the dates.

       22   Q.   I mean, there should be invoices, shouldn't there, that

       23   would show those purchases from your company, from PCA?

       24   A.   Yes.

       25   Q.   Okay.   So you purchased it at times from Medisca.      You
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        1   testified to that?

        2   A.   Yes.

        3   Q.   But you can't remember the dates?

        4   A.   No.

        5   Q.   And so sitting here today you can't testify as to whether it

        6   was available in this general window of time, on which days it

        7   was available?

        8   A.   I don't recall it ever not being available.

        9   Q.   Okay.    But you don't know when it was, do you?

       10   A.   It was the beginning of the year, the beginning of 2015.

       11   Q.   Right.    Ingredients can be become scarce in the

       12   pharmaceutical market.

       13   A.   Yes.

       14   Q.   There are times when certain ingredients are hard to

       15   purchase, they're just not available for whatever reason?

       16   A.   Yes.

       17   Q.   If less of it is made, right, in a particular year and

       18   demand increases, there's less supply to go around.        You would

       19   agree with that?

       20   A.   Yes.

       21   Q.   In this period of time compounding medications increased

       22   quite a bit, didn't they?

       23   A.   Yes.

       24   Q.   There were a lot of other pharmacies other than PCA trying

       25   to buy ethoxydiglycol?
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        1   A.   Yes.

        2   Q.   And you never dealt directly with Mr. Grow, you didn't have

        3   conversations with him about the availability, did you?

        4   A.   With who?

        5   Q.   Mr. Grow.

        6   A.   Availability meaning?

        7   Q.   Well, let me ask you:    Do you know how many pharmacies

        8   Mr. Grow sold ethoxydiglycol to?

        9   A.   No.

       10   Q.   Now, you testified that his marketing company did marketing

       11   for PCA.      Do you recall that?

       12   A.   Yes.

       13   Q.   But sitting here today, you're not aware, you don't know

       14   that Mr. Grow also sold ethoxydiglycol to other pharmacies for

       15   which he did zero marketing?

       16   A.   I'm not aware of that.

       17   Q.   Right.    You just know that you purchased ethoxy on the

       18   directions of your company, right?

       19   A.   Yes.

       20   Q.   And you talked about the reimbursement for it and that's

       21   something that is set by Tricare in this case, right?

       22   A.   Yes.

       23   Q.   And if it was included in products to private insurance,

       24   those private insurance companies would decide on the price of

       25   reimbursement?
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        1   A.   Yes.

        2   Q.   Now, you were asked was there a time, on direct, where your

        3   company stopped doing these compounding medications.         Do you

        4   recall that?

        5   A.   Yes.

        6   Q.   When you stopped having a need for ethoxydiglycol?

        7   A.   Yes.

        8   Q.   That wasn't until what, the summer of 2015?

        9   A.   I think it was maybe before the summer of 2015.

       10   Q.   It was after April 2015, wasn't it?

       11   A.   It was when Tricare no longer was covering.

       12   Q.   Right.    When Tricare stopped paying for certain ingredients,

       13   right?

       14   A.   Yes.

       15   Q.   And let me ask you:    PCA is a pharmacy for profit, right,

       16   it's a company?

       17   A.   It's a company, yes.

       18   Q.   And companies aren't in the business of making products that

       19   they're not going to get paid on.         Do you agree with that?

       20   A.   Yes.

       21   Q.   And the pharmacy gets paid for its prescriptions largely

       22   from insurance.     Do you agree with that?

       23   A.   Yes.

       24   Q.   It's the reimbursement?

       25   A.   Yes.
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        1   Q.   And so when an insurance program makes a decision not to

        2   cover something, your pharmacy has to make alternative plans.

        3   Do you agree with that?

        4   A.   Yes.

        5   Q.   And whether that's substituting an ingredient like

        6   Resveratrol, right, sometimes you have to look for an

        7   alternative?

        8   A.   Yes.

        9   Q.   Or sometimes, if a product is not covered at all, you'll

       10   stop making it?

       11   A.   Yes.

       12   Q.   These were expensive medications.              You agree with that?

       13   A.   Yes.

       14   Q.   Prescription drugs in general are expensive?

       15   A.   Yes.

       16   Q.   And for most Americans the cost of paying for a prescription

       17   drug 100 percent that's not covered by insurance, would be very

       18   exorbitant.     Do you agree with that?

       19   A.   Yes.

       20               MR. MARCUS:   No further question, Your Honor.

       21               THE COURT:    Redirect.

       22                             REDIRECT EXAMINATION

       23   BY MR. JUENGER:

       24   Q.   Mr. Lozada --

       25   A.   Yes.
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       1   Q.   -- during the time that you were purchasing drug ingredients

       2   for PCA --

       3   A.   Yes.

       4   Q.   -- did you ever have a time when you wanted to buy

       5   ethoxydiglycol -- and I'm going to use the word the cheap stuff

       6   -- did you ever have a problem where you couldn't buy it?

       7   A.   No.    In fact, we had a bunch of regular product from Medisca

       8   in stock as well.

       9   Q.   Okay.    So did PCA ever have to buy Ethoxy Gold out of

      10   necessity?

      11   A.   No.

      12   Q.   Now, Mr. Marcus was talking about if insurance won't pay,

      13   then a patient would have to pay out of pocket, correct?

      14   A.   Yes.

      15   Q.   Do you know what the cash price out of pocket for one of

      16   these cream pain medications was?

      17   A.   It's pretty high.    I can't give you an exact dollar amount,

      18   but it was thousands of dollars.

      19   Q.   Have you seen any of those being sold?

      20   A.   Absolutely not.

      21   Q.   And you were shown a document by Mr. Marcus and asked about

      22   HIPAA and I believe -- let me find that document.          It's Defense

      23   Exhibit 58.     I'm going to zoom in a little, and I'll just read

      24   it because it's short.     It's from Matt Smith to Monty Grow.

      25               "Whose fax number is this?       We cannot show outside fax
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       1        numbers on these RX's.      There is a HIPAA concern around

       2        unsecure pathways."

       3               HIPAA is about patient privacy, correct?

       4   A.   Correct.

       5   Q.   And it also says "and patient brokering concerns"?

       6   A.   Yes.

       7   Q.   What does patient brokering concerns mean to you?

       8               MR. MARCUS:   I'll object, Your Honor, calls for an

       9   opinion.

      10               THE COURT:    I'm going to sustain the objection.

      11   BY MR. JUENGER:

      12   Q.   You were also asked about an email we looked at earlier, an

      13   exchange between yourself and Mr. Grow about changes to the

      14   scripts.    Do you remember that email?

      15   A.   Yes.

      16   Q.   And I want to ask:     Did you ever see a change where a

      17   script, the original script that came in, had no refill, and

      18   then the change had refills?

      19   A.   Yes.

      20   Q.   And did you ever see where a script had 240 grams and was

      21   changed to 360 grams?

      22   A.   Yes.

      23   Q.   Who should be making those changes?

      24   A.   The doctor.

      25   Q.   But who did the script come from?
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       1   A.   Mr. Grow.

       2   Q.   And you were shown a document by defense, it was Defense

       3   211, and I want to put it back up on the screen.

       4               Defense 211 was an email from Mr. Grow to Mr. Louis.

       5   Do you know who Mr. Louis was?

       6   A.   Yes.

       7   Q.   Who was he at PCA?

       8   A.   That was a fellow co-worker out of the pharmacy, a

       9   technician at Patient Care America.

      10   Q.   Do you know what his title was?

      11   A.   He was an adjudicator.

      12   Q.   And what is an adjudicator?

      13   A.   A person who billed prescriptions to insurance companies.

      14   Q.   And I want to approach and have you look at 211.         Do you

      15   have it there?

      16   A.   Yes.

      17   Q.   Do any of the therapeutic changes that are indicated on

      18   there include the drug Resveratrol?

      19   A.   No.

      20   Q.   And I want to show you then what's been admitted as

      21   Government's Exhibit 128.      Do you have a copy up there?

      22   A.   No.

      23   Q.   And if you would flip to the back of that, do you see

      24   therapeutic change forms?

      25   A.   Yes.
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       1   Q.   And what are those for?

       2   A.   It's for -- a Therapeutic Alternative Form is basically when

       3   a physician giving the okay to go ahead and either change an

       4   active ingredient to another active ingredient that gives the

       5   patient the same therapeutic alternative -- or the same

       6   therapeutic -- how could I say it?

       7               The Therapeutic Alternative Form is basically a form

       8   that the physician signs off stating that we're able to go ahead

       9   and change either a medication, you can change it to another

      10   medication that's used in the same family or you can just omit

      11   the medication from the formula itself.

      12   Q.   Sure.    And if you look to the last page of that document,

      13   there is a therapeutic change purposed, correct?

      14   A.   No.    Yeah, there's none for Resveratrol.

      15   Q.   There is none?

      16   A.   Yes.

      17   Q.   Oh.    So does Government's Exhibit 128 have a therapeutic

      18   change?

      19   A.   Yes.

      20   Q.   And what is it for?    It's from one thing to another thing,

      21   correct.

      22   A.   Yes.

      23   Q.   And what is it?

      24   A.   It's changing the -- it's basically omitting the Resveratrol

      25   from the formula.
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       1   Q.   Okay.   And now if you go to the front page of Government's

       2   Exhibit 128, this is an email from Monty Grow to Chris O'Hara

       3   and Wayne at 1st Care MD.    Do you know Chris O'Hara or Wayne at

       4   1st Care MD?

       5   A.   No.

       6   Q.   And this email is dated 4-6, April 6, 2015.

       7   A.   Yes.

       8   Q.   Which is how many days after Tricare stopped billing for

       9   Resveratrol, more or less?

      10   A.   I'd say approximately like a week.

      11   Q.   And I won't read the entire email but Mr. Grow tells Chris,

      12        after giving him some instructions on how to fill out the

      13        forms, "It's very important," all caps, many exclamations,

      14        "they," the doctors, "date the form March 23, 2015,"

      15        correct?

      16   A.   Yes.

      17   Q.   And this is a request being made on April 6th, correct?

      18   A.   Yes.

      19   Q.   They're being asked to backdate, correct?

      20   A.   Yes.

      21   Q.   And it has a list of doctors?

      22   A.   Correct.

      23   Q.   And do you recognize some of those doctors?

      24   A.   Yes.

      25   Q.   And Dr. Long Hoang, the first one, H-o-a-n-g --
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       1   A.   Yes.

       2   Q.   -- what percentage of Mr. Grow's scripts had that doctor on

       3   them?

       4   A.   A pretty good amount.

       5   Q.   Well, can you do better than that?

       6   A.   I'd say probably -- I'd say 60/40.             60 being a big

       7   percentage, the percentage that he wrote for.

       8               MR. JUENGER:     Okay.   That is all I have, Your Honor.

       9               THE COURT:     Thank sir, you're excused.

      10               Ladies and gentlemen, how about if you take an hour for

      11   lunch and come back at 1:30 to the original jury room.               So

      12   Mrs. Christie is going to walk you over there so you won't get

      13   lost back there.

      14               THE COURT SECURITY OFFICER:           All rise.

      15               THE COURT:    There are visiting judges, too.        Take your

      16   notebooks.     Leave them in the jury room.           Don't talk about the

      17   case, but you know that already.

      18               Thank you, sir, you may leave.          Have a good day.

      19               THE WITNESS:    Thank you.

      20        (The witness was excused.)

      21               THE COURT:    Who's your next witness, Government?

      22               MR. LARSEN:    Your Honor, the Government will be calling

      23   Mike Ewton.     He will be short witness.

      24               THE COURT:     Mike who?

      25               MR. LARSEN:     Ewton, E-w-t-o-n, I believe.
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       1            THE COURT:    And after him?

       2            MR. LARSEN:     Ralph Louis.

       3            THE COURT:    And after him?

       4            MR. LARSEN:    We are hopeful that Jonelle Coronado will

       5   be in town.   She is inbound from Germany as we speak, probably

       6   somewhere over American airspace at this point.

       7            THE COURT:    So you've got Coronado, Ewton and?

       8            MR. LARSEN:     Ralph Louis, and that should be all for

       9   the Government's case.

      10            THE COURT:    How long do you think Louis will be?

      11            MR. LARSEN:    We think Louis will probably be about the

      12   same length as this witness, Mr. Lozada.

      13            THE COURT:    Are you going to have defense witnesses

      14   this afternoon?

      15            MR. RASHBAUM:     We have a couple that are ready, Your

      16   Honor, if need be, a couple in the building.       We have had some

      17   travel issues, but we have two available in the building.

      18            MR. LARSEN:     Can we know who they are?

      19            THE COURT:    Yeah.   Who they are?

      20            MR. RASHBAUM:    Sure.     Corcoran.

      21            MR. MARCUS:    David Corcoran.

      22            MR. RASHBAUM:     I'm not sure whether Davila is here or

      23   Luis Green, one of the two.

      24            THE COURT:    David Corcoran, the lawyer?

      25            MR. MARCUS:    Yes.
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       1            THE COURT:     And who else?

       2            MR. RASHBAUM:     Sal Davila and Luis Green.       I am just

       3   not sure of the order for --

       4            THE COURT:     And who is the third person?

       5            MR. RASHBAUM:    Luis Green.        In some order those will be

       6   our first three witnesses we expect.

       7            THE COURT:     Where is that person in your list?

       8            MR. RASHBAUM:     Luis Green?

       9            THE COURT:     Help me out.

      10            MR. RASHBAUM:    Under G.

      11            THE COURT:    Okay.   Luis Green, there you go.      I had it

      12   alphabetically.

      13            Any exhibits with those individuals?          Then show it to

      14   the Government and we can go through it.         Any exhibits that the

      15   Government is going to introduce with your last three witnesses?

      16            MR. JUENGER:    Your Honor, I think we went over them all

      17   last night.

      18            THE COURT:    That's why I want to know if there are any

      19   other exhibits.    If they have been admitted, I don't need to

      20   talk about them.    If they were not --

      21            MR. JUENGER:     I don't anticipate any others than we

      22   discussed last night.

      23            THE COURT:     No other exhibits with any of the other

      24   witnesses?

      25            MR. JUENGER:     Including the defense witness?
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       1              THE COURT:    No.     Just worry about your own witnesses.

       2              MR. JUENGER:     Yeah, that's enough.

       3              THE COURT:    Any exhibits with the defense?

       4              MR. RASHBAUM:    With the entire defense?

       5              THE COURT:    No, the three witnesses.          I divide and

       6   conquer.

       7              MR. MARCUS:    Yes.    We will probably use Defendant's

       8   Exhibit 208.

       9              THE COURT:    What else?

      10              MR. MARCUS:    212, 209, 210, 18.

      11              THE COURT:    I'm sorry?

      12              MR. MARCUS:     18, 36, 19, 47, 105.

      13              THE COURT:    This is with your first three witnesses?

      14              MR. MARCUS:    These would be with Mr. Corcoran, Your

      15   Honor.

      16              THE COURT:    All right.      What else?

      17              MR. MARCUS:     164, 168, 171.

      18              THE COURT:    That's it?

      19              MR. MARCUS:    Yes.

      20              THE COURT:    Show those exhibits, make sure the

      21   Government sees them.       If the Government has any objection,

      22   right after the judgment of acquittal argument, you will tell me

      23   if you have any objections.        If not, I will assume that there

      24   are none and they will be admitted.              If you have any objections,

      25   after the judgment of acquittal argument, you will tell me, we
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       1   object to 105 or A, B and C, and we will decide then since the

       2   jury will not be here during the Rule 29 argument.

       3            By the same token, at that time I want you to submit to

       4   me -- that's why I gave each side two copies of the jury

       5   instructions.    I've already made some changes.     I added the

       6   names of the accomplices and I changed that instruction to

       7   include names.    If there are other names to include, we will

       8   add.

       9            If there any typographical errors, any corrections, you

      10   put them on one of the two copies that I gave you and you just

      11   give me your -- rip out the page with the changes that you think

      12   are needed.   If you have any additional ones, then you can

      13   prepare those, and they should be provided tomorrow morning.

      14   Okay?

      15            MR. RASHBAUM:     Judge, there's one more exhibit.     That

      16   was just one witness.

      17            THE COURT:    Okay.   What is the other one?

      18            MR. RASHBAUM:    Defense Exhibit 120.

      19            THE COURT:     Anything else?

      20            MR. RASHBAUM:    Not for the first three witnesses, Your

      21   Honor.

      22            THE COURT:    Okay.   Let's just do it that way.     That way

      23   we will move along.    All right.

      24            MR. LARSEN:     Your Honor, I want to make sure I

      25   understand your order on the jury instructions.       We give you any
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       1   changes tomorrow morning?

       2            THE COURT:    No.   You're almost as bad as the jurors,

       3   see that's why I like to keep it simple.

       4             Okay.   I said, I gave you two copies.     Tell me what's

       5   wrong with them and write out whatever you want to delete and

       6   you're going to give me that right after the Rule 29 motion for

       7   judgment of acquittal because you've had it earlier this morning

       8   and you can read it.    Most of them are standard.

       9             Anything additional, deletions by Rule 29, additions,

      10   I'll give you until tomorrow morning.

      11            MR. LARSEN:    Okay.

      12            THE COURT:    You give it to me so I can read it and have

      13   a charge conference.    That's why the charge conference doesn't

      14   take that long.   It's preserved.

      15            The purpose of the charge conference if you want to

      16   commit error, I'll let you do that, but I'll preserve it.        If

      17   you say we want instruction B, no, I'm not going to give it to

      18   you, but I'll file it and I'll say why I won't give it, or if

      19   you want to convince me to give an instruction.       It shouldn't

      20   take that long, because it should only be three or four,

      21   something like that, in my opinion, in my limited experience of

      22   now 760 jury trials.

      23             So maybe this will be different, but I think we could

      24   do it that way, but I'll preserve the objections from either

      25   side.   The Government's objections aren't as important because
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       1   if you win, you don't care; and if you lose, you can't appeal.

       2   So you've got to persuade me to give an instruction.           That's why

       3   I gave you till tomorrow, same thing with the defense.

       4            That way you put jury instruction, defense proposed

       5   one, two, three, four, it won't go past five probably, and then

       6   I'll look at it and I'll think about it and I'll do some

       7   research.   So by the time we have argument, it will be -- you

       8   know, right next door in my courtroom, my assigned courtroom,

       9   they are having probably the best civil lawyers in the nation

      10   all trying to get multidistrict litigation from seven

      11   magnificent judges on the Multidistrict Panel.

      12            As I was coming up the elevator, there were some

      13   lawyers I didn't know because they're from all over the country

      14   and I told one of my law clerks -- you're here for the

      15   multidistrict?   Yeah.   So I told my law clerk these are big

      16   shots, and the lawyer responded, big shots who get -- fill in

      17   the time -- to argue on multimillion dollar cases.        How much

      18   time do you think each lawyer gets to argue?

      19            MR. RASHBAUM:    Two minutes.

      20            THE COURT:    You got it.     And I'm tempted to go in there

      21   to see how people like Judge Vann and Judge Bryer, all

      22   super-duper people -- they give two minutes and that's how I

      23   want to do the charge conference.        So you help me out.    I'm not

      24   limiting you to two minutes, but sometimes we spend two minutes.

      25            All right.    You don't want to eat?      I didn't eat when I
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       1   was a lawyer in trial, but I eat as a judge.

       2              MR. MARCUS:     No, we do want to eat.        On the jury

       3   instructions, we submitted a lot of special instructions.

       4              THE COURT:     You submitted a lot of stuff that I looked

       5   at, some of it I included, some of them were standard.               What I

       6   want you to do is what I've just said, look at what I've got,

       7   tell me what's wrong with it by writing it, and if you really

       8   want something else, then you'll submit it.             Instead of

       9   submitting 45, you'll submit 4 or 5.

      10              MR. MARCUS:     Okay.

      11              THE COURT:     Maybe I'll grant some, maybe I'll deny.

      12   Whatever I deny, you'll have it all set up and you can put in

      13   your brief, in the event that your client is convicted, issue on

      14   appeal.    I set it up for you.       I don't have any problem with

      15   that.     Or you can argue to me why you want that as opposed to

      16   going back and forth with two jury instructions.             It's just, you

      17   know -- I don't know if you all -- does anybody bill by the hour

      18   here?     No, those are the guys next door.          All right.   That's why

      19   they're upset that it's two minutes.             You all don't bill by the

      20   hour, so I'm helping you.         You just don't know it.

      21              Okay.   Eat.    See you in 55 minutes.        Okay.

      22              THE COURT SECURITY OFFICER:           All rise.

      23              MR. JUENGER:     Judge, can I ask a question off the

      24   record?    It has nothing to do with this case.

      25              THE COURT:     Okay.
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       1        (There was a luncheon recess taken at 12:45 p.m.)

       2                             AFTERNOON SESSION

       3        (The following proceedings were held at 2:10 p.m. outside

       4   the presence of the jury:)

       5             THE COURT:    You can bring them.

       6             THE COURT SECURITY OFFICER:           Yes, sir.

       7            THE COURT:     I'm sorry.    I thought you were doing that.

       8        (The jury returned to the courtroom at 2:10 p.m.)

       9            THE COURT:     Thank you, folks.        Please be seated.

      10             Call your next witness, please.

      11             MR. LARSEN:    The United States calls Michael Ewton.

      12             THE COURT:    Raise your right hand.

      13             MICHAEL EWTON, GOVERNMENT'S WITNESS, SWORN.

      14            THE COURT:     Have a seat and tell us your name and spell

      15   your last name when you get a chance.

      16             THE WITNESS:    My name is Mike Ewton, E-w-t-o-n.

      17                            DIRECT EXAMINATION

      18   BY MR. LARSEN:

      19   Q.   Good afternoon, Mr. Ewton.      Where do you live, city and

      20   state only, please?

      21   A.   Jacksonville, Florida.

      22   Q.   Do you know why you were called to testify here in court

      23   today?

      24   A.   Because I was kind of recruited to get involved in a

      25   compound pharmacy, kind of set up some prescriptions and get a
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       1   little bit of a kickback from it a couple of years ago, nearly

       2   three years ago.

       3   Q.   Are you a Tricare beneficiary?

       4   A.   Yes.

       5   Q.   And how is it that you're a beneficiary?

       6   A.   My wife is active duty in the Navy.

       7   Q.   What do you do for a living?

       8   A.   I work for the power company in Jacksonville.

       9   Q.   And where are you and your wife currently stationed?

      10   A.   In Jacksonville, Florida.

      11   Q.   Were you in Jacksonville, Florida in early 2015?

      12   A.   Yes.

      13   Q.   Now, did there come a time when you agreed -- you said just

      14   a moment ago you ordered compounded medications through an

      15   individual or related to an individual named Monty Grow?

      16   A.   Yes.

      17   Q.   Why did you agree to order these compounded medications?

      18   A.   Through some friends of my wife, we were kind of recruited

      19   one morning.     They told me that they had been involved with it

      20   for some time.

      21               THE COURT:     When you say "they" I don't know who you

      22   mean.

      23               THE WITNESS:    My wife's friends.       Should I use names?

      24               THE COURT:   Yes, you should.

      25               THE WITNESS:    Okay.      Natalie Pinkney, Rebecca Brown and
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       1   Leah Styles, we were all sitting around having coffee and they

       2   started talking about money they were receiving for being

       3   involved in this pharmacy.

       4             THE COURT:    Should we receive that as evidence, you

       5   think?

       6             MR. LARSEN:    Are you asking me, Your Honor?

       7             THE COURT:    You're the one who's proposing it.

       8             MR. LARSEN:    Your Honor, I just asked why he agreed.

       9   There was no objection.

      10             THE COURT:    When you ask why, usually the "because"

      11   includes hearsay, don't you think?

      12             MR. LARSEN:    Your Honor, I can move on, sure.

      13             THE COURT:    Okay.   You can't tell us what someone said

      14   under most circumstances.

      15             THE WITNESS:    Okay.

      16             THE COURT:    There are exceptions, but you wouldn't know

      17   that though.

      18   BY MR. LARSEN:

      19   Q.   Mr. Ewton, did you agree to order the medications?

      20   A.   I did.

      21   Q.   What products were these?

      22   A.   A pain cream, a scar cream, and a multivitamin.

      23   Q.   And did you agree also to be a sales rep for the defendant?

      24   A.   Initially, I told them that I could potentially do that if

      25   they could show me that it was on the up-and-up and not dirty.
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       1   It felt dirty to begin with.

       2   Q.   Did you end up repping anybody?

       3   A.   My wife signed up, I signed up, but I didn't go out

       4   recruiting.

       5   Q.   Okay.    What was the first step you took to get involved with

       6   the defendant?

       7   A.   There was some paperwork to fill out and then, once that was

       8   done, you just waited for a phone call to come from somebody who

       9   proposed that they were a doctor.

      10   Q.   And what type of information did you put on the paperwork?

      11   A.   You know, there may have been some tax forms, so that you

      12   could receive the money for it.

      13   Q.   Did you have to put information about yourself, anything

      14   like that?

      15   A.   I think so.

      16   Q.   A minute ago you said that you felt like this was dirty.

      17   Why did you feel that?

      18   A.   Well, because there was more money than seemed reasonable

      19   involved as what was presented as commission or kickback, and my

      20   mom always said, if it doesn't feel right, then don't do it.

      21   And I was presented with information about the people that were

      22   selling the idea to me, that they had been recruited by somebody

      23   and the entire situation had been vetted and it was legal.

      24   Q.   Okay.

      25   A.   And I let myself be sold on that idea because at that time
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       1   financially we were struggling and we needed some money and

       2   everybody was getting some money and we wanted a piece.

       3   Q.   Do you feel like what you were involved in was at any point

       4   legal?

       5   A.   I was convinced that at least it was legal, it may not have

       6   been so ethical, but I felt like, based on what I was told, that

       7   it was probably legal.

       8   Q.   Was that something that the defendant told you?

       9   A.   No, I never spoke -- to my knowledge, I don't think that I

      10   ever spoke to him.

      11   Q.   So who did you hear this from?

      12   A.   Natalie Pinkney mostly.

      13   Q.   Okay.   Now, did you receive these products at some point?

      14   A.   Yes.

      15   Q.   And what came in the mail?

      16   A.   The pain cream, the scar cream, and the multivitamin for my

      17   wife and for me.

      18   Q.   Did you receive payment at some point?

      19   A.   Yes.

      20   Q.   And whose prescription were you paid for?

      21   A.   I believe that I was paid for hers and mine, but it may have

      22   been just mine.    I really -- I can't remember.     It's been a

      23   while.

      24   Q.   Okay.   As you stated earlier, you never recruited anyone

      25   into this other than your wife?
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       1   A.   Correct.

       2   Q.   Do you and your wife share same bank account?

       3   A.   Yes.

       4   Q.   And the money that I came into that bank account do you use

       5   for family or household expenses?

       6   A.   Yes.

       7   Q.   What did you use the money for, if anything?

       8   A.   Just bills, it just was something to help with the bills.

       9   Q.   And the money that you received, how do you know it came

      10   from the defendant?

      11   A.   That's the one interaction that I had with him personally.

      12   We had some texting back and forth, or maybe an email or two,

      13   regarding payment and regarding account information.       I think

      14   that I received notification from him that money had been wired

      15   to me.

      16   Q.   Did you sign up for these products because you needed them?

      17   A.   No.

      18   Q.   At any point during this time frame you're testifying about,

      19   did you learn that you had to become an employee of a pharmacy?

      20   A.   I learned that in order to continue getting a payment or any

      21   other payments that I would have to do that and so I filled out

      22   the paperwork to do that?

      23   Q.   Where did you learn that from or who did you learn that

      24   from?

      25   A.   Natalie.
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       1   Q.   Okay.    Not from the defendant?

       2   A.   Not directly, no.

       3   Q.   Why did you fill out the paperwork to become an employee of

       4   a pharmacy?

       5   A.   Because I'd like to see another payment.

       6   Q.   Were you ever an employee, as you understand what an

       7   employee is, of the pharmacy?

       8   A.   No.     I already had a job and it was strictly about getting

       9   another payment.

      10   Q.   Okay.     Would you have paid any money out of pocket for any

      11   of these medications?

      12   A.   No.

      13   Q.   I'm sorry?

      14   A.   No.

      15   Q.   Why not?

      16   A.   I can get meds over the counter for -- I mean, if it was

      17   cheap maybe.     I don't know if the stuff was any better than any

      18   meds that I could get from Walgreen's so --

      19   Q.   Okay.

      20              MR. LARSEN:      If I could have one moment, Your Honor?

      21              THE COURT:      Sure.

      22                MR. LARSEN:    No further questions, Your Honor.

      23                THE COURT:    Thank you.     Cross-examination.

      24              MR. RASHBAUM:      Thank you, Your Honor.

      25                                CROSS-EXAMINATION
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       1   BY MR. RASHBAUM:

       2   Q.   Good afternoon.     My name is Dan Rashbaum.   I represent Monty

       3   Grow.   You never met Monty Grow, right?

       4   A.   No.

       5   Q.   And have never spoken to him?

       6   A.   To my knowledge, I don't think that I ever had a

       7   conversation with him.

       8   Q.   Now, you said that you thought it was dirty in the

       9   beginning, but then you became a little bit more comfortable

      10   with it, right?

      11   A.   Really, on the day that we initially spoke, me and my wife's

      12   friends spoke about it, I was more comfortable with it at the

      13   end of that conversation.

      14   Q.   And that's because your wife's friends had indicated to you

      15   that it had been vetted by legal counsel, correct?

      16   A.   Yes.

      17   Q.   And that legal counsel thought it was on the up-and-up,

      18   correct?

      19               THE COURT:   Well, let me interrupt you for a second

      20   because you all are so friendly with each other that you don't

      21   object, which is probably why you didn't object to the original

      22   hearsay about the friends.      So now we have the friends saying

      23   that some lawyer said something, and so that's not just hearsay,

      24   that's double hearsay.

      25               MR. RASHBAUM:   The door was opened by the Government,
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       1   Your Honor.    The door was opened by the Government.

       2              THE COURT:     I thought I closed it.

       3              MR. RASHBAUM:    Not that time.

       4              THE COURT:   I have to close it now.

       5              MR. RASHBAUM:     That's okay.

       6              THE COURT:   But that's the reason.         You all understand

       7   what I told you before, generally, someone outside has to be

       8   here.    There are exceptions.     I think I told you some of the

       9   them already, and it's not whether that's true or not true,

      10   that's how we do it.       So I'm going to sustain the objection to

      11   what some lawyer said to some friends who said it to this

      12   witness.

      13              MR. RASHBAUM:    It goes to his state of mind, too, Your

      14   Honor.

      15              THE COURT:   Whose state of mind, the lawyer's, the

      16   friends' or the witness'?

      17              MR. RASHBAUM:    The witness, Your Honor.

      18              THE COURT:   The state of mind of the witness is not at

      19   issue.

      20              MR. RASHBAUM:    Fair enough.         I'll move on.

      21              THE COURT:   Is he a party to this case?          You haven't

      22   been charged, right, with anything?

      23              THE WITNESS:     Not to my knowledge.

      24              THE COURT:   Okay.    So state of mind is not at issue.

      25   BY MR. LARSEN:
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       1   Q.   After talking to your friends, you became more comfortable

       2   with it, correct?

       3   A.   I was never completely comfortable with the idea.       I was

       4   broke.

       5   Q.   You became comfortable enough that your wife received creams

       6   on March 24, 2015, April 22, 2015, and May 7, 2015, right?

       7   A.   How many payments did you mention?

       8   Q.   No, I said she received creams.

       9   A.   Oh, the medicine.

      10   Q.   Yes.

      11   A.   Yeah, okay, yes.

      12   Q.   And you received in March, April and May as well?

      13   A.   Sounds right.

      14   Q.   And you received payment for one set of those prescriptions,

      15   correct?

      16   A.   I don't know.   I received two payments and I don't know what

      17   I was paid for.

      18   Q.   If I told you that the two payments were related to your

      19   wife's prescriptions, the person that you brought into the

      20   marketing, would that surprise you?

      21   A.   I didn't know where the money was coming from, whether it

      22   was from my prescription or hers.

      23   Q.   If I told that you weren't paid for your prescriptions,

      24   would that be inaccurate?

      25               MR. LARSEN:   Foundation.
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       1              THE COURT:   Overruled.       If he doesn't know, he can say

       2   I don't know.    I'll overrule the objection.          Go ahead.   You can

       3   answer it.

       4              THE WITNESS:    Again with the question, please.

       5   BY MR. RASHBAUM:

       6   Q.   Let me put it to you this way:          Do you know whether you were

       7   paid for your prescriptions?

       8   A.   I don't.

       9              MR. RASHBAUM:    One moment, Your Honor.

      10              THE COURT:   Sure.

      11              MR. RASHBAUM:    No further questions, Your Honor.

      12              THE COURT:   Redirect, if any.

      13                              REDIRECT EXAMINATION

      14   BY MR. LARSEN:

      15   Q.   Mr. Ewton, you said you felt this whole thing was dirty.

      16   Did you think it was legitimate or clean to be paid for either

      17   your prescriptions or your wife's prescriptions for products

      18   that you've testified you didn't even need?

      19              MR. RASHBAUM:    Objection, Your Honor.

      20              THE COURT:     Grounds.

      21              MR. RASHBAUM:    State of mind.         He is the witness.

      22              THE COURT:     Pardon?

      23              MR. RASHBAUM:    You said state of mind.         He is the

      24   witness.

      25              THE COURT:   I'm going to sustain it because it's
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       1   leading.    See, if he said yes, the chances are it's a leading

       2   question, and on redirect you still cannot lead.           You can ask

       3   why, how, what, when.      All of those are not leading questions.

       4   BY MR. LARSEN:

       5   Q.   As you sit here today, do you feel what you engaged in was

       6   legitimate?

       7   A.   No.

       8              MR. LARSEN:    Thank you.

       9              THE COURT:    Thank you, sir.       Have a safe trip back.

      10              THE WITNESS:    Thank you.

      11        (The witness was excused.)

      12              THE COURT:    Next witness.

      13              MR. JUENGER:    Your Honor, that's going to be the

      14   Government's final witness.

      15              THE COURT:    So what does the Government usually say

      16   when that happens?

      17              MR. JUENGER:    Well, we would like to confirm that we

      18   have the exhibits and rest.

      19              THE COURT:    Okay.    How do you want to confirm that?

      20              MR. JUENGER:    Well, we have a list that we've been

      21   keeping all through trial, and we would like to confirm that

      22   Your Honor has the same ones.

      23              THE COURT:     Okay.   Go in order.

      24              MR. JUENGER:    We have --

      25              THE COURT:    Why don't you use the microphone to make
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       1   the court reporter happy.        If the court reporter is happy, the

       2   judge is happy.

       3            You're going to do it in order, right?

       4            MR. JUENGER:     I am and perhaps it would be easier --

       5            THE COURT:     If you do it in numerical order, that's

       6   perfect, we can keep up with that.              So start with 1.   Is that

       7   the lowest number?

       8            MR. JUENGER:    It usually is.

       9            THE COURT:     Then start with that.           If there's nothing

      10   in between, we can say, for example, 1 through 9.

      11            MR. JUENGER:     1 through 9.

      12            THE COURT:     Okay.    Then what?

      13            MR. JUENGER:     10 -- no, 11.

      14            THE COURT:     And then what?           I've got 17-A, B, C, D.

      15            MR. JUENGER:     Yes, Your Honor.

      16            THE COURT:     Anything in between?          Then I have F and 18.

      17            MR. JUENGER:     F and 18.

      18            THE COURT:     Next group that I have is 31 through 36.

      19            MR. JUENGER:     Correct, Your Honor, but I would ask --

      20            THE COURT:     No, you tell me what's missing in between.

      21            MR. JUENGER:     23, Your Honor, I would --

      22            THE COURT:     23.     What say the Government to 23?        I

      23   meant the defendant.    I made a mistake.           What say the defendant

      24   to Exhibit Number 23 by the Government?

      25            MR. MARCUS:     We are going to continue our objections,
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       1   Your Honor.   We've discussed this.

       2             THE COURT:   Sustained.      Just tell me objection or not.

       3   I am going to sustain the objection.

       4             MR. JUENGER:     Then I have 31 through 36.

       5             THE COURT:     That's what I said.      40 through 42.

       6             MR. JUENGER:     40 to 42.

       7             THE COURT:   44.

       8             MR. JUENGER:     44.

       9             THE COURT:   47.

      10             MR. JUENGER:     47.

      11             THE COURT:     The next one that I have is 49.

      12             MR. JUENGER:     49.

      13             THE COURT:     Anything else in that group so far?       In the

      14   first 50, nothing else?

      15             MR. JUENGER:     I think that's it, Your Honor.

      16             THE COURT:     All right.    51, 52.

      17             MR. JUENGER:     51, 52, 54, 55, 56, 58, 61, 62, 64, 67,

      18   68, 69.

      19             THE COURT:     I have 66 also.      Do you have 66 or not?

      20             MR. JUENGER:    We don't have it marked, Your Honor, but

      21   I trust your --

      22             THE COURT:     They are your exhibits, do you want it in

      23   or out?

      24             MR. JUENGER:     Yes, Your Honor.

      25             THE COURT:     You want it in.
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       1               MR. JUENGER:     In.

       2               THE COURT:     Any objection from the defense?

       3               MS. MEYERS:     Your Honor, no objection.

       4               THE COURT:     Then it's --

       5               MS. MEYERS:    For the record, Your Honor, we noted that

       6   it had been put in on January 22nd.

       7               THE COURT:     Okay.    It doesn't matter, it's in.    So I've

       8   got 66 through 72.

       9               MR. JUENGER:     Yes, Your Honor.

      10               THE COURT:     And then I have 74.

      11               MR. JUENGER:     Yes.

      12               THE COURT:     The next category 76 through 82.

      13               MR. JUENGER:     Yes.

      14               THE COURT:    Then 85, 88, 92 and 93.    Anything in

      15   between?

      16               MR. JUENGER:    No, just those.

      17               THE COURT:     And then I have 95 through 99.     Then I have

      18   101 to 104.

      19               MR. JUENGER:     I had all of those.    I had 100 marked.

      20               THE COURT:     100.    What say the defendant to Exhibit

      21   100?

      22               MS. MEYERS:     No objection, Your Honor.

      23               THE COURT:     Then it's in.

      24          (Government's Exhibit Number 100 was received in evidence.)

      25               THE COURT:     106 and 107.
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       1              MR. JUENGER:     Yes, Your Honor.

       2               THE COURT:    Then I have 109 through 120.    Then I have

       3   122.    Anything before that?

       4              MR. JUENGER:     No, Your Honor.

       5               THE COURT:    Then I have 127 through 131.    Then I have

       6   133 to 139.     Then 141, and 143 through 154.

       7              MR. JUENGER:     I have all of those, Your Honor, but I

       8   also have 124 and 125, unless you mentioned those.

       9               THE COURT:    124 and 125.     What say the defense to 124

      10   and 125?

      11               MS. MEYERS:    Your Honor, we have no objection to 124.

      12              THE COURT:     Do you have an objection to 125?

      13              MS. MEYERS:     I don't have it, Your Honor.

      14              THE COURT:     It's an email on April 15, 2015, sometimes

      15   described as 2019 and corrected.         It's an email between Mr. Grow

      16   and others.

      17              MS. MEYERS:     We have no objection, Your Honor.

      18              THE COURT:     It will be admitted.

      19          (Government's Exhibit Numbers 124 and 125 were received in

      20   evidence.)

      21               THE COURT:    So now we're up to 139, all of those, and

      22   then 141 and 143 through 154, as I've just said.

      23              MR. JUENGER:     Yes, Your Honor.

      24              THE COURT:     The next one that I have is 157.

      25               MR. JUENGER:    Yes, Your Honor.
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       1            THE COURT:     Okay.     And then 159 all the way to 170-D.

       2   And then I have 172, 173 and 174.           Anything else?

       3            And, folks, you'll get all these exhibits, you're going

       4   to get an Exhibit List.        I am going to make them do an Exhibit

       5   List just with things that they decided they want to introduce,

       6   and I have admitted to make it easier for you.

       7            MR. JUENGER:    Your Honor, I have all of those that you

       8   had.

       9            THE COURT:     You don't have to tell me.       Tell me what

      10   you don't have.

      11            MR. JUENGER:     176.

      12            THE COURT:     176.    What is the defendant's position?

      13            MS. MEYERS:     Your Honor, we continue our objection to

      14   that document.

      15            THE COURT:    I'm sustaining the objection.

      16            MR. JUENGER:     And then lastly, Your Honor, we have a

      17   signed stipulation between the parties.          We would label it 177

      18   and ask that that be admitted.

      19            THE COURT:    Do you want to read it?

      20            Ladies and gentlemen, a stipulation is an agreement

      21   about something that is no longer in dispute.          You must accept

      22   it.

      23            Do you want to read it?

      24            MR. JUENGER:    I can.      The stipulation reads:

      25            "The parties stipulate and agree that at all times
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       1       pertinent to the Superseding Indictment, one, Tricare was a

       2       health care benefit program and a Federal health care

       3       program defined under Federal law; and, two, that

       4       flurbiprofen drugs referenced in Counts 50 and 51 of the

       5       Superseding Indictment were prescription drugs within the

       6       meaning of the Food, Drug and Cosmetics Act."

       7            It's signed by the parties.

       8            THE COURT:    All right.    So you must accept that and

       9   that eliminates the need to have additional witnesses because of

      10   the cooperation of both sides voluntarily doing that to move the

      11   case along about something that's not in dispute.

      12            What say the Government?

      13            MR. JUENGER:    The Government rests, Your Honor.

      14            THE COURT:    Unfortunately, because the law requires me

      15   to excuse you when the Government rests, let me give you a

      16   seventh inning stretch, it may not be the seventh inning, and

      17   then we'll make you come back.      Stay in this jury room because

      18   we're going to bring you back relatively soon after I talk to

      19   the lawyers about what else, if anything, they want to do.

      20   Okay?

      21            THE COURT SECURITY OFFICER:         All rise.

      22            THE COURT:    Don't talk about the case.         You can leave

      23   your notebooks here.    You can take your sodas.         Don't drink too

      24   much or you may need more bathroom breaks this afternoon.

      25       (The jury retired from the courtroom at 2:35 a.m. and the
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       1   following proceedings were held:)

       2              THE COURT:    Did I hear the door yet?   There we go.

       3               All right.   What say the defense?   And everyone else

       4   can sit down.

       5              MR. MARCUS:   Your Honor, we'll make a Rule 29 motion on

       6   all counts.     I want to focus, though, on the health care fraud

       7   counts, the conspiracy, and then Counts 2 through 8, the

       8   substantive counts, just to start.

       9               THE COURT:   You don't like to use the lectern.

      10              MR. MARCUS:    I'll do that, Your Honor.

      11               THE COURT:   I'm all ears.

      12              MR. MARCUS:   Your Honor, the bulk of the evidence we've

      13   heard has related to payments the Government argues are

      14   kickbacks, payments to sales reps or patient recruiters, in

      15   their words, or patients, and those relate to the kickback

      16   charges, but they have charged a health care fraud under 1347

      17   and they charged a conspiracy under 1349, a health care and a

      18   wire fraud conspiracy, and the substantive counts relate to

      19   claims.    These are reimbursement claims made to Tricare, and the

      20   elements of those claims have to show that they were submitted

      21   and that the claims themselves contained materially false

      22   information.    It was done with a willfulness, a specific intent

      23   to defraud Tricare.

      24              Obviously, the evidence has been very clear in this

      25   case.     Mr. Grow does not have a provider number with Tricare,
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       1   did not submit a claim to Tricare, did not bill Tricare.           All of

       2   that was done by the pharmacy in this case, PCA.

       3            THE COURT:    They can't be co-conspirators?

       4            MR. MARCUS:    They could, sure, but look at the evidence

       5   that's been submitted.    No one has come in that's testified

       6   about how claims were submitted by PCA, that there was false

       7   information put into those claims.           We've had no testimony about

       8   anyone on the inside, you know, omitting material information as

       9   part of reimbursement or doing anything on the PCA side.

      10            We had Mr. Lozada today.        He's a technician.     They

      11   chose not to call witnesses from the pharmacy, so that's their

      12   problem, is that they haven't had someone come in and say that

      13   anyone had a conversation --

      14            THE COURT:    He's not from the pharmacy?

      15            MR. MARCUS:     Mr. Lozada?

      16            THE COURT:    Yeah.

      17            MR. MARCUS:    Yeah, but he's a technician.

      18            THE COURT:    Yeah, but he did more than that.         No?

      19            MR. MARCUS:    He did not lay the requisite predicate for

      20   a billing claim submission case or a conspiracy.           He never

      21   talked with Mr. Grow about any of the claims that were submitted

      22   to Tricare.   He didn't testify about that, and no one has

      23   testified that they ever had a conversation with Mr. Grow about

      24   how the claims would be submitted and that there was any intent

      25   to defraud Tricare.
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       1            Everything in this case is focused on the way that

       2   Mr. Grow ran and marketed his company and payments he made

       3   either to his employees or, arguably, to patients or reps.

       4   That's on the kickback side, but not on these first nine counts,

       5   or eight counts, and I mean, they could have obviously put in

       6   that evidence, but it hasn't been submitted.

       7            So there's been no evidence from which you could

       8   establish that there was a conspiracy between Mr. Grow and any

       9   person because, remember, you can't conspire with a company,

      10   right?   You have to have evidence specifically that there were

      11   specific individuals --

      12            THE COURT:     You cannot conspire with a company?     You

      13   mean someone cannot -- companies speak through human beings,

      14   companies are sometimes indicted.

      15             MR. MARCUS:    That's right.

      16            THE COURT:     Companies plead guilty, companies are

      17   sentenced.   I mean, I've had two jury trials with companies.

      18            MR. MARCUS:    You have to have a flesh and blood person

      19   acting with authority.

      20            THE COURT:     But you can do it with a company.

      21   Companies speak through agents.

      22             MR. MARCUS:    Right.

      23            THE COURT:     In some places they even have the right to

      24   contribute, they have the right to be indicted, they have the

      25   right to defend themselves.       They just have to be represented by
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       1   lawyers.    So you can conspire with a company, but someone has to

       2   speak for the company.

       3              MR. MARCUS:     That's right.       My point is no one has done

       4   that, no one has talked about the submission of claims to

       5   Tricare from the company and connected them in any way to

       6   Mr. Grow, let alone some sort of illegal or unlawful agreement

       7   to do so.

       8              THE COURT:    All right.    Let me hear from the Government

       9   then.

      10               MR. JUENGER:    Well, Your Honor --

      11              THE COURT:     He's going to yield the microphone, just

      12   like Senators do even now.

      13              MR. JUENGER:     For starters, Your Honor --

      14              THE COURT:    Okay.   What's the evidence regarding this,

      15   first eight counts?

      16              MR. JUENGER:     Well, it's a scheme, Your Honor, a scheme

      17   to defraud.

      18              THE COURT:     Between whom or among whom?

      19              MR. JUENGER:     Well, Ginger Lay, for example, Robin

      20   Halliburton, the witness today, Mr. Bjerke.            They all knew and

      21   some of the witnesses who they recruited who did not need these

      22   drugs, right, they were paid through Mr. Grow based on

      23   submissions to PCA.

      24               THE COURT:    You do not need --

      25              MR. JUENGER:     I don't know that I need anyone inside
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       1   the pharmacy.   Clearly, the claims were submitted.            The charge

       2   is submitted or caused to submit.            We have scads of faxes, of

       3   emails of prescriptions from Mr. Grow to the pharmacy.            We had

       4   the payments back from the pharmacy.             Any reasonable inference

       5   is that they paid him for what they agreed to pay him for, which

       6   was 50 percent of the reimbursements for all the scripts.

       7             We also know there's plenty of evidence that

       8   Mr. Grow --

       9             THE COURT:   But don't the submissions have to be

      10   fraudulent in the first place?

      11             MR. JUENGER:     Of course.

      12             THE COURT:     And who submitted the submissions?

      13             MR. JUENGER:     PCA.

      14             THE COURT:   Who on behalf of the pharmacy?

      15             MR. JUENGER:    Whoever submits the claims.         I don't know

      16   that we need to introduce any evidence as to who pushed the

      17   button to submit the claims.

      18             THE COURT:     Do we have the claims themselves?

      19             MR. JUENGER:    We do have the claims.

      20             THE COURT:     We have the summary of that, do we not?

      21             MR. JUENGER:    We have the claims and the summary.

      22             THE COURT:     Okay.    And the summary is based on the

      23   claims.

      24             MR. JUENGER:     It is.

      25             THE COURT:     And there's really no dispute as to that.
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       1            MR. JUENGER:    I believe there's no dispute as to that.

       2   I would also just analogize, Your Honor, in kind of the usual

       3   Miami health care fraud case, they outsource the billing anyway.

       4   The home health, the pharmacy, they don't do their own billing,

       5   and that's never an obstacle because the issue is where the

       6   money comes.   It comes from Medicare, or in this case Tricare,

       7   based on claims that are clearly corrupted.

       8            THE COURT:    And the actual fraud is what?

       9            MR. JUENGER:     The fraud is several fold.    One, that the

      10   patients didn't need it; two, that they were induced by

      11   kickbacks on top of it.

      12            THE COURT:     But let's put those aside because those are

      13   separate counts, aren't they?

      14            MR. JUENGER:     Third, the scripts were paid for, and

      15   despite what anyone says, they were paid for.       And you also saw

      16   evidence that -- and there are emails that we've introduced

      17   which haven't come in through witnesses because they just

      18   weren't for reasons, but those emails show that when the script

      19   comes back to Mr. Grow and he doesn't like what it's in it, he

      20   changes it to what he does like.       As Ms. Lay said, they changed

      21   the scripts to p-01 because it was most expensive, sc-01 because

      22   it was most expensive; and we know why they were most expensive

      23   because, as we heard from Mr. Lozada, the defendant sold

      24   ingredients that drive up the reimbursement for no other reason.

      25            THE COURT:     So the lead witness regarding the health
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       1   care fraud would be Ms. Lay, right?

       2              MR. JUENGER:    Yes.

       3              THE COURT:    And that's enough in your view.

       4              MR. JUENGER:    I think that in and of itself would be

       5   enough, but all the surrounding evidence behind that.

       6              THE COURT:     All right.   Anything else that the

       7   defendant wishes to say?      Ginger Lay talked about it.    In her

       8   soft voice, she said what happened.

       9              MR. MARCUS:    Ginger Lay did not submit any bills to

      10   Tricare.

      11              THE COURT:     No, but she said others did.   You have to

      12   have the person who submits it.        So if someone is in the back

      13   doing everything from the top, that's not enough when claims are

      14   submitted, claims are paid, there's no dispute that claims were

      15   submitted, claims are paid.       And whether you accept her

      16   testimony or not, Ms. Lay said this was a fraud, I made 6

      17   million bucks on this fraud and Mr. Grow was part of it.        I

      18   mean, she spoke for longer than that, but that's basically it.

      19              MR. MARCUS:    But the fraud is the payment of kickbacks,

      20   so this is the problem --

      21              THE COURT:    No, there are two frauds, right?   Not just

      22   the payment of kickbacks, but the fact that the medication was

      23   not called for for one reason or another.

      24              MR. MARCUS:    I thought when we started this trial, the

      25   Government stipulated that medical necessity was not contested
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       1   in this case.    They weren't contesting that medication was

       2   provided unnecessarily.     That's why we struck their experts and

       3   we had that whole discussion.

       4              So now they're trying to argue that there's somehow a

       5   lack of medical necessity on claims.          They haven't shown a

       6   single claim with any expert testimony or any physician to show

       7   that there's a single claim that was submitted to Tricare that

       8   was medically unnecessary.     Every claim that gets sent to

       9   Tricare gets screened by Tricare through Express Scripts for

      10   medical necessity.

      11              Ms. Lay did not specify any claims.        There was no

      12   testimony on that.      She does not have a provider number with

      13   Tricare.    She did not cause a single claim to be submitted in

      14   this case, nor Mr. Grow.      The claims were submitted voluntarily

      15   by PCA, and that's the problem.       They don't have anyone who can

      16   speak for the pharmacy, who came into court, or even through the

      17   documents submitted, Your Honor, that said we are submitting

      18   false, materially false claims to Tricare for reimbursement, and

      19   that's the problem with a billing fraud case.         They just haven't

      20   proven it.    They have a kickback case and that relates to the

      21   other charges.

      22              THE COURT:    Well, let's talk about a couple of things.

      23              When I excluded -- you were talking about when I

      24   excluded David Kazarian and Don Wenderling from the Government

      25   and I did that pursuant to your motion, but I probably would
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       1   have done it even without the motion because Kazarian said that

       2   he wanted to talk about the requirements under the law and

       3   Wenderling was going to talk about health care fraud specialists

       4   and the implementation about Tricare program and the rules.             I

       5   said the rules are the rules, they are what they are.             An expert

       6   would not assist the jury.      So I excluded those and I put aside

       7   Dr. Simone, with an E at the end.          So those two were excluded

       8   for that reason.     In fact, I said I would probably allow

       9   Dr. Simone to testify, but the stipulation that has been entered

      10   into probably takes care of that.

      11             So which witness were you talking about that now you're

      12   saying the Government has changed, has now changed what they

      13   have agreed to?     I'm not understanding.         Help me out.

      14             MR. MARCUS:     My point is they did not put on any

      15   physician.      There's no testimony --

      16             THE COURT:      But it has nothing to do with any witness I

      17   excluded.

      18               MR. MARCUS:    Well, no.    What I'm saying is, during that

      19   discussion and even in the opening and our discussions in the

      20   case, the Government has conceded that they are not contesting

      21   medical necessity for claims in this case.           They haven't put on

      22   any evidence, there's no physician, treating or otherwise, who

      23   has identified a single claim --

      24             THE COURT:      All right.   Let me ask the Government about

      25   that.   Okay?    Yield the microphone.         My courtroom has two
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       1   microphones so you all don't fight over that, but in Judge

       2   Graham's courtroom there's never any fighting.

       3              Now, what about that, is medical necessity an issue?

       4              MR. JUENGER:     Medical necessity is not an issue.

       5              THE COURT:     Then how do you win on these counts?

       6              MR. JUENGER:     Well, for example, witnesses testified

       7   that they never talked to a doctor, so how can a claim be

       8   legitimate when a doctor never talked to the patient, right?

       9              THE COURT:     I don't know.

      10              MR. JUENGER:     It's beyond medical necessity.

      11              THE COURT:     It may be a dumb thing to do and you can,

      12   of course, always argue that people do it maybe for greed

      13   because they thought they were getting something for nothing or

      14   they were getting some money, the kickback.       But those are

      15   different counts, right?

      16              MR. JUENGER:    Sure, but the kickbacks are incorporated

      17   into the health care fraud scheme as a way to induce the

      18   patient.    It explains why patients --

      19              THE COURT:   What is the difference between Count 1 and

      20   Count 9?    See, that's why I gave you the jury instructions

      21   before.    It kind of focuses me on what do we have here to help

      22   the jurors.    So now help me.     You can't just put both of them

      23   together.

      24              MR. JUENGER:     No, no, and I don't mean to suggest that.

      25   Count 9 and the substantive counts of the kickbacks, of course,
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       1   Your Honor knows this, it's illegal to pay money to induce the

       2   referral.

       3             THE COURT:     Pay and receive health care kickbacks.

       4             MR. JUENGER:     Right.

       5             THE COURT:     And what I'm going to do to help you out,

       6   is I'm going to deny the Rule 29 motion on Counts 9, 10, 14, 17,

       7   18, 20, 22 through 26, and 28 through 33, and 36 to 41, and 43

       8   and 44.   I'm denying it on that basis.

       9             The argument that your opponent is saying is in order

      10   to defraud on that count, on that conspiracy, it's separate.                It

      11   was charged, defraud the United States and pay and receive

      12   health care kickbacks.     That's how it was charged.

      13             The question is:     What's the difference between that

      14   payment and receipt of health care kickbacks under 371 and Count

      15   9 that also alleges the same conspiracy on the receiving health

      16   care kickbacks?

      17             It seems it's duplicative to me.             Doesn't it to you, on

      18   that part?

      19             MR. JUENGER:    You're asking for the difference between

      20   Counts 1 and 9?

      21             THE COURT:   Yeah.   Two conspiracies, same statute, pay

      22   and receive health care kickbacks.               Tell me the difference.

      23             MR. JUENGER:     Between Count 1, conspiracy to commit

      24   health care fraud --

      25             THE COURT:     And receive health care kickbacks.           You
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       1   told me that's included in Count 1, right?          Is it?

       2            MR. JUENGER:     The conduct --

       3            THE COURT:     Is it?

       4            MR. JUENGER:     It is.

       5            THE COURT:     Then what's the difference between that,

       6   pay and receive health care kickbacks in the defrauding Count 1

       7   conspiracy and the plain old conspiracy to pay and receive

       8   health care kickbacks?     Can you gets kickbacks without fraud?

       9            MR. JUENGER:     Yes.

      10            THE COURT:     You can.     That's what Count 9 is.

      11            MR. JUENGER:    Correct.

      12            THE COURT:     You get kickbacks, which are not right,

      13   it's illegal, but it's not fraudulent.

      14            MR. JUENGER:     Sure, because it applies even if the

      15   patient legitimately needs it, and we had patients say I only

      16   ordered it for the money.

      17            THE COURT:     But then, see, then we go back to the

      18   legitimate need and that's the issue.           The issue is:   Part of

      19   the fraud in Count 1 is medical necessity, but you say it's not

      20   medical necessity.

      21            MR. JUENGER:    Well, it depends on how you define

      22   medical necessity.

      23            THE COURT:     I know.    I know, but I don't want a Court

      24   of Appeals to send it back if you win.

      25            MR. JUENGER:     Let me see if I can explain the two as
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       1   you just articulated.

       2              THE COURT:     Did I do it wrong?

       3              MR. JUENGER:     No.   Count 9, I think we're all on the

       4   same page.

       5              THE COURT:   I got that.       I denied that one.   You've won

       6   so far.    You still have to convince the jury.

       7              MR. JUENGER:    So the difference of Count 1 is that it's

       8   not only that they were kickbacks, the kickbacks explain why

       9   people were induced to order things they didn't need.           When they

      10   order things they don't need and when they don't talk to a

      11   doctor or when the doctor is paid to write the script for a drug

      12   that the defendant himself, I say fraudulently inflates the

      13   price, because Tricare gets nothing from the use of Ethoxy Gold,

      14   nothing -- That was Armando's testimony, Armando Lozada's

      15   testimony, that it's exactly the same.

      16               So the only purpose is to increase the price and give

      17   nothing, and I think that combination of factors, perhaps any

      18   one of them even, could render those claims fraudulent.           Tricare

      19   should not pay those claims.       Tricare should not pay those

      20   claims.

      21              THE COURT:   Well, I think many people would agree with

      22   that, which is why you filed a Motion in Limine saying no

      23   argument about how negligent Tricare is.          Remember that motion

      24   that you all filed, okay, or someone filed for the Government.

      25   Okay.     So that means that you don't even want that considered,
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       1   but you've got to prove that there was fraud in the first place.

       2   And what your opponent is saying, the person submitting the

       3   claims -- which is what most health care fraud cases are, you

       4   know, they're outright fraudulent claims, people who don't

       5   exist, people who get picked up, people who don't need it.            This

       6   is a little different.       Would you concede that?

       7              MR. JUENGER:    I concede that, Your Honor.

       8              THE COURT:     It's harder for the Government to prove.

       9              MR. JUENGER:     It's harder for the Government.

      10              THE COURT:     Okay.   The question is:    Have you proven

      11   it?    What do you need?

      12              MR. JUENGER:     Well, I think I need to argue it to the

      13   jury, is what I need.

      14              THE COURT:     Well, you need the evidence.      See, that's

      15   what they're going to look at at the Eleventh Circuit, if you

      16   win.

      17              MR. JUENGER:     To make it easy, I think Ginger Lay's

      18   testimony, in and of itself, is sufficient.          Of course, we're

      19   not here to judge credibility in a Rule 29.

      20              THE COURT:     No, we're not.

      21              MR. JUENGER:     And I know your Honor knows that.

      22              THE COURT:     See, the issue to me is:     If it's just

      23   fraud, what is the fraud?         Put aside the kickbacks because the

      24   kickbacks are part of Count 9.          You've got that.   I've denied it

      25   on that.
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       1              MR. JUENGER:   Sure.

       2              THE COURT:   The health care fraud is, you're saying, a

       3   combination of the kickbacks that induced beneficiaries to

       4   commit fraud basically.     So you would have to prove that the

       5   beneficiaries have committed fraud and some have, some have not.

       6   We may have to go count by count, wouldn't we?          Some say, well,

       7   you know, I kind of needed it.        Others say, well, you know, it

       8   was all right, but didn't feel good.           I felt a little guilty,

       9   but it's all right.     I mean, everybody likes something for

      10   nothing.    That may not be enough to prove fraud.

      11              It certainly wasn't enough, in the exercise of the

      12   Government's discretion, I suspect, to seek an Indictment, which

      13   I am not criticizing it for a lot of reasons, but it may not be

      14   enough, right?

      15              If it's not enough for those individual beneficiaries

      16   to have committed fraud, can it be enough for the person you say

      17   is the lead defendant, if there are other defendants?

      18              MR. JUENGER:   What is in evidence and that's in

      19   addition to that, the beneficiaries didn't know that Mr. Grow

      20   was paying the doctors and having them alter the scripts, right?

      21   Why would he need to do that?       He needs to do that because he's

      22   just trying to get more money, which shows that the whole

      23   script, it has no -- it's untethered to what people really need

      24   and I guess we can call that medical necessity.

      25              THE COURT:   Who determines what people need?
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       1             MR. JUENGER:    Doctors.

       2             THE COURT:     All right.   So if a beneficiary, a

       3   prospective patient, wants something without seeing a doctor, is

       4   that fraudulent just by itself?       You don't check with your

       5   doctor.   You know what, there's no harm in this.      It's not

       6   really harmful, right?     You're not suggesting that these things

       7   are harmful.

       8             MR. JUENGER:     But you also --

       9             THE COURT:     Or you haven't proven that they're harmful.

      10   Maybe useless, I don't know.

      11             MR. JUENGER:     We are not suggesting that, but Tricare

      12   would not pay a claim without a valid doctor's prescription.

      13   That's a fundamental basis of the whole thing.

      14             THE COURT:     Were there doctors' prescriptions in the

      15   claims?

      16             MR. JUENGER:     Yeah, I mean, of course.

      17             THE COURT:     Were there fraudulent doctors'

      18   prescriptions, doctor who say, you know what, give me some

      19   money, let's put it in, I'm getting some money back.       Were there

      20   some like that?

      21             MR. JUENGER:     There would have to be.

      22             THE COURT:     Well, I don't know.   Which ones were they?

      23             MR. JUENGER:     There would have to be from the testimony

      24   of the patients.   They never spoke to a doctor.      How can a

      25   doctor write a script for someone they never spoke to?
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       1            THE COURT:     So they didn't write prescriptions.

       2            MR. JUENGER:     No, there are prescriptions for people

       3   who never spoke to a doctor.

       4            THE COURT:    Written by whom?

       5            MR. JUENGER:    The doctor, the applicable doctors.          You

       6   can look at the data and see who they are.

       7            THE COURT:     Okay.   So did they commit fraud?

       8            MR. JUENGER:     If they wrote a script, and I think the

       9   scripts say that it's going to be billed to Tricare, then I

      10   think they arguably are part of the fraud as well.

      11            THE COURT:     But then, doesn't that have to be proven?

      12   If you had rested against the doctors would that have been

      13   enough evidence in this trial to prosecute those doctors?            The

      14   answer is easy, right?     It's not enough.

      15            MR. JUENGER:     It would be a really tough argument on

      16   the facts in this case.

      17            THE COURT:     Don't I need that in order for this fraud

      18   to survive?

      19            MR. JUENGER:    No, Your Honor.

      20            THE COURT:    I don't know.          But what I'm going to do is

      21   tell you you've got -- there are some issues here.            I'm going to

      22   deny it because we are still around and we'll see what happens,

      23   but I'm going to deny it on Counts 1 through 8 more reluctantly.

      24   Okay.   So that means you're going to have to do a little

      25   research and find out what's going on.
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       1               MR. MARCUS:    I'm sorry, Your Honor, I forgot --

       2              THE COURT:     You don't want me to deny it reluctantly,

       3   you want me to deny it happily.

       4              MR. MARCUS:     No, no.     Ms. Coronado, she never

       5   testified.    There is a kickback count, it's Count 17, that

       6   relates to her.     She didn't testify.

       7              THE COURT:     What say the Government?

       8              MR. JUENGER:     Your Honor, I would say there is evidence

       9   in the bank records that she was paid.            She is a beneficiary who

      10   was paid.    Based on all the testimony that we've heard, a jury

      11   can reasonably infer that she's being paid as part of the

      12   kickbacks.

      13              THE COURT:     Is she the one who is flying in from

      14   Germany?

      15               MR. JUENGER:    Yeah.

      16              THE COURT:     Where is she?

      17              MR. JUENGER:     She is probably landing soon.

      18              THE COURT:     How much do you think it cost to fly her

      19   here?   What would you say?

      20              MR. JUENGER:     Probably $1800.

      21              THE COURT:     Okay.   And her role in the particular count

      22   was how much money?

      23               MR. JUENGER:    It's going to be ironic probably,

      24   ironically small how much the amount is.

      25              THE COURT:     I know.    If not, I wouldn't be asking the
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       1   question.    See?

       2            MR. JUENGER:       I know.

       3            THE COURT:      I usually know the answers to my questions

       4   when I ask them.    Okay.     Not all the time.

       5            I don't know.       So the evidence about her can be

       6   inferred from the documents that show her as a beneficiary.

       7   Anyone else in that same category?

       8            MR. JUENGER:       No, that's the only witness that did not

       9   testify as to their particular kickbacks.

      10            THE COURT:      All right.     Did anybody say anything about

      11   the money laundering, obviously, as related to either health

      12   care fraud, right, or the kickbacks, right?

      13            MR. JUENGER:       Correct, Your Honor.

      14            THE COURT:      So it doesn't matter which one, money

      15   laundering would still stand in your view.

      16            MR. JUENGER:       That's right, Your Honor.

      17            THE COURT:      If the offense is dirty and then money is

      18   used, it's laundered.

      19            MR. JUENGER:       Correct.

      20               THE COURT:     So that should be -- I'm going to deny the

      21   motion for judgment of acquittal on 45 through 49.

      22               On Count 50 and 51, how have you proved the causing the

      23   misbranding of drugs while held for sale?

      24               MR. JUENGER:    Well, misbranding, and we may we need --

      25   We talked about we may need an instruction on the law in
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       1   Florida.

       2              THE COURT:     But the evidence, the evident is what?

       3              MR. JUENGER:     Sure.   The theory is that those two

       4   prescriptions for those two drugs tied to Ms. Rambaran, I

       5   believe, the prescriptions are invalid because there was no

       6   valid doctor/patient relationship within the meaning of Florida

       7   law.

       8              Florida law requires there to be a valid

       9   physician/patient relationship.          We were going to call someone

      10   to explain what that meant.

      11              THE COURT:     So the testimony as from her, you combine

      12   that with the law, those two misdemeanors are proven.

      13              MR. JUENGER:    And we will argue that, yes.

      14              THE COURT:     Okay.   And the defense is that's not enough

      15   for those two misdemeanors, right?

      16              MR. MARCUS:     Correct, because they had no doctor --

      17   there's no testimony on the telemedicine.              In fact, the only

      18   testimony in the case from their own witness, Dr. Bansal, was

      19   that telemedicine is legal, he does it all the time.               And the

      20   only evidence was related to Ms. Martini and the prescription

      21   that he wrote where he said he never altered it.

      22              So that's the problem.        They don't have any physician

      23   who's coming in or even a witness who said this prescription

      24   written, whether it's for Ms. Rambaran or any other patient in

      25   this case, was altered, was false.               And telemedicine is legal
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       1   and therefore -- certainly, Mr. Grow had nothing to do with

       2   causing the drugs to be misbranded.

       3            THE COURT:     Because?

       4            MR. MARCUS:    He's a marketer.

       5            THE COURT:     Of what drug?

       6            MR. MARCUS:     So flurbiprofen, they picked out, is an

       7   ingredient that requires a prescription, but their whole theory

       8   of this count would, first of all, have to show that the

       9   prescription was invalid.

      10            They haven't proven that with --

      11            THE COURT:     He says the prescription is invalid if a

      12   doctor doesn't prescribe it.

      13             MR. MARCUS:    But there is no evidence that -- there is

      14   a prescription, so we know that for each of these cases -- every

      15   single claim in this case, Your Honor, there was a prescription,

      16   it was signed by a doctor.

      17            THE COURT:     The doctor was the good doctor.

      18            MR. MARCUS:    There were a lot of different doctors who

      19   were involved.   There are over 20 doctors in this case.

      20            THE COURT:     Okay.   But the telemedicine doctor, what

      21   did he have to do with that?

      22            MR. MARCUS:    In this case all of the prescriptions, or

      23   many of them, were written by doctors that consulted and worked

      24   for telemedicine companies, yes, that's true, but there's no

      25   evidence that any of those prescriptions are false.       There were
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       1   some -- you know, occasionally there was some confusion about

       2   who called them, did a nurse call them on a day or a doctor, but

       3   we have the actual documentation.

       4            When you look in the file of every claim submitted to

       5   Tricare, there's a prescription and they would have to actually

       6   have witnesses come in and say this prescription written, it was

       7   falsified, it was written by not that doctor, it was altered by

       8   the pharmacy, whoever, whatever their theory is.       But you can't

       9   just guess and come in and say, well, we don't think this is

      10   really a valid prescription.

      11            You have to prove it beyond a reasonable doubt.        They

      12   haven't done that.

      13            THE COURT:    Okay.   Government, on these counts, 50 and

      14   51, the reason it's misbranding of drugs is because there's no

      15   legitimate prescription.

      16            MR. LARSEN:    Yes, Your Honor, and the reason there's no

      17   legitimate prescription is that under Florida law, you need a

      18   valid practitioner/patient relationship.

      19            THE COURT:    Okay.   And who is the practitioner?

      20            MR. LARSEN:    The practitioner in this case would be the

      21   doctor that signed those two prescriptions.

      22            THE COURT:    And who is that doctor?

      23            MR. LARSEN:    I have to get the --

      24            THE COURT:    He didn't testify.

      25            MR. LARSEN:    No, no.
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       1              THE COURT:     That's what I meant.        So don't you need

       2   him?    So the beneficiary testified --

       3              MR. LARSEN:     Yes.

       4               THE COURT:    -- that he didn't have a doctor.

       5              MR. LARSEN:     The beneficiary testified she never got a

       6   physical examination by a doctor, never.

       7              In the Indictment, it says in paragraph 8, "a valid

       8          practitioner-patient relationship that included a documented

       9       patient evaluation, including history and physical

      10       examination adequate to establish a diagnosis for which the

      11          drug --"

      12              THE COURT:     So if a doctor doesn't conduct a physical

      13   examination, but he prescribes it.             Here comes a patient and he

      14   says, go ahead, I'm going to give you that because I think it

      15   will be good for you.       I mean, it may be malpractice, it may not

      16   be not ethical, but that's misbranding.

      17               MR. LARSEN:    Yes, under Florida law.

      18              THE COURT:     And you have a case on that.

      19              MR. MARCUS:    No.

      20              THE COURT:     I'm asking the Government.       Everybody gets

      21   a chance, you know.       Just like in the Senate, they don't

      22   interrupt each other, we shouldn't interrupt each other.             We

      23   don't have a case on that.

      24              See, I don't know.     I don't know.       It seems to me that

      25   you need more than that.
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       1             I mean, it may be a pyrrhic loss, like there's a

       2   pyrrhic victory.     I don't know if there's a pyrrhic loss because

       3   these are misdemeanors.

       4             MR. LARSEN:     Your Honor --

       5             THE COURT:     But I think you need more than that to

       6   prove -- it seems like you need to prove something close to

       7   fraud, someone who says, yeah, we give those prescriptions, you

       8   don't even need a doctor, on you go.            Here you have a doctor who

       9   didn't show up.

      10             MR. LARSEN:     Actually, these two counts are strict

      11   liability counts.      There's no fraud element.        There's not even a

      12   scienter requirement.      There's just that the prescription was

      13   misbranded per se.

      14             THE COURT:    But who misbranded the prescription?

      15             MR. LARSEN:     Well, the prescription became misbranded

      16   when --

      17             THE COURT:    By whom?     Someone has to be the bad actor.

      18             MR. LARSEN:     The prescription is invalid when there is,

      19   under Florida law, no valid doctor/patient relationship.            We

      20   would have --

      21             THE COURT:     That would be so wide open, see, I would be

      22   concerned with that, too.

      23             MR. LARSEN:     No physical exam and we did have the

      24   witness --

      25             THE COURT:    The law says doctors are required to
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       1   conduct a physical exam.

       2               MR. LARSEN:    Yes, under Florida statute --

       3              THE COURT:     It says that?        Read it to me where it says

       4   physical exam.

       5              MR. LARSEN:     It says, under Florida Statute Section

       6          465.023(1)(h), "Drugs may only be prescribed pursuant to a

       7          valid practitioner-patient relationship that included a

       8          documented patient evaluation, including history and

       9          physical examination adequate to establish a diagnosis for

      10          which the drug was prescribed."

      11              And Ms. Rambaran testified that she did not have a

      12   physical examination by a doctor, and therefore, per se, those

      13   counts -- and she talked about her husband's prescription as

      14   well, which is the other count out of the two, that neither of

      15   them saw a doctor.

      16              THE COURT:     The other count is what?

      17              MR. LARSEN:     51 and 50.

      18               THE COURT:    Which one is hers, which one is her

      19   husband's.    Hold on.

      20              50 is hers, 51 is her husband's?

      21              MR. MARCUS:     Judge, while we're waiting, can I just

      22   make --

      23              THE COURT:     No, no, because then he's not listening to

      24   you.    See, he's looking for that.        That's the reason.     I want to

      25   move fast, but we have to be fair.
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       1            I've got to get close to that mic or you don't hear me.

       2            Did they clean out my courtroom already?       It's okay.

       3   They're nice people.    I told them when I saw them -- they

       4   thanked me for my hospitality giving them my courtroom and I

       5   said as long as you don't send me another case, I'm fine.

       6            Okay.   Which is which?

       7            MR. LARSEN:    Your Honor, Ms. Rambaran is --

       8            THE COURT:    50?

       9            MR. LARSEN:    I'm looking for identifier.

      10            THE COURT:    Which count?

      11            MR. LARSEN:    It's the prescription number 107 --

      12            THE COURT:    No, no, Count 50 or 51?     Numbers.

      13            Remember I'm a numbers guy, even though I don't believe

      14   in gambling.

      15            MR. LARSEN:    She is Count 50.

      16            THE COURT:    50 is Rosalinda Rambaran.     And 51 is?

      17            MR. LARSEN:    Her husband, Rasheed Rambaran.

      18            THE COURT:    Who did not testify.

      19            MR. LARSEN:    No.     She --

      20            THE COURT:    Right?

      21            MR. LARSEN:    Correct.

      22            THE COURT:    It was the son who testified.

      23            MR. LARSEN:    Yes, Your Honor.

      24            THE COURT:    So she testified for her husband.

      25            MR. LARSEN:    She testified for herself and for her
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       1   husband as to the issue of whether a doctor saw --

       2              THE COURT:    Because the husband could never see a

       3   doctor without the wife knowing.

       4              MR. LARSEN:     Your Honor, I concede that the husband did

       5   not testify about that prescription.              She did testify about her

       6   own prescription, she did say that she never saw a doctor.                Her

       7   son also said he never saw a doctor and she did testify that her

       8   husband --

       9              THE COURT:    Well, her son has to do with which count?

      10              MR. LARSEN:     You're right, he does not have anything to

      11   do with --

      12              THE COURT:    It was kind of superfluous.

      13              MR. LARSEN:     Right.

      14              THE COURT:    All right.      All right.      I'm going to grant

      15   judgment of acquittal on Count 51.               I'm denying it, most

      16   reluctantly, on Count 50 because I'll get another chance later

      17   on.   Okay?

      18              The money laundering, 45 through 49, is denied.              Okay.

      19   So that's done.

      20              What say the defense regarding what you're going to do?

      21              MR. RASHBAUM:    Judge, look, I don't think anything has

      22   changed.

      23              THE COURT:    Then you are ready to call witnesses.

      24              MR. RASHBAUM:    We are.

      25              THE COURT:    Who is your first witness?
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       1              MR. RASHBAUM:   But, Judge, I would like to -- look, the

       2   trial just -- things happened today we didn't expect.             I would

       3   like to have an opportunity to briefly talk to Mr. Grow before

       4   doing that.

       5              THE COURT:   Is he your first witness?

       6              MR. RASHBAUM:   No, no, he's not, but I want to talk to

       7   him before we put on a case.

       8              THE COURT:   Oh, no.   It's 3:15.         Remember I told you it

       9   was going to happen around then.         You just never believe me, and

      10   that's starting late because I have to talk to these judges,

      11   taking a longer recess because of the Chief Judge, doing all

      12   that, which I apologize for.      If not, we would have even done it

      13   quicker.    But you told me the witnesses you are going to call.

      14   It's an important decision, but you've got to do it.

      15              MR. RASHBAUM:   Judge, I need five minutes with my

      16   client because the last witness just took the stand.

      17              THE COURT:   Denied.   It's 3:15.        Let's go.

      18              MR. RASHBAUM:   That's the record.         I need five minutes

      19   to discuss with him whether he wants to put on a defense in a

      20   criminal case that's going to put him in jail potentially for

      21   life.

      22              THE COURT:   First of all, if it was only for one day

      23   the constitutional issue would be the same.             The fact that he

      24   could be thrown in jail for life has nothing to do with the

      25   constitution regarding the amount.             He has been out on bond with
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       1   you.   We started at 9:30 today.      You've been in the case since

       2   what date?

       3            MR. RASHBAUM:    I don't remember.     Months.

       4             THE COURT:    And you even took the strategy, which I'm

       5   not saying is good or bad, but it's unusual, after consulting

       6   with your client, of even telling the jury that for sure he was

       7   going to testify.     He doesn't even have to follow that because

       8   what lawyers say is not evidence.        We've gone through defense

       9   witnesses.

      10            You've even listed not only the defense witnesses whom

      11   you want to call, but the exhibits that you want to introduce.

      12   So you are super-duper prepared.

      13            MR. RASHBAUM:    We are ready.

      14             THE COURT:    Then it's time to fish or cut bait.

      15             MR. RASHBAUM:    That's not the issue, Your Honor, with

      16   all due respect.    We are ready.     Our witnesses are out there.

      17             THE COURT:    Then call them.

      18            MR. RASHBAUM:     We want to have five minutes with our

      19   client to make sure that his strategy hasn't changed given the

      20   fact that the Government decided --

      21            THE COURT:     You got it.    Start talking to him.   I'm

      22   waiting right here.

      23            MR. RASHBAUM:     Thank you.

      24            THE COURT:     Look at the clock.

      25             MR. MARCUS:    Judge, while --
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       1              THE COURT:    No, you can't talk.      Your client is not

       2   hearing.    It's a critical stage in the proceedings.       He's

       3   talking to co-counsel about strategy.

       4      (There was a brief recess.)

       5              THE COURT:    All right.      The court reporter is back,

       6   defendant is back, defense counsel is back, Government counsel.

       7              What say you?

       8              MR. RASHBAUM:    We are ready to proceed, Your Honor.

       9              THE COURT:    Okay.   Who is your first witness?

      10              MR. MARCUS:     Your Honor, it's going to be David

      11   Corcoran, and I just want to raise one issue with you.

      12              THE COURT:    What exhibits do you wish to introduce

      13   through him?

      14              MR. MARCUS:    We will introduce Defense Exhibits 47,

      15   18 --

      16              THE COURT:    Hold on.     Hold on.   47.

      17              MR. MARCUS:     18, 105, 164, 168, 36, 19, 171 and --

      18   yeah.

      19              THE COURT:    Those are most of the ones you mentioned

      20   before.

      21              Any objections from the Government?

      22              MR. JUENGER:    47 appears to be admitted already.      Is

      23   that correct?

      24              THE COURT:    Well, if it is, then you wouldn't have any

      25   objection to it anyway, so it's kind of unnecessary.         So I just
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       1   want to know what you don't like either for evidentiary purposes

       2   or for any other purpose, and you tell me which ones, like I

       3   said, I think around 12:30.          It's almost 3:30.       Look at them,

       4   see if there's anything wrong with them, and if I don't hear

       5   objection, they come in.

       6              MR. JUENGER:     Your Honor, 18 appears to be hearsay to

       7   me.

       8              THE COURT:     Okay.   Just tell me objection to 18,

       9   hearsay.

      10              Other than 18, any other objection to any other one?

      11               MR. JUENGER:    105 --

      12              THE COURT:     No, no, whatever you say is on the record.

      13   So think to yourself.       Mumble very softly to yourself.

      14              MR. JUENGER:     No objection to 105.

      15              THE COURT:     No, no, just tell me what you object to.

      16   Make it easy for me, just tell me.                Anything you do not object

      17   to that was announced three hours ago will come in unless you

      18   tell me otherwise.      If you tell me otherwise, I'll entertain

      19   argument.

      20              MR. JUENGER:     Objection to 164.

      21              THE COURT:     164.    Grounds.

      22              MR. JUENGER:    Hearsay.

      23              THE COURT:     All right.      What else?

      24              MR. JUENGER:    168.    Hearsay.

      25              THE COURT:     Grounds.     Hearsay.
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       1              MR. JUENGER:    Those are the only objections, Your

       2   Honor.

       3              THE COURT:     All right.   What is the defendant's

       4   response to 18, the email between Phil Lockwood and Matthew

       5   Smith?

       6              MR. MARCUS:     It's a business record, Your Honor, of

       7   PCA.     They submitted --

       8               THE COURT:    Who is the records custodian?

       9              MR. JUENGER:     They did a 902.11 certificate that the

      10   Government provided to us for their emails.

      11              THE COURT:     So if there is any email in any business

      12   record, that would come in.       So if there was an email saying

      13   Mr. Grow is a fraudulent individual and the Government wanted to

      14   introduce that, that would come in in your view.          Would it come

      15   in?

      16              MR. MARCUS:    Emails can be business records, yes, Your

      17   Honor.

      18              THE COURT:    If an email in a business record said

      19   Mr. Grow is a criminal, fraudulent individual.

      20              MR. MARCUS:     We might have other reasons to object to

      21   that, Your Honor.

      22              THE COURT:     But it would be just that the probative

      23   value is outweighed by the prejudicial impact, but it would be

      24   admissible simply because it's within a business record, even if

      25   it included hearsay, someone's opinion that he was a criminal.
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       1            MR. MARCUS:    No, there could be double or triple

       2   hearsay in a document.

       3            THE COURT:    And why isn't this hearsay?     Is Phil

       4   Lockwood a witness?

       5            MR. MARCUS:     Well --

       6            THE COURT:    Is Matthew Smith a witness?

       7            MR. MARCUS:    David Corcoran is on the email, he sent

       8   it, he is testifying.

       9            THE COURT:    So he is a recipient of a conversation

      10   between Lockwood and Smith, right?

      11            MR. MARCUS:    Well, yeah, he's one of the people listed,

      12   yes.

      13            THE COURT:    Okay.   So anytime someone gets an email

      14   between those two individuals without the individuals

      15   testifying, it comes in.    Under what rule?    The business records

      16   exception is not enough.    You don't need the records custodian.

      17   I told you at the beginning, we don't deal with that.        But the

      18   problem is Matthew Smith, you've all told me -- well, the

      19   Government thinks he's a co-conspirator, right?       Am I right,

      20   that's what the Government says?

      21            MR. LARSEN:    That's correct, Your Honor.

      22            THE COURT:    But he hasn't been indicted yet, he has

      23   counsel, et cetera.    And Phil Lockwood is?    I mean, I'm not

      24   suggesting someone is or not, I just want to understand.         Is he

      25   a co-conspirator?
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       1            MR. JUENGER:     He's not a co-conspirator, Your Honor.

       2            THE COURT:    Okay.    So under what theory would this come

       3   in?

       4            MR. MARCUS:    That David Corcoran is the recipient of

       5   the email.

       6            THE COURT:    So anytime someone hears someone, a

       7   conversation between two individuals who are not a party to this

       8   case, it could come in.       I don't think so.      So I'm going to

       9   sustain that objection.       So 18, the objection is sustained.

      10            164 was the next one.        Defense 164.

      11            MR. MARCUS:    So, Your Honor, this will come in when --

      12            THE COURT:    Hold on.     164, an email between Matthew

      13   Smith and David Corcoran and Monty Grow.

      14            MR. MARCUS:    Yes.

      15            THE COURT:    I'm going to sustain the objection for the

      16   time being.   Obviously, his state of mind, Mr. Grow's state of

      17   mind is at issue, but I don't know about Mr. Corcoran.          Is he a

      18   defendant?

      19            MR. MARCUS:    Is he a witness?       No.

      20            THE COURT:     Is he a co-conspirator?

      21            MR. MARCUS:    No.

      22            THE COURT:    So his state of mind is not at issue, it

      23   just isn't.

      24            MR. MARCUS:    Okay.     But he works in Boston, so he has

      25   flown down to testify, and if there becomes an issue through
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       1   cross-examination, I don't want to have to fly him back.

       2            THE COURT:     I feel bad that people get flown in from

       3   Boston and Germany.     I don't get involved in that.    I don't even

       4   think some people should have been flown in from Jacksonville,

       5   but I just get the case.      You all call whoever you want.    But

       6   the exhibit doesn't come in, at least at this time just because

       7   he got an email from Matthew Smith, the alleged co-conspirator.

       8            168 is an email between Phil Lockwood and Ross

       9   Christianson and RLH.     RLH is?    I bet you it's -- is it

      10   Halliburton?

      11            MR. MARCUS:     It's an equity company.

      12            THE COURT:     Oh, it's a company.

      13             MR. MARCUS:    It's a hedge fund, private equity company,

      14   and Mr. Corcoran --

      15             THE COURT:    Is the hedge company a co-conspirator?

      16            MR. MARCUS:    No.

      17            THE COURT:     Okay.   So then I'm going to sustain that

      18   too, okay, with witness Corcoran.

      19            So Exhibits 36, 19, 47, 105 and 171 will be admitted

      20   without objection.

      21       (Defendant's Exhibit Numbers 19, 36, 47, 105, 171 were

      22   received in evidence.)

      23             THE COURT:    How long do you -- I'm not limiting you;

      24   I'm merely inquiring.     How long is Corcoran going to testify

      25   for?   You have to look at the clock to see how long he's going
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       1   to testify?

       2             MR. MARCUS:    No.    I would say I think his direct will

       3   be less than an hour, Your Honor.

       4             THE COURT:    Wow.    Bring him in.       Let's go.   Bring him

       5   in.

       6             MR. MARCUS:    There is one issue I just wanted you to be

       7   advised of.

       8             THE COURT:    Okay.

       9             MR. MARCUS:    Mr. Corcoran is general counsel for PCA.

      10   PCA has a limited waiver agreement with the Government.              He's

      11   been interviewed by them on subjects.            They have a board

      12   resolution, I can hand this to you.            I am just going to be

      13   asking questions, Your Honor, within --

      14             THE COURT:    Is he going to take any privilege?

      15             MR. MARCUS:    If it comes up --

      16             THE COURT:    I'm sorry, is the mic -- I'm getting as

      17   close as I can to the mic.      Is he going to claim any privilege?

      18   You don't know?    You're going to call a witness, and you don't

      19   know what he's going to say?      Oh, my goodness.

      20             MR. MARCUS:    Not as to the areas we're covering on

      21   direct.   I can't speak for what they'll try to do on cross.

      22             THE COURT:    Well, then they're going to move to strike

      23   his testimony.    And you want me to strike his testimony in front

      24   of the jury?   That would probably be a terrible strategy, but I

      25   don't know, may be a good strategy, but it's your strategy after
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       1   consulting with your client, with your experience, I would

       2   accept it.

       3             MR. MARCUS:     That won't be an issue, the scope of the

       4   direct.

       5             THE COURT:     Well, what is the cross about?     You don't

       6   know this fellow, right?

       7             MR. JUENGER:    No, I do, Your Honor.

       8             THE COURT:     The only person who doesn't know anybody is

       9   me and the jurors, the ones who make decisions, but that's fine,

      10   that's our system.

      11             What is he going to say?

      12             Bring him in.    Bring him in.      Let's find out outside of

      13   the presence of the jury.      I mean, I hate to have a mess in

      14   front of the jury.     We don't want to do that.

      15             MR. JUENGER:     Your Honor --

      16             THE COURT:     You want a mess in front of the jury.

      17             MR. JUENGER:     No, I don't want a mess.     Your Honor, I

      18   was just going to point out that counsel for PCA is here, if he

      19   should be necessary, Mr. Greenberg, so --

      20             THE COURT:     Mr. Gerry Greenberg.

      21             MR. JUENGER:     Gerry Greenberg.

      22             THE COURT:     So there's no confusion.

      23             MR. JUENGER:     So there's no confusion.

      24             THE COURT:     There he is.     I thought he was sitting

      25   behind you, but look at that, he just moved strategically to the
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       1   other side.    I don't know what that means.            I don't know what

       2   that means.

       3              So PCA's lawyer is present, right?            Do you want to

       4   announce your appearance for any reason or not?

       5              MR. GREENBERG:    If you want me to, I'm more than happy

       6   to, Your Honor.    Gerald Greenberg.

       7              THE COURT:     Okay.   You're the lawyer for whom?

       8              MR. GREENBERG:    For Patient Care America.

       9              THE COURT:     Okay.   Mr. Corcoran, please come forward,

      10   if you don't mind, sir.       Let's find out what you're going to say

      11   before we bring in the jury, if you don't mind.

      12              Raise your right hand, please, sir.

      13               DAVID CORCORAN, DEFENDANT'S WITNESS, SWORN.

      14              THE COURT:     Okay.   Have a seat and tell us your name

      15   and occupation.

      16              THE WITNESS:     My name is David Corcoran.         I'm an

      17   attorney.

      18              THE COURT:    For whom regarding this case?

      19              THE WITNESS:     I'm sorry.      For Patient Care America.

      20              THE COURT:     Okay.   You can ask him the three most

      21   important questions you're going to ask him in front of the

      22   jury, and I give you permission to ask them in a leading

      23   fashion.    Who's going to do it?

      24              MR. MARCUS:     I'm going to do his direct.

      25              THE COURT:    Then do that.          No, but I don't want you to
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       1   do the whole direct.        Tell me where you went to school, who you

       2   are, what you did, let's skip all of that.               The last three

       3   questions, and I'll let you lead him, if you want, so I know the

       4   subject matter.

       5                 MR. MARCUS:    I'll give you the subject matter.

       6                 THE COURT:    No, but I want to hear it from him, so you

       7   can ask him leading questions and he can say yes, and then we'll

       8   do a mini-cross and find out if there are any issues.

       9                 MR. MARCUS:    Okay.

      10                 THE COURT:    Doesn't that seem fair?        It's certainly

      11   efficient.       I think it's fair, but we could disagree.

      12                                DIRECT EXAMINATION

      13                         (Outside the Jury's Presence)

      14   BY MR. MARCUS:

      15   Q.     Mr. Corcoran, did you have conversations with Mr. Grow about

      16   his Employment Agreements with PCA?

      17   A.     Yes.

      18   Q.     And did you discuss with him his status as a 1099 employee

      19   and the need to transition to being a W-2 employee?

      20   A.     Not necessarily that subject as opposed to the -- he had

      21   already accepted the idea that he was going to transition to

      22   W-2.

      23                 THE COURT:    Okay.     Let me interrupt you for a second.

      24   So you want him to testify about your client's exculpatory

      25   statements.
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       1            MR. MARCUS:      No.

       2            THE COURT:       What he just said, something about what he

       3   told him.     You don't want to inculpate him obviously because

       4   that may be admissible as an admission against party interests,

       5   but he's testifying about what Grow told him.

       6               MR. MARCUS:    He is going --

       7            THE COURT:       How is that admissible?

       8            MR. MARCUS:       No, he's going to testify about the

       9   process that PCA went through when they moved Mr. Grow and the

      10   other marketers from 1099 to W-2, and the steps he took, the

      11   steps the company took.         The Government has made this an

      12   allegation --

      13               THE COURT:    Because PCA is a defendant in this case.

      14            MR. MARCUS:       They were business partners with Mr. Grow.

      15   They had Employee Agreements with him and the Employment

      16   Agreement and his compensation is a direct issue in the case.

      17               THE COURT:    But PCA is not a defendant.

      18               MR. MARCUS:    We are the only defendant.

      19            THE COURT:       So how is that admissible, what PCA did or

      20   did not do?

      21               The only way it could be admissible is if the

      22   defendant's state of mind was at issue; and he could say this is

      23   what they told me to do, I didn't do this, I did that.        I'm not

      24   guilty, I don't have the intent, like co-counsel said in opening

      25   statement.     That's really what the case is about.
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       1               The jury is not going to decide -- and I hate to use

       2   acronyms, but you guys are forcing me to so it could be

       3   consistent, but PCA is not on trial.               So what is he going to say

       4   about it?

       5            MR. MARCUS:    He is a fact witness who's going to

       6   discuss the agreements that PCA drafted, that Mr. Grow signed,

       7   the way that Mr. Grow was compensated, and the steps, how it

       8   worked and their process where they consulted with counsel

       9   and --

      10            THE COURT:    Who consulted with counsel?

      11            MR. MARCUS:    The company did.

      12            THE COURT:    Why is that relevant here?             Because the

      13   company has an advice of counsel defense.               Remember when we

      14   talked about jury instructions?

      15            MR. MARCUS:    Yes.

      16            THE COURT:    The Government submitted two good faith

      17   instructions and I was going to include them both and then I

      18   asked you all, are you going to go on advice of counsel, and I

      19   think it was your colleague, Mr. Rashbaum, said not advice of

      20   counsel, just plain old good faith, and I accepted that.               It

      21   makes sense.    It's the good faith of Mr. Grow, not the good

      22   faith of PCA, as you describe them, so it doesn't really matter.

      23            MR. MARCUS:    No, because Mr. Grow is relying on PCA as

      24   an employee in terms of what they tell him.

      25            THE COURT:    He can say that.             I would never prohibit
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       1   him from saying that because his state of mind is at issue.

       2   PCA's state of mind is not at issue.

       3              MR. MARCUS:     The Government has made it -- the

       4   Government has put on witnesses in this case and argued to this

       5   jury that the conversion of employees like Mr. Grow from 1099 to

       6   W-2 was a sham.

       7              THE COURT:     Okay.     Let me interrupt you.   Is the

       8   Government going to say that's part of the fraud in this case

       9   and that's how you prove your fraudulent claim against Mr. Grow;

      10   yes or no?

      11              MR. JUENGER:    Sort of.

      12              THE COURT:     Okay.

      13              MR. JUENGER:     Sorry, Your Honor.

      14              THE COURT:    Yes or no?

      15              MR. JUENGER:     It's not the fraud.

      16              THE COURT:     No, no.     Yes or no, and then you can

      17   explain.    You know, that's what lawyers always say.        I'm

      18   annoying, isn't it?

      19              MR. JUENGER:     I will say yes in the sense --

      20              THE COURT:     So that's the fraud in this case.

      21              MR. JUENGER:     No.

      22              THE COURT:     If you had five potential frauds, we know

      23   the fifth one would be some misbranding prescription one, and

      24   the first one would be the kickbacks, right?          Where is this one?

      25   It's not even in the top five.
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       1              MR. JUENGER:   It is and I wasn't arguing, but when I

       2   opened I said the jury will hear evidence of efforts to coverup

       3   and conceal the kickback scheme and the fraud scheme.           So to

       4   that extent, I do believe that the effort to -- and you heard

       5   many witnesses testify about how they never really became an

       6   employee.

       7              THE COURT:   So you have no objection to this testimony

       8   I take it.    I'm the only one who's concerned.

       9              MR. JUENGER:   No, I have plenty of objection to

      10   hearsay.    I won't agree to that.

      11              THE COURT:   But if it's an issue and you're going to

      12   claim that, he has a right to defend himself with more than his

      13   own testimony because, see, some jurors might believe, and you

      14   would probably argue I suspect, that he's not entirely truthful

      15   and he has an interest in the case.           Perhaps this witness

      16   wouldn't and that's why they're calling him, so that's the

      17   reason.

      18              So if I preclude him and I'm making a mistake and you

      19   argue that, then it's going to be one of those issues that are

      20   going to be asked for by some smart appellate judge in Atlanta

      21   and you are going to have to be there and you are going to have

      22   to tell Judge Tjoflat why you insisted on this 1099 argument,

      23   among others, and it's going to be sent bank.           And then we'll do

      24   our two-and-a-half week case in one day because by then I'll

      25   know everything about the case.        So you want to argue that
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       1   still.

       2              MR. JUENGER:     I simply want to argue -- I don't want to

       3   preclude them from calling the witness but --

       4              THE COURT:     Then I will let them.

       5              MR. JUENGER:     -- if there's hearsay, I'll object to it.

       6              THE COURT:    All right.       I'm going to overrule the

       7   objection in view of that.        And then what else are you going to

       8   ask him?

       9              MR. MARCUS:    I'm just going to go through that and then

      10   I'm going to ask him if he ever received a survey program from

      11   Ginger Lay because there was testimony about how she sent in a

      12   program --

      13              THE COURT:     Go ahead.     Ask him that.    Go ahead.

      14   BY MR. MARCUS:

      15   Q.   Mr. Corcoran, did you ever receive a survey program sent to

      16   you by a woman named Ginger Lay?

      17   A.   No.

      18              THE COURT:    Okay.

      19              MR. MARCUS:     And then I am going to show him --

      20              THE COURT:    What do you want to say about the 1099

      21   conversion, anything about that?            Can you tell me why that was

      22   done?

      23              THE WITNESS:    I'm sorry, Judge?

      24              THE COURT:     The 1099, what are you going to say about

      25   that?
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       1            THE WITNESS:       When I spoke with the defendant he had

       2   already agreed that it was, you know, appropriate to convert to

       3   W-2, and so my conversation with him related to outlining an

       4   employment contract, what he was looking for, et cetera.

       5            THE COURT:       Did he tell you why he had agreed to that?

       6            THE WITNESS:       No.

       7            THE COURT:       All right.

       8               MR. MARCUS:    Well, and just for --

       9            THE COURT:       No, that's fine.            All right.   You're going

      10   to hear the cross now and see whether there's any objection to

      11   it.   All right?

      12            Is there anything else you're going to ask this

      13   attorney?

      14            MR. MARCUS:       Well, I am going to talk about the safe

      15   harbor for employee agreements, which is the reason they

      16   transitioned from 1099 to W-2, and how that process unfolded.

      17            THE COURT:       Because that's the defense in this case.

      18            MR. MARCUS:       Yes, because they're charging that the

      19   payments to Mr. Grow are illegal kickbacks.

      20            MR. RASHBAUM:       I opened on it.

      21            MR. MARCUS:       Right.     Our argument is that he was paid

      22   lawful compensation for commissions as a marketer for PCA.                  He

      23   did it first under a 1099.          The company transitioned to W-2

      24   based on advice they received.

      25            THE COURT:       Advice from?
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       1             MR. MARCUS:    They got advice from -- so Mr. Corcoran --

       2             THE COURT:    Advice from?

       3             MR. MARCUS:    An outside law firm, Frier Levitt.

       4             THE COURT:    So they're going to be coming in to

       5   testify, too.

       6             MR. MARCUS:    I'm going to ask Mr. Corcoran about what

       7   he did.

       8             THE COURT:    What he did based on the advice of some

       9   other lawyers who gave it to his client, the company, right?           Do

      10   I have that right?     I simplify things, but do I have that right?

      11             MR. MARCUS:    Yes.    When he learned --

      12             THE COURT:    I don't know if you can do that.      Now, what

      13   about the safe harbor, what are you going to tell the jurors?

      14   You notice -- I don't think I included that in the jury

      15   instructions, but if you want it, you do it.          If I give that

      16   instruction, I want you to pay close attention to the jurors as

      17   I give that instruction.     That's what I want you to do.

      18             So you are going to say that the safe harbor means

      19   what?

      20             MR. MARCUS:    It's a complete -- it's an absolute

      21   defense to liability on the compensation charges.

      22             THE COURT:    Okay.    And the compensation --

      23             MR. MARCUS:    Even if you don't -- if you comply

      24   technically with the safe harbor, you have no liability, even

      25   civil liability, under the anti-kickback.
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       1              THE COURT:    We are not doing the civil case.        If that

       2   comes --

       3              MR. MARCUS:    I understand.

       4              THE COURT:    -- we'll see what happens.        But the

       5   criminal case is fraud, right?

       6              MR. MARCUS:    They have to prove willfulness and our

       7   point is, they were trying to comply with the safe harbor.

       8              THE COURT:    Who is "they"?

       9              MR. MARCUS:    The company --

      10              THE COURT:    But he's the defendant.

      11              MR. MARCUS:    -- along with Mr. Grow.

      12              THE COURT:    Okay.

      13              MR. MARCUS:    They were joint partners, Your Honor.

      14   They have an Employment Agreement.

      15              THE COURT:    All right.       Now, do you want to say what he

      16   said?   I heard some of it, but I don't know if you want to say

      17   it on the record.

      18              MR. MARCUS:    Certainly, the Government's theory is that

      19   the company is an unindicted co-conspirator of sorts.            They

      20   haven't proven that.

      21              THE COURT:    Is that your theory?        It gets tough coming

      22   in here, right?     You have to figure out -- because now, if it

      23   is, it's the defendant who wants to bring in a statement under

      24   801(d)(2)(E) in furtherance of the conspiracy that he's charged

      25   with, and I guess I'm the only one who gets cases like that.
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       1   I'm not sure it's the ideal thing for a judge.             I don't know.

       2              But that's what you want to do?           That's how the

       3   company's statements come in through his lawyer, because it's a

       4   statement in furtherance -- I thought it was to show good faith.

       5              MR. MARCUS:    It does.

       6              THE COURT:    By the company.

       7              MR. MARCUS:    And Mr. Grow.         They're acting

       8   collectively.

       9              THE COURT:    All right.      All right.     What else are you

      10   going to ask him?

      11              MR. MARCUS:    That's really the scope of it, Your Honor.

      12              THE COURT:    All right.

      13              MR. MARCUS:    He'll also testify that the 1099 agreement

      14   with Mr. Grow he drafts in September of 2014.             At the time he

      15   does not know, nor the company, that Tricare is a Federal

      16   program.   He learns that in December.

      17              THE COURT:    Who?   Who is "he"?

      18              MR. MARCUS:    Mr. Corcoran.

      19              THE COURT:    What difference does that make what he

      20   knows about Tricare?      He is not a co-conspirator.

      21              MR. MARCUS:    It explains their actions.

      22              THE COURT:    It explains whose actions?

      23              MR. MARCUS:    The company and Mr. Grow's, because then

      24   what happens is the company gets advice, they realize they

      25   should move to the safe harbor of a W-2 agreement.               They put
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       1   into process a transition.        He can talk about the steps they

       2   took.    I'm not going to elicit conversations.            And in March they

       3   come to Mr. Grow --

       4              THE COURT:    In March of?

       5              MR. MARCUS:    2015, right in the heart of this, Your

       6   Honor.   He learns this in December.             It takes them a few months

       7   to figure out what they're doing and there are a variety of

       8   steps they take and then they come forward and say we need to

       9   transition you and the other marketers to W-2 and here's how we

      10   do it.    And Mr. Grow goes along with it, relies on them, is

      11   completely cooperative.

      12              THE COURT:     I thought he said -- the attorney,

      13   Mr. Corcoran, said he had decided to do that before.              That's not

      14   true?

      15              THE WITNESS:    I'm sorry?

      16              THE COURT:     Did Mr. Grow decide to do that before or

      17   you brought up the conversion?

      18              THE WITNESS:     When I spoke to Mr. Grow in early March

      19   of 2015, he had already, through conversations I think with one

      20   of the executives of the company, agreed that it was a good idea

      21   to transition to W-2.

      22              THE COURT:     But he didn't tell you why?

      23             THE WITNESS:     He did not say why because at that point

      24   it was sort of a fait accompli.

      25              THE COURT:    Okay.
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       1               MR. MARCUS:    I'm going to keep it to the facts, Your

       2   Honor.

       3               THE COURT:    All right.     Anything else?

       4               MR. MARCUS:    That's it.

       5               THE COURT:     All right.     Cross-examination.   See what

       6   it's going to be, see what the issue is.

       7               MR. JUENGER:    Mr. Corcoran --

       8               THE COURT:    Well, you know, you've got to yield the

       9   mic.     I wish I had two lecterns, but I don't want to mess Judge

      10   Graham's courtroom.

      11                               CROSS-EXAMINATION

      12                       (Outside the Jury's Presence)

      13   BY MR. JUENGER:

      14   Q.     Mr. Corcoran, when you began advising PCA in the fall of

      15   2014 about the hiring of third-party marketers, you gave three

      16   pieces of advice, correct?

      17   A.     Right.

      18   Q.     One was that they were not to be paying doctors or doctor

      19   groups; two, that there were to be no payments by the

      20   third-party marketers like Mr. Grow, they should not be paying

      21   others to refer patients, correct?

      22   A.   Correct.

      23   Q.     And also that PCA should not be billing a Federal health

      24   care program, correct?

      25   A.   Correct.
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       1   Q.   That's the advice that you gave?

       2   A.   Stay away from Federal health care programs.

       3   Q.   And don't pay doctors, correct?

       4   A.   Yeah, oh, yeah, right.

       5   Q.   And that the independent marketers like Mr. Grow should not

       6   be paying referral sources?

       7   A.   Yeah, although I didn't know about his arrangements.       When

       8   I'm talking about referral services, I'm talking about don't pay

       9   doctors, don't pay their staff, you know, the people in the

      10   medical profession.

      11   Q.   Well, did you advise whether or not third-party marketers

      12   like Mr. Grow should pay patients at all under any

      13   circumstances?

      14   A.   No.   That question never came up obviously.

      15   Q.   And throughout your time, you never knew that he engaged in

      16   those types of conduct, did you?

      17   A.   I wouldn't have known of those kinds of things because those

      18   were operational and had nothing really to do with legal

      19   questions that got asked of me.

      20   Q.   So you didn't know?

      21   A.   Didn't know.

      22   Q.   You didn't know.   Did others at PCA know that that's what he

      23   was doing?

      24   A.   I don't know.

      25   Q.   And you said that it was in December of 2014 that you
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       1   realized that Tricare was a Federal health care program, right?

       2   A.     It was in December of '14 that I first heard that they were

       3   getting referrals from an entity called Tricare.          I wasn't

       4   familiar with it.         So I looked them up and found that they were

       5   potentially subject to the same kind of rules as Medicaid and

       6   Medicare.

       7   Q.     Which means that, under the Anti-Kickback Statute, the

       8   payments PCA was making to Mr. Grow were illegal, correct?             You

       9   know what the anti --

      10                THE COURT:     Hold on, hold on, hold on.    How do you

      11   answer?

      12                THE WITNESS:     I didn't come to that conclusion.   What I

      13   concluded was the company needed to -- this was obviously --

      14                THE COURT:     The company needed to what?

      15                THE WITNESS:     The company needed to retain specialized

      16   health care counsel, which is when we retained Frier Levitt.

      17                THE COURT:    All right.

      18   BY MR. JUENGER:

      19   Q.     And certainly by the time you retained Frier Levitt, you

      20   knew that you could not pay Mr. Grow for referring Tricare

      21   scripts because that violated the Anti-Kickback Statute.

      22   A.     No.   The advice we got from Frier Levitt was you needed to

      23   convert to W-2 because that's the only legitimate way to do

      24   this.     You needed to get away from the 1099 format and switch to

      25   W-2.
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       1   Q.   Which is another way of saying the way you were doing it was

       2   illegal?

       3   A.   I guess I didn't take it that way.          I just thought, you

       4   know, tell us what we need to do to comply with the statute,

       5   it's very complex, and he did and the company went on to do it.

       6   Q.   It's very complex?    Don't pay people for Tricare scripts,

       7   that's complex?

       8   A.   I think the complexity is if you're not in it every day as,

       9   you know, I guess you are, but I wasn't, so that's why we

      10   brought in Frier Levitt.

      11   Q.   People who spent ten years in the pharmacy business don't

      12   know that?

      13   A.   I'm not sure who you're referring to in terms of the ten

      14   years.   I don't know who was in the business for ten years.

      15   Q.   So you knew that in January of 2015 PCA had to convert

      16   Mr. Grow to a W-2 employee to comply with the bona fide employee

      17   safe harbor, correct?     That was the advice from your outside

      18   counsel?

      19   A.   That was the recommendation, convert to W-2.

      20   Q.   And it wasn't until May of 2015 that you actually converted

      21   Mr. Grow to a W-2 employee, bona fide or otherwise?

      22   A.   I think it was April.

      23   Q.   You don't know that the agreement says May?

      24   A.   The agreement I drafted had an effective date of April 1st.

      25   Q.   And so you spent four or five months telling Mr. Grow
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       1   to become an employee and then you fired him two months --

       2                  THE COURT:   Hold on.    Start again with the question.

       3   BY MR. JUENGER:

       4   Q.     And so it took five months, four to five months to bring

       5   Mr. Grow onboard as a W-2 employee, correct?

       6   A.     No, it took about three months.

       7   Q.     Three months.

       8   A.     Yeah.

       9   Q.     And then within two months of bringing him on, you

      10   terminated him, correct?

      11   A.     I don't think we terminated him.              I think he decided to move

      12   on because Tricare had simply stopped paying for the products.

      13   Q.     So you didn't need him anymore, did you?

      14   A.     I think it wasn't a question of whether we needed him.              We

      15   probably -- I think the company would have liked to have kept

      16   him.

      17   Q.     Sure.    He brought in $40 million of business in eight

      18   months, didn't he?

      19   A.     It wasn't that so much, he just seemed like a capable guy.

      20   Q.     And I think that you said earlier that PCA had other

      21   marketers and you tried to come up with other ways to bring them

      22   into compliance, correct?

      23   A.     Yeah, the company tried to get everybody to convert I think.

      24   Q.     And you were involved in that process, were you not?

      25   A.     Only in the drafting phase, not in the talking to them
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       1   phase.

       2   Q.   Well, how about the negotiating phase?

       3   A.   Not in general, no.

       4   Q.   Do you recall on May 1st negotiating with an individual

       5   named Neil Caesar who was representing one of the marketers?

       6   A.   Not negotiating so much.        I remember him.        He had a concept

       7   that was different from the W-2 which he was trying to describe.

       8               MR. JUENGER:     Should I continue, Your Honor?

       9               THE COURT:     Well, how much longer do you think you

      10   would have in front of the jury?

      11               MR. JUENGER:    15 more minutes.

      12             THE COURT:      All right.     Well, no issues were raised, so

      13   I assume no issues will be raised in front of the jury.                Am I

      14   right?

      15               MR. RASHBAUM:     Of course.

      16               THE COURT:     And then let's go.          Ready?   Bring in the

      17   jury.

      18               THE COURT SECURITY OFFICER:             All rise for the jury.

      19        (Most jurors entered the courtroom at 3:51 p.m.)

      20               THE COURT:     Go ahead and sit down once you get to your

      21   place if you want to.        I know others are coming.           No problem.

      22   You know what?        Let's make them more comfortable and everybody

      23   sit down.     Okay.    It's easier that way.          Let's just wait a

      24   little bit.

      25               You know, one question I forgot to ask is how many
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       1   smokers do we have on the jury?        One, two.     Okay.   I had a case

       2   that had one or two, I forgot, smokers.           By the end of the

       3   trial, there were nine smokers.         It's a true story.     But this

       4   one won't be like that.      Maybe two people will give up smoking,

       5   you never know.    If I don't give you breaks to go outside, I'm

       6   helping you.   You do what you want, I'm only kidding.

       7              I haven't given you all, except today I think, a long

       8   enough lunch break, but there was a case where I told the

       9   jurors, because we had a lot of issues to discuss, that they

      10   could go even to Bayside if they wanted to.           That's a pretty

      11   place.   But I had to add later, after that case, when we came

      12   back -- I told them come back at 2:30.            It was one of these

      13   things, 12:30 to 2:30, and none of the jurors came back at 2:30,

      14   so I asked the court reporter, did I tell them they were

      15   excused?    And she said, no, no, you told them 2:30.          How could

      16   all of them -- none of them are here.

      17              They went to Bayside.      They decided to get on a boat,

      18   on one of those cruises to see Gloria Estefan's house and all

      19   the important people and they couldn't come back.            So I had to

      20   start by saying to the jurors you can take a break, you can go

      21   to Bayside, don't get a boat.        So if tomorrow or next week I

      22   give you a long lunch break, that's part of the instruction, so

      23   you can come back.      All right?    No big deal.

      24       (The remaining jurors entered the courtroom at 3:53 p.m.)

      25              THE COURT:    We killed some time.       All the jurors are
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       1   here.   Thank you very much.

       2              Defendant is present, defense counsel, Government

       3   counsel.

       4              What say the defense, Mr. Marcus?        Who are you calling?

       5              MR. MARCUS:    David Corcoran.

       6              THE COURT:     Raise your right hand, sir.

       7              DAVID CORCORAN, DEFENDANT'S WITNESS, SWORN.

       8              THE COURT:    Tell us your name please, sir.

       9              THE WITNESS:     My name is David Corcoran.

      10              THE COURT:    What is your profession?

      11              THE WITNESS:    I'm an attorney.

      12              THE COURT:     For whom?

      13              THE WITNESS:     For Patient Care America.

      14              THE COURT:    Thank you very much.       Go ahead.

      15              MR. MARCUS:     At this time, Your Honor, we will

      16   introduce into evidence Defense Exhibits 171, 47, 105, 36, and

      17   19.

      18              THE COURT:     They will be admitted without objection

      19   from the Government.

      20                              DIRECT EXAMINATION

      21   BY MR. MARCUS:

      22   Q.    Mr. Corcoran, when did you become counsel for Patient Care

      23   America?

      24   A.    April 2014.

      25   Q.    And how did that happen?
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       1   A.   Patrick Smith, the CEO of the company, and he had just been

       2   hired as CEO in March of 2014, called me and asked me if I could

       3   help him out on some legal work that he had in connection with

       4   the company.   At that point he was talking about employment

       5   contracts and things of that nature.              He and I had worked

       6   together for many years, over the course of 35 years, on other

       7   projects, so I was happy to hear from him and happy to say yes.

       8   Q.   Mr. Smith, Patrick Smith, was the CEO of the company?

       9   A.   That's right.

      10   Q.   And how long have you practiced law?

      11   A.   Almost 45 years.

      12   Q.   I want to direct your attention to September 2014, after you

      13   became counsel for Patient Care America.              Did you get involved

      14   in drafting any Employment Agreements for marketers?

      15   A.   Not at that time, no.   At one point earlier in the year, I

      16   had suggested an Employment Agreement in connection with another

      17   marketing proposal, but in September of '14 the company

      18   contacted me and asked me to prepare a Marketing Agreement for

      19   MGTEN, I think the name was.      I don't know if it was Inc. or

      20   LLC, but MGTEN.

      21   Q.   MGTEN Marketing Group, does that ring a bell?

      22   A.   Yes.

      23   Q.   And what the purpose of the agreement?

      24   A.   It was allocation of responsibilities where MGTEN would

      25   attempt to promote the use of the company's compounds in
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       1   connection with -- you know, topical compounds for pain and

       2   things of that nature.

       3   Q.   And was PCA in the business of compounding medications in

       4   the fall of 2014?

       5   A.   Yes.

       6   Q.   And MGTEN, do you know who is the principal or owner of that

       7   company?

       8   A.   Yes, Monty Grow.

       9   Q.   And the agreement that was prepared, it was prepared between

      10   Mr. Grow's company and Patient Care America?

      11   A.   Yes.

      12   Q.   And how was Mr. Grow going to be treated as an employee?

      13   What status was he having under the agreement?

      14   A.   At that point he was not an employee, he was a 1099 or, you

      15   know -- in essence, the company would issue a so-called 1099,

      16   which is a statement of earnings for income tax purposes, to his

      17   business, to MGTEN.

      18   Q.   And did Patient Care America have business relationships

      19   with people, with companies on a 1099 basis other than Mr. Grow?

      20   A.   Yes.

      21   Q.   Was that a fairly standard business practice of the company

      22   at that time?

      23   A.   Well, it's fairly standard in all businesses, you know.       In

      24   connection with any service business that provides I think more

      25   than $500 worth of services a year, you have to give them a 1099
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       1   at the end of the year, so that the IRS has a way of tracking

       2   who is getting paid.

       3   Q.   And you mentioned there was a Marketing Agreement.       What was

       4   MGTEN Marketing Group going to do on behalf of Patient Care

       5   America?

       6   A.   In general, promote the use of the company's compounds in

       7   connection with pain management.

       8   Q.   And PCA is a large specialty pharmacy?

       9   A.   Yeah, I think that's a good way to put it.

      10   Q.   Where do you work, sir, every day?

      11   A.   Well, I'm not an employee -- speaking of 1099s, I'm not an

      12   employee of the company, I am an outside counsel, and so my

      13   office is up in the Boston area.

      14   Q.   And where does the company operate?

      15   A.   At the time, back in 2014, they were operating out of

      16   Sunrise, Florida, and then more recently they've consolidated

      17   operations in Pompano Beach.

      18   Q.   And does PCA have contractual relationships with insurance

      19   companies, insurance programs?

      20   A.   Some, some they have contractual relationships with and

      21   others they submit I guess what's called a -- I can't remember

      22   the term, but where the company is allowed to get paid in spite

      23   of the fact that it doesn't have a contract with the company.

      24   Q.   And the compounding medication business of the pharmacy, are

      25   these medications that are ultimately billed for reimbursement
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       1   to insurance programs?

       2   A.   In general, yeah.

       3   Q.   Both private insurance and other forms of insurance?

       4   A.   Yes.

       5   Q.   Would that include Federal programs?

       6   A.   Generally not Medicare or Medicaid because I think they

       7   never paid for these kinds of compounds, but Tricare did.

       8   Q.   You mentioned Tricare.    Let me ask you:         In September of

       9   2014, what did you know about Tricare?

      10   A.   Nothing.    There was no discussion.         I'd never heard the name

      11   before.

      12   Q.   And there came a point in time when you heard the name?

      13   A.   Yeah.

      14   Q.   And upon hearing the name, what did you do?

      15   A.   This was in late December of 2014, and it was the first time

      16   I had heard that the company was, among other things, providing

      17   prescriptions for Tricare beneficiaries and I had simply never

      18   heard that term before, Tricare, and it surprised me because,

      19   you know, I thought I was familiar with payors.

      20               But in any event, I did some research and it turned out

      21   that they were what I had once known as Champus, the military

      22   benefit program, health benefit program, which had apparently

      23   changed its name to Tricare at some point along the line.

      24               So at any rate, I realized, okay, this is a Federal

      25   program, so I did some further research about was that a
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       1   problem.

       2   Q.    Okay.   And so learning that it was a Federal program, an

       3   insurance program, what did you do next?

       4   A.    Well, I talked to Patrick Smith at the company and suggested

       5   that the company retain specialty health care counsel because

       6   this is something that I felt required some in-depth expertise

       7   in health care law, particularly in this area of compounding.

       8   Q.    And did you retain an outside law firm for the company?

       9   A.    Yeah, I contacted a company or a law firm, I should say,

      10   called Frier Levitt, which is up in New Jersey and had a

      11   national reputation in dealing with both health care issues, but

      12   also specialty pharmacies and compounding pharmacies.

      13   Q.    And was Frier Levitt engaged to do work on behalf of PCA on

      14   this issue?

      15   A.    Yeah.   You know, there's a process you go through where they

      16   check to be sure that there's no conflicts with other clients

      17   that they represent and have the client sign an Engagement

      18   Letter, so that takes about 10 days, 2 weeks to get that lined

      19   up.

      20   Q.    Did Frier Levitt provide legal advice to you and the

      21   company?

      22   A.    Yes.

      23   Q.    Did it provide legal advice to you and the company

      24   concerning your compensation arrangements with outside marketers

      25   like Mr. Grow?
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       1   A.   Yes.

       2   Q.   Can you describe for the jury the steps you took next based

       3   on that advice?

       4               MR. JUENGER:     Objection, hearsay, Your Honor.

       5               THE COURT:     Overruled.        Go ahead.

       6               THE WITNESS:    So we spoke with one of the attorneys at

       7   Frier Levitt and described to them the business model the

       8   company had been operating on with these Marketing Agreements.

       9               THE COURT:     When you said "we," you mean you?

      10               THE WITNESS:     The company.

      11               THE COURT:     But who did?         Who did the speaking?

      12               THE WITNESS:     I'm sorry.         To clarify, I was on the

      13   phone along with Patrick Smith, the CEO of the company.

      14               THE COURT:     Okay.     Thank you.

      15               THE WITNESS:    So we described to him the nature of the

      16   contractual relationships we had in place with the companies

      17   such as Mr. Grow's and asked him what he would recommend and

      18   what he recommended was that the company change the format from

      19   this so-called 1099 format where they're not employees to a W-2

      20   format where Mr. Grow and, for example, his people would be

      21   brought on as employees.           I mean, that's as concise as I can put

      22   it in terms of -- he said, in essence, convert to W-2.

      23   BY MR. MARCUS:

      24   Q.   Did you discuss -- as part of this I mean, did you discuss a

      25   concept called safe harbor?
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       1   A.   Yes, but only in the sense that he introduced it by saying,

       2   you know, the safe harbor that you can comply with, that you

       3   need to comply with is this W-2 exemption.

       4   Q.   And that's a safe harbor from what?

       5   A.   From the application of this statute, the so-called

       6   Anti-Kickback Statute.

       7   Q.   So was that the purpose of the transition from 1099 to W-2?

       8   A.   Yeah, the company, and of course, the marketing people, too,

       9   but the company wanted to get in compliance with this rule, the

      10   outline.

      11   Q.   And can you give a time frame for the jury about this

      12   process where the company was discussing with Frier Levitt this

      13   transition?

      14   A.   Yes, we spoke to Frier Levitt on January 20, 2015, so that

      15   was the beginning of process.       All right.     Now we know where to

      16   go and so that was the beginning of the process of then

      17   converting the marketing groups, including Mr. Grow and his

      18   group, to W-2 employees, which the company did, in essence, over

      19   the next three to four months, three months I guess.

      20   Q.   And so what was the first step?          When did the company

      21   decide or make a commitment to going through this process from

      22   1099 to W-2?

      23   A.   I spoke to Patrick Smith, the CEO of the company, the day

      24   after that call, so that was January 21st, and he confirmed that

      25   he wanted to move forward with this W-2 conversion.
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       1   Q.    And as part of this process, were you involved in drafting a

       2   new Employment Agreement for Mr. Grow and his company?

       3   A.    I was, yeah.

       4   Q.    Let me show you Defense Exhibit 171.

       5                MR. MARCUS:    Your Honor, is the ELMO on?

       6                THE COURT:    I don't know.       Do you want it on?

       7                MR. MARCUS:    I would like to, yes.

       8                THE COURT:    Then you have to tell someone to turn it

       9   on.

      10                MR. MARCUS:    Thank you.

      11                THE COURT:    Thank you, Gilda.

      12   BY MR. MARCUS:

      13   Q.    So if you could, Mr. Corcoran, could you explain what this

      14   document is to the jury?

      15   A.    What I'm looking at right in front of me?

      16   Q.    Yes.

      17   A.    Let me see.    It's not all that clear on my screen.          Yeah,

      18   okay.    We had a telephone conference between Mr. Grow as well as

      19   Patrick Smith, the CEO of the company, Matthew Smith, the COO of

      20   the company, and myself discussing the outlines of the W-2

      21   conversion of the Employment Agreement that we would put in

      22   place for Mr. Grow.

      23   Q.    Let's just take a step back.          What kind of a document is

      24   this?   Did you prepare this document?

      25   A.    It is a billing statement that I sent the company in March
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       1   of 2015 for work during that month.

       2   Q.   Okay.     So you billed the company for your legal work?

       3   A.   Yeah, at the end of every month I sent them a bill.

       4   Q.   And this is a statement that describes the work you're

       5   doing?

       6   A.   Right, at any given point, correct.

       7   Q.   And do you submit these bills monthly to the company?

       8   A.   Um-hum.

       9   Q.   How many hours a month do you think you work for PCA,

      10   generally speaking?

      11   A.   You know, it varies all over the lot, to be honest with you.

      12   You know, at this point in time because we were, you know,

      13   really fully involved in the process of converting the 1099's to

      14   W-2, as well as a whole lot of other things, there was probably

      15   150, 160 hours in this particular month.           Other months, it might

      16   be as low as 20 or 30.

      17   Q.   Right.     So on March 2nd you spent eight hours working on

      18   this project?

      19   A.   Yeah, I was physically down at the company at this point.

      20   Q.   I think you said a moment ago this transition period, it

      21   took a lot of hours, a lot of time?

      22   A.   Oh, yeah.

      23   Q.   Could you just tell the jury some of the steps that the

      24   company was taking, that you and the company were taking as part

      25   of this transition?
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       1   A.   Aside from drafting these employment contracts, things of

       2   that nature, one of the most important things the company did

       3   was bring in an HR executive.        You know, the company wasn't a

       4   very big company at this time, so it didn't have a deep human

       5   resources department.     So it brought in a very senior level

       6   human resources professional, a guy who had been a vice

       7   president of human resources at a number of companies that hired

       8   thousands of people over the years, to head up the process of

       9   bringing these people through the HR process, and that meant,

      10   you know, employment offers, drug screens, background checks,

      11   things of that nature.

      12                So, you know, it's one thing to conceptualize we're

      13   going to do this, it's another thing to then put the bricks and

      14   mortar, you know what I mean, the block and the tackle

      15   so-to-speak in place.

      16   Q.   And who did the company hire to do the HR work?

      17   A.   A person named Phillip Lockwood who had been a vice

      18   president of human resources in a number of companies, including

      19   several that Patrick Smith had been involved with.

      20   Q.   Okay.    So your billing record on March 2nd reflects a

      21   conference --

      22   A.   Yeah.

      23   Q.   -- with P. Smith, M. Smith and Monty.         Do you see that?

      24   A.   Yeah.

      25   Q.   Who is M. Smith?
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       1   A.   That would be Matthew Smith, who was at that time the vice

       2   president of operations of the company.

       3   Q.   And P. Smith, is that Patrick Smith, the CEO?

       4   A.   Correct.

       5   Q.   And who is Monty?

       6   A.   And Monty was the head of MGTEN.              Monty Grow, the head of

       7   MGTEN.

       8   Q.   Right.     And in this conference what was discussed generally?

       9   A.   The terms of his employment contract.

      10   Q.   And what did you inform him of?

      11   A.   Well, I didn't inform him of anything, you know what I mean?

      12   I was sort of there as the scribe, if you know what I mean, to

      13   put down in writing what the parties sort of worked out as far

      14   as the pay and other aspects of the employment contract, the

      15   term of the contract, things of that nature.

      16   Q.   And which would lead to a new Employment Agreement with W-2

      17   status?

      18   A.   Correct.

      19   Q.   Could you describe Mr. Grow's demeanor on the call?

      20   A.   Yeah, he was very businesslike, you know, very

      21   straightforward, you know, no ego.

      22   Q.   Did Mr. Grow answer questions that were asked of him on the

      23   call?

      24   A.   Sure, things like what Monty -- I can remember

      25   distinctly, you know, Patrick Smith, he's hired thousands of
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       1   people over the years, trying to draw Monty out a little bit,

       2   okay, what are you looking for, what are you interested in doing

       3   in terms of, you know, how long a contract, the pay, the

       4   benefits, things of that nature.

       5   Q.   Were there any questions asked of Mr. Grow that he didn't

       6   want to answer?

       7   A.   No, I can't think of any.      It was a very productive meeting.

       8   I mean, as the guy who was going to write it all down and put in

       9   some form of a contract, those are the kind of meetings you like

      10   because, you know, you're getting things done.

      11   Q.   So on March 5th you're working on drafting the Employment

      12   Agreement?

      13   A.   Yes.

      14   Q.   And the next day, on the 6th, there are revisions to the

      15   agreement.    Do you see that?

      16   A.   Yes.

      17   Q.   So in these two days, you worked about 15 hours on this

      18   agreement?

      19   A.   My guess is that -- I don't know what's redacted here.       I

      20   probably did other things during those days.

      21   Q.   Sure.

      22   A.   But, you know, this was a significant focus because this

      23   would set off the process of not only bringing Mr. Grow in, but

      24   also the people in his group, in his group that he wanted to

      25   bring over.
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       1   Q.   You were taking the advice from Frier Levitt seriously about

       2   the need to comply with W-2 for employees?

       3   A.   Yeah.     And actually, we had consulted at that point with an

       4   additional law firm in Washington, D.C., and they gave us, in

       5   essence, the same advice.

       6   Q.   Was this a project that you were working on all throughout

       7   the month of March 2015 --

       8   A.   Yes.

       9   Q.   -- and the company as well?

      10   A.   Oh, yeah.     At that point Mr. Lockwood was physically down at

      11   the company, you know, putting the infrastructure in place to

      12   bring all these people aboard.

      13   Q.   And you would interact with Mr. Lockwood?

      14   A.   Oh, yeah.

      15   Q.   Weekly?

      16   A.   Sometimes daily.

      17   Q.   Let me just show you Exhibit 47 quickly.      Can you explain

      18   for the jury what the term "onboarding" means in this context?

      19   A.   Sure, literally the process by which you would bring either

      20   one or a number of new employees onboard, and that includes at

      21   the first level making them, you know, sign off on an offer

      22   sheet, so that everybody knows what the terms of the employment

      23   is; background checks, drug screens, and then as they come

      24   aboard, training on all kinds of different aspects, you know,

      25   company policies and procedures and that kind of stuff.
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       1   Q.   Fair to say that Mr. Grow's company and your company were

       2   business partners?    Do you agree with that?

       3   A.   It was kind of like that, yeah.

       4   Q.   And then in terms of the decision to go from 1099 to W-2,

       5   which side of the business arrangement was making that decision?

       6   A.   Well, it was initiated by the company, you know, Mr. Grow

       7   agreed, but, you know, it was initiated by the company as a

       8   result of the advice it had gotten.

       9   Q.   When this idea was approached, the need to transition to W-2

      10   to comply with the safe harbor, was there any resistance from

      11   Mr. Grow to that?

      12   A.   Not that I'm aware of.

      13   Q.   Let me show you Exhibit 105.        This onboarding process, this

      14   included both Mr. Grow and all of the employees for MGTEN

      15   Marketing?

      16   A.   I don't know that he brought everybody.        There were some

      17   that, you know, didn't make the cut I guess but, you know, I

      18   think it was more than a hundred as I understood it.

      19   Q.   And so in April PCA -- you are still in the onboarding

      20   process, are you not?

      21   A.   Yeah, this is really down into the -- this is the execution

      22   phase so-to-speak where it's getting done, being brought aboard,

      23   you know, we're getting the offer letters back and all of that

      24   stuff.

      25   Q.   You said it was more than a hundred people that were
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       1   being --

       2   A.     That was my understanding.      I think I saw somewhere that 110

       3   plus offer letters went out.

       4   Q.     How many hours do you think it took for your company to do

       5   all of these steps involved in transitioning these employees to

       6   W-2?

       7   A.     Well, if you count not just my time or Phil Lockwood's time,

       8   but the time of the other people in the human resources

       9   department, the people in the finance department, the people in

      10   the payroll department, the people in the operations department,

      11   I mean, it's a staggering number of hours.          It had to be in the

      12   thousands.       Phil Lockwood alone would have spent probably, I'll

      13   bet, 400 hours between March and May on the project, him alone.

      14   Q.     And Mr. Corcoran, were you trying to onboard as quickly as

      15   you could?

      16   A.     Of course.

      17   Q.     Because you wanted to move the company into compliance?

      18   A.     Yeah.

      19   Q.     That was important to you?

      20   A.     Oh, yeah, the company's feet were to the fire.

      21   Q.     Did anyone ever tell you to slow things down on the

      22   onboarding process?

      23   A.     No, no.    It was the opposite.

      24   Q.     This is Defense Exhibit 36.       So still in April, this is

      25   April 28th, and you're finalizing the Employment Agreement and
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       1   the W-2 status?

       2   A.     Yeah.

       3   Q.     And you said Mr. Grow was cooperative and helpful throughout

       4   this process?

       5   A.     Yeah.

       6   Q.     Did you ever see Mr. Grow do anything to delay this process

       7   in any way?

       8   A.     No.

       9   Q.     Mr. Corcoran, did a woman named Ginger Lay ever send a

      10   patient survey program to you to review for changes?

      11   A.     No.

      12   Q.     Let me show you what's in evidence as Government's Exhibit

      13   134.

      14                 Was a document like this ever sent to you in February

      15   of 2015?

      16   A.     No.

      17   Q.     And did you ever make changes to any survey consent form for

      18   patients --

      19   A.     No.

      20   Q.     -- to be sent to any marketers?

      21   A.     No.

      22   Q.     Your company has produced a lot of documents to the

      23   Government as part of this investigation.           Are you aware of

      24   that?

      25   A.     Yes.
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       1   Q.   They received a subpoena for documents?

       2   A.   Yes.

       3   Q.   And the Government asked them for documents related to a

       4   whole host of people that had something to do with PCA?

       5   A.   I am not sure that I recall.         That's kind of specific, but

       6   I'll assume that in the scope of the request, they must have

       7   wanted to talk to people.      Is that what you're suggesting?

       8   Q.   Right.

       9   A.   Okay.

      10   Q.   And PCA produced hundreds of thousands of documents in this

      11   case, did it not?

      12   A.   I assume so, although, you know, just so it's clear, I

      13   wasn't involved in that part of the effort.         That was a

      14   different team of attorneys.

      15   Q.   Okay.

      16               MR. MARCUS:   Thank you, Mr. Corcoran.

      17                THE COURT:   Cross-examination.

      18                               CROSS-EXAMINATION

      19   BY MR. JUENGER:

      20   Q.   Mr. Corcoran, you never represented Monty Grow, did you?

      21   A.   No.

      22   Q.   And you never gave him any legal advice, did you?

      23   A.   Not directly to Monty Grow, no.

      24   Q.   What do you mean, not directly to Monty Grow?        Did you give

      25   him advice or didn't you give him advice?
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       1   A.   I did not give him legal advice.

       2   Q.   In fact, you would be ethically obligated to give him no

       3   advice, correct?

       4   A.   If he were on the opposite side or if he were a second party

       5   to a transaction involving my client, yes, I'd have to tell him

       6   to get his own counsel.

       7   Q.   And you don't know that he was a second party on the other

       8   side; is that what you're saying?

       9   A.   It never came up.   He didn't ask me for specific legal

      10   advice.

      11   Q.   Did you give him legal advice?

      12   A.   No.

      13   Q.   You couldn't have given him legal advice, correct?

      14   A.   I think that's right.

      15   Q.   Now, when you started working with PCA, you did give PCA

      16   some legal advice, correct?

      17   A.   Correct.

      18   Q.   And you told them, with respect to marketers like Mr. Grow,

      19   that there could be no payment of doctors, correct?

      20   A.   Correct.

      21   Q.   Because that's an illegal kickback, right?

      22   A.   I don't know if it's a legal payback, but just don't do it,

      23   it's always a bad idea.

      24   Q.   Have you heard of the Stark Law?

      25   A.   Yes, I have.
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       1   Q.   How many years have you practiced in health care law?

       2   A.   I'm more of a general corporate lawyer with some, you know,

       3   issue spotting knowledge of health care law.

       4   Q.   And one of the issues that you spotted very early on was

       5   that PCA should not be using outside marketers if they are

       6   receiving scripts from a Federal health care program, correct?

       7   A.   Yes, don't involve Federal health care programs.

       8   Q.   And as it turns out, your company paid kickbacks and

       9   received over a hundred million dollars in claims.          You know

      10   that now, right?

      11   A.   I don't know that they paid kickbacks, but they received, I

      12   think, 80 plus million.    I don't know.         I don't know what the

      13   figure is.

      14   Q.   A lot of money, let's just agree on that, correct?

      15   A.   Yes.

      16   Q.   And in fact, your company split 50 percent of the profits

      17   with people like Mr. Grow, didn't it?

      18   A.   I don't think it was 50 percent of the profits, but at any

      19   rate, they paid Mr. Grow according to the Marketing Agreements.

      20   Q.   Yeah.   And you negotiated the Marketing Agreements, correct?

      21   A.   No, that was actually done by Matt Smith, but in any event.

      22   Q.   Well, you're the corporate lawyer.

      23   A.   I didn't negotiate the agreements, though, I just drafted

      24   them.

      25   Q.   Okay.   And the agreement with Mr. Grow from September or
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       1   October of 2014, you recall that?

       2   A.   Yes.

       3   Q.   And the nuts and bolts of it was that he received 50 percent

       4   of all adjudicated scripts that he could bring in, correct?

       5   A.   That isn't exactly how it worked.

       6   Q.   Tell us how it worked.

       7   A.   Well, you took the collected revenues, minus what was

       8   referred to as cost of goods sold, including, I guess, costs

       9   associated with the sales, and then there was a 50/50 split.

      10   Q.   Yeah.   And the cost of goods sold was in many cases less

      11   than three percent of the total reimbursement for the product.

      12   You knew that, right?

      13   A.   No, I don't know that but --

      14   Q.   Did anybody there know that?

      15   A.   I assume so, the financial people.

      16   Q.   Who knew that?

      17   A.   Presumably the financial people.

      18   Q.   And presumably who are those people?

      19   A.   Well, that would be the CFO.

      20   Q.   Who was that?

      21   A.   At the time it was a woman whose name was Patricia Gunn.

      22   Q.   So Patricia Gunn was the only one who knew that the profits

      23   on these drugs were 97 percent of the reimbursements?

      24   A.   Oh, I don't know.   I don't know that she's the only one.      I

      25   am just trying to suggest it wasn't anything that would have
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       1   come across my desk.

       2   Q.   Who was in charge of the compounding business?

       3   A.   Matt Smith was the company's vice president of operations

       4   and you know, was the principal related guy who had the

       5   relationship with the various marketing heads.

       6   Q.   What was his relationship with Monty Grow?

       7   A.   Well, he was the one who I think negotiated the contract

       8   with Monty Grow, and then served as his liaison with the

       9   company, I guess is how I would put it.

      10   Q.   And isn't it true that in addition to being a marketer, he

      11   also sold products to PCA?

      12   A.   Who?

      13   Q.   Monty Grow.

      14   A.   I don't know about that.

      15   Q.   He was one of your sources of supply.

      16   A.   That isn't anything that I was aware of or was discussed

      17   with me.

      18   Q.   But you're the CEO -- I'm sorry, you're the general counsel?

      19   A.   Again, you know, I work outside the company.      They have to

      20   bring a matter to me before it, obviously, you know, becomes

      21   something I can be aware of and work on.

      22   Q.   You were involved in bringing him on as an employee,

      23   correct?

      24   A.   Yes.

      25   Q.   You just told us that a staggering --
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       1   A.    It was staggering.

       2   Q.    -- number of hours, a thousand hours was spent doing that,

       3   but you never knew that he was a source of supply for some of

       4   your most lucrative ingredients?

       5   A.    No.   To give you an example, in March, April, and May there

       6   was, you know, literally an interdisciplinary effort throughout

       7   the company, whether it was finance, payroll, pharmacy

       8   operations, human resources, et cetera, to bring these people

       9   in.    That may have been thousands of hours, but in the spring

      10   and fall -- spring, summer and fall of 2017, I was probably

      11   spending 20 hours a month on matters referred to me by the

      12   company.      So it isn't surprising that some things I wouldn't

      13   know about.      I wasn't physically located there.      It just

      14   wouldn't -- if it didn't involve a legal question that somebody

      15   referred to me, I would have no way of knowing about it.

      16   Q.    So that's just a long way of saying, no, you didn't know.

      17   A.    I already said I didn't know.        I am just explaining why.

      18   Q.    Okay.    But what you did know is that by December of 2014,

      19   you knew that Tricare was a Federal health care program,

      20   correct?

      21   A.    Yeah.   I had first heard the name Tricare late in that month

      22   and wasn't familiar with it, so I did some research and found

      23   that it was the military health care program.

      24   Q.    And now all of a sudden one of your cardinal rules, first

      25   principles, don't bill Federal health care programs, has been
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       1   violated, right?

       2   A.   Right.

       3   Q.   And that means all of those commissions paid to Mr. Grow for

       4   referring scripts to PCA, those are kickbacks?

       5   A.   No, not necessarily.   But again, you know, my simple rule of

       6   don't bill a Federal health care program, makes your life a lot

       7   simpler.   You don't have to think about these kinds of issues.

       8   If, as in this case, you do, then I suggested to the company,

       9   you've got to get a specialty health care firm in here and get

      10   some guidance.

      11   Q.   So paying someone like Mr. Grow 50 percent of the profits

      12   for referrals from Federal health care programs, that's just

      13   something you know is wrong even if you don't have to refer to

      14   the Anti-Kickback Statute?

      15   A.   No, it's something that I don't want to think about.       If you

      16   don't do Federal -- if you don't have any Federal programs that

      17   you service, then obviously you don't have to worry about things

      18   like the Federal Anti-Kickback Statute.

      19   Q.   Which is a crime, right?     It's a criminal statute?

      20   A.   Well --

      21   Q.   Yes or no?

      22   A.   It's a civil and criminal statute, but it obviously is very

      23   fact specific.    You know, it doesn't just apply like that.

      24   Q.   Of course.   And of course, in order to be a competent

      25   lawyer, do you agree with me that to give competent legal
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       1   advice, you have to know the facts?

       2   A.   Sure.

       3   Q.   I mean, can you offer legal advice without knowing all the

       4   facts?

       5   A.   It depends on what the question is.

       6   Q.   Well, let's talk about the Anti-Kickback Statute then.       You

       7   are familiar with it?

       8   A.   Sure.

       9   Q.   Okay.   And you know that it says, "whoever pays any

      10        renumeration --" do you know what renumeration means?

      11   A.   Sure.

      12   Q.   What?

      13   A.   Something of value.

      14   Q.   "Anyone who pays renumeration to any person --" is Mr. Grow

      15        a person?

      16   A.   Yeah, I'll concede he's a person.

      17   Q.   "-- to induce such person to refer an individual to a person

      18        for the furnishing or arranging for the furnishing of any

      19        item or service for which payment is made under Federal

      20        health care program."

      21             So PCA pays renumeration to Mr. Grow for referring

      22   patients to order products that are paid for by a Federal health

      23   care program.    Kickback, right?

      24   A.   Yeah, that's why I told the company it needed to get some

      25   advice from a specialty health care counsel firm.
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       1   Q.   And then knowing that you had an issue of a criminal nature,

       2   you surely advised the company to stop doing what they were

       3   doing until you sorted it out, right?

       4   A.   No, I said to the company, we've got to retain -- I suggest

       5   strongly that you retain outside counsel to get some guidance in

       6   this area.

       7   Q.   And as a competent lawyer, you must have asked your client

       8   what are the facts about Mr. Grow, we need to find out the

       9   facts, right, before you can provide any legal advice?

      10   A.   I'm not sure what you mean by the facts.

      11   Q.   Well, let me add some facts.       Did you know that he was

      12   paying doctors to write the scripts he was referring to your

      13   company to make millions of dollars?

      14   A.   No.

      15   Q.   Did you know that he was paying patients to induce them to

      16   sign up for scripts that were being filled by PCA?

      17   A.   I never heard anything like that.

      18   Q.   Never heard anything like that.

      19               So I think your testimony on direct was that in January

      20   you got some advice from yet another firm, correct?

      21   A.   No, the firm -- I suggested the company retain a specialty

      22   health care firm.     I then did a search and came up with this

      23   particular firm whose name was Frier Levitt in New Jersey --

      24   Q.   Yes.

      25   A.   -- as having particular --
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       1   Q.   Experts in health care law?

       2   A.   Particularly in this area of compounding pharmacies.

       3   Q.   And so at the time PCA got advice from Frier Levitt, the

       4   advice was stop paying people like Mr. Grow commissions for

       5   referring Tricare patients?

       6   A.   Convert to W-2.

       7   Q.   Because paying Mr. Grow commissions for referring Tricare

       8   scripts violates the Anti-Kickback Statute, right?

       9   A.   No, that isn't what they said.        They said convert to W-2

      10   because that provides a safe harbor, so you can't get

      11   second-guessed.

      12   Q.   And so you knew and PCA knew in January that you needed to

      13   fall under a safe harbor in order to protect yourself from what

      14   had been going on for the last three or four months of

      15   kickbacks?

      16   A.   Again, I don't concede they're kickbacks, but the company

      17   was told convert to this W-2 safe harbor in order to protect

      18   your flank, so-to-speak, and that's what the company did.

      19   Q.   And you didn't stop billing Tricare, did you?

      20   A.   What do you mean me?   I didn't bill --

      21   Q.   Your company, PCA, that you give advice to.

      22   A.   The company continued while it was trying to convert.        It

      23   didn't want to withdraw from the business I guess, so they

      24   continued.

      25   Q.   Because there was a lot of money at stake, correct?
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       1   A.   It wasn't so much that it was a lot of money, it was a

       2   market that the company sensed was a good market.

       3   Q.   And you, PCA, knew that the market was coming to an end,

       4   didn't you?

       5   A.   No.

       6   Q.   No?   You weren't aware that Tricare was the only insurance

       7   that remained paying at that time?

       8   A.   No, there were private insurance companies that were paying.

       9   Q.   Oh, there were, huh?    Hmm.    So you knew that you had to

      10   convert Mr. Grow to what you say is a W-2 employee to be in the

      11   safe harbor?

      12   A.   Yeah.

      13   Q.   And it took until May to get that accomplished, correct?

      14   A.   I think it's April, but go ahead.

      15   Q.   Well --

      16   A.   It was not May, it was April.

      17   Q.   April what?

      18   A.   I'm going to say the last two weeks, last week of April.

      19   Q.   And so it took you four months.         Do you know how much --

      20   A.   Three months.

      21   Q.   Three mounts.   Do you know how much money PCA obtained from

      22   Tricare in that time period from people like Mr. Grow?

      23   A.   I do not.

      24   Q.   50 million you think?

      25   A.   I really have no way of knowing.
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       1   Q.   Do you dispute that?

       2   A.   I'm sorry?

       3   Q.   Do you dispute that amount?

       4   A.   I have no way to dispute it one way or the other.

       5   Q.   And you took thousands, by your own testimony, thousands of

       6   hours of work to get him onboard at the end of April, right?

       7   A.   I didn't personally take thousands of hours but the

       8   company --

       9   Q.   The company.

      10   A.   Yeah, I would estimate it had to be thousands of hours.

      11   Q.   And yet, after going to all that work, you turned around and

      12   terminated him within two months, correct?

      13   A.   I don't know that the company terminated him.      I think he

      14   decided to leave, but in any event, it was relatively simple.

      15   Tricare had initially proposed new pricing for these various

      16   compounds and then it simply stop paying so the market

      17   obviously --

      18   Q.   So you didn't need him anymore?

      19   A.   Yeah, you couldn't support a sales staff when there were no

      20   sales anymore.

      21   Q.   That's fair.

      22             And you also brought on board, I think you said 150 of

      23   Mr. Grow's sales force?

      24   A.   Yeah.   I don't know how many eventually were brought on, but

      25   I think over 100 or 115 offers were made to his people.
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       1   Q.   And in the thousand or so hours that PCA expended bringing

       2   those people on, did anyone at PCA ever ask who they were, what

       3   their experience was, what their education was?

       4   A.   No, it would be dependent on -- the company had a great deal

       5   of confidence in Mr. Grow, and he, in turn, said these are the

       6   people I want to bring with me.       Okay.

       7   Q.   You had confidence in Mr. Grow, but you never bothered to

       8   ask the facts about what he was doing?

       9   A.   Again --

      10   Q.   Correct?   Did anybody at PCA bother to find out those facts?

      11   A.   I have no idea who had conversations with him at PCA or who

      12   didn't have conversations with him at PCA.            I mean, I'm not a

      13   mission.

      14   Q.   I think we can all agree on that.           Were you aware, was

      15   anybody at PCA aware -- well, let me back up.            Strike that.

      16               PCA was selling prescription drugs, correct?

      17   A.   Yes.

      18   Q.   And those obviously require a prescription for a reason?

      19   A.   Yes.

      20   Q.   And those are compounded drugs which, to use a word, they're

      21   sensitive, correct?     They can be harmful to people if they are

      22   misused.    They require the supervision of a doctor.

      23   A.   Oh, yeah, yeah.

      24   Q.   So, of course, PCA, being the compliant and careful

      25   corporate citizen that I'm sure it is, hires only the best
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       1   people on its staff to sell its products, correct?

       2   A.   Do you mean pharmacists or in general?

       3   Q.   Anybody.

       4   A.   Oh, yeah, it tries.

       5   Q.   So you would certainly expect that PCA would interview the

       6   150 people that they were bringing in, correct?

       7   A.   No, not in this case because it was almost -- this is more

       8   akin to -- it's almost like an acquisition where, you know,

       9   you're bringing in a group of people at one time except that it

      10   was in connection with this conversion to W-2.

      11   Q.   So then, what took so long?       I mean, you're just absorbing

      12   Mr. Grow's people.

      13   A.   Everything looks simple until you get down to the details of

      14   trying to do it.     I can't tell you what every day -- you know,

      15   how many progress we made every day, but it took that long and

      16   everybody was working hard.     Everybody had their back to the

      17   wheel.

      18   Q.   And you had no idea that Tricare was eventually going to

      19   stop paying for these.     Is that your testimony?

      20   A.   No.   I'll tell you what I knew, which was on April 15th of

      21   17th of 2015 Tricare issued a new contract with new pricing,

      22   significantly lower than the old pricing that it had paid, and

      23   the company was fine with it, signed it and sent it right back.

      24   So there was no inkling that Tricare was simply going to stop

      25   paying.    The obvious information from Tricare in the form of
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       1   this contract was that they were going to continue to pay, but

       2   it would be a much lower rate which, as I said, the company was

       3   fine with.

       4   Q.     And isn't it true that the offer letters -- not the offer

       5   letters, the offer packet that was sent out from PCA contained

       6   an offer of employment along with an application, correct?

       7   A.     I don't know what was in the -- I don't know what was in the

       8   package completely.     Certainly there was an employment offer, I

       9   know that.

      10   Q.     And any of these employees, they weren't interviewed.     You

      11   agree with that?

      12   A.     I wouldn't know that.   That was an HR kind of thing.

      13   Q.     You just testified about HR and all the steps they took and

      14   the thousands of hours.     You don't know if they interviewed

      15   people or not?

      16   A.     No.

      17   Q.     Did they review their applications before offering them a

      18   job?

      19   A.     What do you mean?

      20   Q.     Applications, the people submitted applications.

      21   A.     No, Monty provided, Mr. Grow provided the names and

      22   information, you know, the demographic information, if you will.

      23   The company then made offers subject to background checks and

      24   drug screens.

      25   Q.     So if you pass a criminal -- if you're not a criminal and
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       1   you haven't taken drugs in the last month, that's good enough

       2   for PCA?     Is that your testimony?

       3   A.   No.   If you haven't taken drugs, if you pass the background

       4   check, and I can't tell what a background check might include,

       5   and you were recommended by Mr. Grow, who we were bringing on to

       6   head up this division.

       7   Q.   And so certainly before you made these people your own

       8   employees, right -- then you are responsible for them, correct?

       9   That's the whole idea.

      10   A.   I don't know what you mean by we're responsible for them, I

      11   mean.

      12   Q.   They are your employees.

      13   A.   Yeah.

      14   Q.   And if they do things wrong, PCA will be liable for that?

      15   A.   Yeah, if they do it in the course of their employment,

      16   perhaps, yeah.

      17   Q.   Sure.   And you hired them to be sales reps, so if they screw

      18   up in the sales rep world, PCA is on the hook.       Do you agree

      19   with that?

      20   A.   It depends on what they do.

      21   Q.   It depends on what they do.

      22   A.   Yeah.

      23   Q.   So let's talk about what these people did.      Did you know

      24   that PCA hired patients, it hired its patients as employees?

      25   Did you know that?
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       1   A.   I don't know that.    I don't know who they are or what the

       2   circumstances were.

       3   Q.   PCA paid these people for their own prescriptions.             Do you

       4   know that?

       5   A.   Again, I wouldn't have any knowledge about that.

       6   Q.   PCA hired a young plan who we heard from yesterday whose

       7   last job before PCA hired him as a pharmaceutical sales rep was

       8   to keep the buffet warm at a Pizza Hut.             Did you know that?

       9             MR. JEAN:    Cici's.

      10             MR. JUENGER:    Cici's, forgive me.          Thank you.

      11             THE WITNESS:    I don't know that.

      12   BY MR. JUENGER:

      13   Q.   And PCA didn't care, did it?

      14   A.   Again, I have no way of knowing who they -- what some of the

      15   background of some of these people were because, again, that's

      16   an HR kind of function.

      17            THE COURT:    Let's wrap it up.

      18   BY MR. JUENGER:

      19   Q.   And it means --

      20            THE COURT:    I'm sorry.        Let's wrap it up.

      21             MR. JUENGER:    I will, Your Honor.

      22            THE COURT:    So ask the best questions now, because you

      23   may not get the chance to ask them.

      24   BY MR. JUENGER:

      25   Q.   So Mr. Grow wasn't the only marketer that worked for PCA,
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       1   correct?

       2   A.   Correct.

       3   Q.   So PCA had many different people from around the country who

       4   were referring scripts in exchange for commissions, correct?

       5   A.   I don't know how many they had, but there others other than

       6   Mr. Grow.

       7   Q.   There were others.   And PCA made efforts to incorporate many

       8   of those different marketers into its business, right?

       9   A.   Yeah.

      10   Q.   And you, in fact, helped negotiate some of those deals,

      11   didn't you?

      12   A.   I wouldn't say I negotiated because I didn't get into the

      13   economics of the deals, if you know what I mean, but if there

      14   was a question of structure or legal implications of structure,

      15   then I would have been called in.

      16   Q.   Well, there was a marketing company by the name of -- I

      17   don't know the name of it, but it was represented by an

      18   individual by the name of Neil Caesar.            Do you remember

      19   negotiating --

      20   A.   I remember Neil Caesar.

      21   Q.   And in your negotiations with Neil Caesar you explained that

      22   whatever the structure you were going to come up with for that

      23   entity to incorporate them, the whole ideas was to say that you

      24   were compensating the company based on efforts, not on results,

      25   meaning the number of scripts, correct, because that's what
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       1   marketers do, bring scripts?

       2             MR. MARCUS:    Your Honor, I think we're moving outside

       3   the scope.

       4            THE COURT:     I don't know, but I'm used to lawyers

       5   saying objection.

       6            MR. MARCUS:    Objection.

       7            THE COURT:     And then the grounds.       That way I can

       8   react.   If we're all just chatting, it just takes longer.           So

       9   that's how we do things.

      10            Wrap it up.

      11   BY MR. JUENGER:

      12   Q.   And the idea of the transaction, the general idea was that

      13   the financial results for both parties would be the same.            In

      14   other words, you were just trying to recreate what people were

      15   doing before, which we have already I think agreed that it was a

      16   kickback, or at least wrongful, in a different structure; isn't

      17   that correct?

      18   A.   No, I didn't agree that it was a kickback or wrongful, but

      19   putting that aside, as it relates to my discussions with Neil

      20   Caesar, it was an Alice in Wonderland kind of discussion where,

      21   you know, you go down the rabbit hole.           He had outlined -- and

      22   this was in a conversation some time between April 15th and say

      23   May or May 5th, an elaborate concept he had as opposed to simply

      24   W-2 conversion.   In other words, he was proposing on behalf of

      25   his client, and I don't remember who they were either, something
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       1   other than W-2 conversion.

       2               Well, all right, explain it to me.     And he tried to and

       3   I tried to, you know, see if I could understand it, but then he

       4   never produced any documents.       I asked him if he'd please

       5   contact another attorney that we were working with at the time

       6   to see if he could draw out the documents.        So nothing was ever

       7   produced.

       8                So I've got to tell you, I cannot at this point give

       9   you much confirmation on what it was that he was asking because

      10   he never produced a single document, oh, and nor did we go

      11   forward with him or his client.

      12   Q.   And at no point in your interactions with Mr. Grow did you

      13   discuss anything other than this 1099 versus W-2 conversion; is

      14   that correct?

      15   A.   Yeah.    The interactions I had with him beginning in March of

      16   2015 related to his employment contract, so at that point it was

      17   very linear.     We were talking about his employment contract and

      18   what the terms would be.

      19   Q.   So you never had any discussions about the Food, Drug and

      20   Cosmetic Act, did you?

      21   A.   No.

      22   Q.   You never had any discussions about the Federal health care

      23   fraud statute, did you?

      24   A.   With Mr. Grow?

      25   Q.   Yes.
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       1   A.   No.

       2   Q.   You never had any discussions about money laundering either?

       3   A.   No.

       4   Q.   And you never discussed conspiracy?

       5   A.   No.

       6   Q.   And let's be very clear that this safe harbor that you were

       7   talking about, you call it W-2, but the safe harbor is called

       8   bona fide employment, correct?

       9   A.   Correct.

      10   Q.   And bona fide employment means they have to be real

      11   employees, correct?

      12   A.   Yes.

      13               MR. MARCUS:    Objection, Your Honor.

      14               THE COURT:    Overruled.

      15   BY MR. JUENGER:

      16   Q.   You can't just convert how you are paying someone and call

      17   it a bona fide employee.       Do you agree with that?

      18   A.   Yeah, it depends on the facts.

      19   Q.   It depends on the facts.       So you have to look at the facts

      20   and see if somebody is really an employee or not?

      21   A.   Correct.

      22   Q.   Correct.

      23               THE COURT:    Redirect.

      24                              REDIRECT EXAMINATION

      25   BY MR. MARCUS:
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       1   Q.   Mr. Juenger asked you a lot of questions about the

       2   Anti-Kickback Statute.         It's fairly complicated, isn't it?

       3   A.   Sure.

       4   Q.   Very technical area?

       5   A.   It's very fact specific.

       6   Q.   Very fact specific?

       7   A.   Sure.

       8   Q.   That was the reason you wanted to get specialized outside

       9   counsel when you realized Tricare was a Federal program?

      10   A.   Yeah.    It's a little bit like if you're a, you know, general

      11   practitioner or a family practice guy and you want to get the

      12   neurologist involved or, you know, the specialty guys, same

      13   thing happens in the legal business.

      14   Q.   Right.     You wanted to get the best advice in this

      15   complicated area for your company?

      16   A.   Absolutely.

      17   Q.   And Mr. Grow had a marketing company and was doing business

      18   with your company for many months, correct?

      19   A.   Yes.

      20   Q.   And in December of 2014 he was actively marketing your

      21   company's compounding medications, correct?

      22                MR. JUENGER:    Objection as to leading, Your Honor.

      23                THE COURT:     Isn't it?    Isn't it?     It was on direct,

      24   too, but no one objected, so I'll sustain the objection now.

      25                Who, what, when, where, how, why, all of those would
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       1   not be leading questions.

       2   BY MR. MARCUS:

       3   Q.     How would you characterize Mr. Grow's employee status for

       4   PCA?

       5   A.     He was not an employee up until roughly April -- some time

       6   in April of 2015, and then he was an employee, and as I recall,

       7   he was a vice president.

       8   Q.     You were asked questions about remuneration, compensation.

       9   Do you recall those questions?

      10   A.     Yeah.

      11   Q.     Is it illegal, under the kickback statute, to pay employees

      12   commissions?

      13   A.     No.

      14   Q.     Is it illegal to have business relationships with other

      15   companies?

      16   A.     No.

      17   Q.     Is it illegal to market compounding medications?

      18   A.     No, of course not.

      19   Q.     Is all employee compensation a kickback?

      20   A.     I guess I would never characterize employ compensation --

      21                MR. JUENGER:   Objection, Your Honor, this is

      22   irrelevant.

      23                THE COURT:   Overruled.

      24                THE WITNESS:   I would never characterize compensation

      25   paid to employees as a kickback.           By definition, they're an
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       1   employee, they're getting a salary, commissions, bonuses,

       2   whatever, but it's not a kickback.

       3   BY MR. MARCUS:

       4   Q.   And why were you trying to comply with the safe harbor for

       5   employee agreements?

       6   A.   In other words, we wanted to be sure that the company's

       7   commission people were paid not as 1099s, but were W-2 employees

       8   in order to stay within the safe harbor.

       9   Q.   And what was the reason for that?

      10   A.   I mean the company -- that's exactly the advice the company

      11   was given by the health care counsel it retained.

      12   Q.   Did you follow all the advice that Frier Levitt gave to your

      13   company in January of 2015?

      14   A.   Yeah.

      15   Q.   Did you disregard any of their advice?

      16   A.   No, we went ahead and converted.

      17   Q.   And that conversion took --

      18             THE COURT:    Oh, it sounds like it's leading.

      19   BY MR. MARCUS:

      20   Q.   How long did that conversion take?

      21             THE COURT:    There you go.

      22                THE WITNESS:    It depends on -- I think there were some

      23   groups that were brought in as early as late March because they

      24   were smaller groups.        I think in Mr. Grow's case, it took

      25   another month but he had the largest group.
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       1   BY MR. MARCUS:

       2   Q.     Did you see anyone intentionally delay that process in any

       3   way?

       4   A.     Never.

       5   Q.     Do you have any reason to believe that Mr. Grow withheld any

       6   information about his business practices from your company

       7   throughout this time period?

       8   A.     I don't have any information on that.         I mean, again, I

       9   never heard of anything like that, that he had withheld any

      10   information.

      11   Q.     Were you concerned in January and February and March of 2015

      12   that your company was engaged in a criminal conspiracy?

      13   A.     No.   We were concerned that the company get, you know, into

      14   this W-2 safe harbor as quickly as possible, that's all.

      15   Q.     You were acting in good faith?

      16   A.     Yeah, absolutely.    Again, this is -- you know, business is

      17   full of challenges.       I mean, there are all kinds of challenges

      18   that come up.      It doesn't have to be a legal challenge, it could

      19   be a supplier issue or any number of things.            This is just

      20   another one of those things that come up.            It's a challenge and

      21   then it gets, you know, in this particular case, a high degree

      22   of focus and eventually we got it done.

      23                THE COURT:   Wrap it up.

      24   BY MR. MARCUS:

      25   Q.     This onboarding process, you said earlier it involved a lot
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       1   of time and expense to the company?

       2            THE COURT:     Well, that's leading, sustained, unless

       3   it's the last question.     Remember my rule.          I allow one leading

       4   question at the end.     Is it your last question?

       5            MR. MARCUS:     It's my last question, Your Honor.

       6            THE COURT:     All right.      You can answer it.      Do you

       7   remember it?

       8            THE WITNESS:     I didn't think he finished it.

       9            THE COURT:     Read back the question since you're there.

      10       (The question referred to was read by the reporter.)

      11            THE COURT:     The answer?

      12            THE WITNESS:     Yes.

      13            THE COURT:     Thank you, sir.           You are excused.   Have a

      14   safe trip back to Boston.

      15            THE WITNESS:    All right.         Thank you, sir.

      16       (The witness was excused.)

      17            THE COURT:     What say defense counsel?

      18            MR. RASHBAUM:    Judge, at this time we call Luis Green.

      19            THE COURT:     All right.      Right over here.      Right over

      20   here, your right, my left.       Raise your right hand, please, sir.

      21               LUIS GREEN, DEFENDANT'S WITNESS, SWORN.

      22            THE COURT:     Have a seat and tell us your name.

      23            THE WITNESS:     Good afternoon.           My name is Luis Steven

      24   Green.

      25                            DIRECT EXAMINATION
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       1   BY MR. RASHBAUM:

       2   Q.   Good afternoon.   Mr. Green, where are you from?

       3   A.   Originally from San Diego and I live now in Jacksonville.

       4   Q.   I want to bring you back to the end of 2014, 2015, early

       5   2015.    Where were you living then?

       6   A.   Jacksonville.

       7   Q.   And what was your job at that time?

       8   A.   I was working in the Navy.

       9   Q.   Sorry, I didn't hear you.     You have to speak right into that

      10   microphone.

      11   A.   I was in the Navy.

      12   Q.   Okay.    Did there come a time when you learned about

      13   compounded medications?

      14   A.   Yes, sir.

      15   Q.   When was that?

      16   A.   I guess it would be some time in like December of 2014 time

      17   frame.

      18   Q.   And what happened?   How did you learn about it?

      19   A.   I had a friend, her name was Sara, who I played beach

      20   volleyball with and she knew that I had some injury somewhere on

      21   my arm and she actually had -- came to me telling me about the

      22   products with the scar cream and the topical steroid.

      23   Q.   And did you apply to become a patient for those products?

      24   A.   I did, yes.

      25   Q.   Why specifically did you want the medications?      What was
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       1   wrong?

       2   A.   So I used to play semi-pro beach volleyball and so my right

       3   arm had some pretty bad issues when I used to play, so I

       4   actually had gone to the Navy doctors and they had told me that

       5   I needed to take six months off from playing all together.        So

       6   in that time frame, I stopped working out, stopped lifting, I

       7   lost about 15 pounds or so.     And also on my ankle, I had

       8   actually twisted it when I was on the aircraft carrier which led

       9   me to some physical therapy and stuff like that.

      10             So when she pursued me with that and she said, hey, I

      11   have a product that I think could be beneficial for you, you

      12   know, to get you back on playing, it sounded like something that

      13   just made sense to me.    And as far as scars, I had some scars on

      14   my glutes I was a little bit self-conscious about, so that's why

      15   I took those products.

      16   Q.   I know you're nervous.   Let's talk a little bit slower for

      17   the court reporter.

      18             THE COURT:   Oh, she can get it, she can get it.

      19             MR. RASHBAUM:   She's the best.

      20             THE COURT:   So just ask questions.

      21   BY MR. RASHBAUM:

      22   Q.   Did you fill out any paperwork before getting those

      23   medications?

      24   A.   I'm sorry.   Can you repeat the question?

      25   Q.   Did you fill out any paperwork when you applied for those
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       1   medications?

       2   A.   Yes, I did.

       3   Q.   What kind of paperwork did you fill out?

       4   A.   It was a questionnaire.     It was asking some basic

       5   information that Tricare would need, and then also the location

       6   of the pain, the scars and the products I would be taking.

       7   Q.   And did you speak with anyone before obtaining the

       8   medications?

       9   A.   Yes.

      10   Q.   Who did you speak to?

      11   A.   There's two different calls that I had.         I don't remember

      12   what was the order of them, but one was from a doctor who called

      13   and verified the information that was on the sheet, to verify

      14   that everything was correct.       Another one was from a Tricare

      15   representative, same questions, you know, making sure that

      16   everything was correct.      They would even ask questions like, you

      17   know, where is the pain at, where is the scars.          And then also

      18   asked, they also inquired towards the end of that, has anybody,

      19   you know, said that they're going to give you money or

      20   compensation for taking these products.          That was the questions.

      21   Q.   And had anyone given you any money to apply and get those

      22   products?

      23   A.   No.

      24   Q.   Why did you want the products?

      25   A.   I needed them.   I thought they were beneficial.
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       1   Q.   No, did the products work for you?

       2   A.   Yes, they did.

       3   Q.   Okay.     After the products worked for you, did there come a

       4   time when you decided you might want to become a representative

       5   selling those products?

       6   A.   Yes.

       7   Q.   Okay.    But when you got the products initially and when you

       8   used the products, you were not selling the products, right, you

       9   weren't a marketer?

      10   A.   Correct.

      11   Q.   You were just a patient, right?

      12   A.   Yes.

      13                MR. LARSEN:     Objection, leading.

      14                THE COURT:    It is leading, but I'm going to overrule it

      15   at this stage, but it's not an invitation to continue to lead.

      16                MR. RASHBAUM:    Yes, Your Honor.

      17   BY MR. RASHBAUM:

      18   Q.   What happened when you decided you wanted to become a

      19   marketer of these products?

      20   A.   I had gone back to Sara and I had asked her, you know, what

      21   if I wanted to be a rep, kind of like what you're doing, and she

      22   pretty much said, you know, just let me go ahead and talk to

      23   Monty, and then at that point everything, I guess, panned out.

      24   I spoke to Monty, he kind of did an interview over the phone,

      25   asked me, you know, what was --
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       1                MR. LARSEN:    Objection, hearsay.

       2                THE COURT:    Whose statements are we talking about,

       3   Mr. Rashbaum?      Who do you want to introduce, whose statement?

       4             MR. RASHBAUM:      I don't want to introduce any statement.

       5                THE COURT:    Okay.   Then I'll sustain the objection.

       6   Next question.

       7                MR. RASHBAUM:    I am showing you what's in evidence --

       8   well, Defense Exhibit 120, I'd like to offer it into evidence

       9                THE COURT:    Any objection to 120?

      10                MR. LARSEN:    No objection, Your Honor.

      11                THE COURT:    It will be admitted.

      12        (Defendant's Exhibit Number 120 was received in evidence.)

      13   BY MR. RASHBAUM:

      14   Q.   Okay.    I'm showing you Defendant's Exhibit 120 and, you know

      15   what, why don't we do this first.             Why don't you take a quick

      16   look at it and then I will put it on the ELMO.

      17   A.   Thank you.

      18   Q.   This is an email on March 10, 2015.            Tell the jury, if you

      19   remember, what this email is about.

      20   A.   So it's me writing to Monty and just expressing that I had

      21   done some research on the multivitamin and I even listed where I

      22   got the information from and just some of the benefits that

      23   were -- that, I mean, I really believed that it would be

      24   beneficial for a lot of different types of people, people

      25   suffering from, just based off of the research, different types
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       1   of brain malfunctions, people suffering from migraines,

       2   muscular --

       3   Q.   You don't need to read the document, but this was research

       4   you did before becoming a marketer, correct?

       5               THE COURT:   I'm sorry.    I didn't hear your answer.

       6   What are we doing?

       7               THE WITNESS:   This was research I had done, I think

       8   when the products were introduced.

       9   BY MR. RASHBAUM:

      10   Q.   Fair enough.    Okay.   And ultimately, were you able to sign

      11   up any other individuals?

      12   A.   Yes.   There was one other individual that I signed up.

      13   Q.   When you became a marketer, did Mr. Grow give you any

      14   materials regarding these products, if you recall?

      15   A.   Honestly, I don't remember.       I mean, I do remember doing a

      16   lot of research, but I can't remember if anything came from him

      17   specific.

      18   Q.   Did he give you any tax information, 1099 forms, or anything

      19   of that type?

      20   A.   Yeah, that was actually all done before any of the

      21   marketing.     He gave me a 1099 sheet to fill out.

      22   Q.   Did there come a time after you became marketing the product

      23   that you switched your tax situation or your employee situation?

      24   And if so, tell the jury what happened.

      25   A.   Yes.    So it was towards the last month -- I mean, I only did
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       1   it for about four months.        Towards the last month, it switched

       2   from a 1099 to a W-2, which at that point there was a transition

       3   to become employees of Patient Care America.       So it was just

       4   normal, I guess what you would kind of do for every single

       5   company that you kind of get hired for, the W-2 forms and also a

       6   drug test.     I don't know if that's relevant but --

       7   Q.   Did you ever use a survey to market this material?

       8   A.   Can you explain to me what you mean by survey?

       9   Q.   Well, did you ever offer people that you were marketing the

      10   material to enter into a survey program?

      11   A.   No.

      12   Q.   Did you ever meet or hear of a woman named Ginger Lay?

      13   A.   No, never heard that name.

      14               MR. RASHBAUM:   May I have one moment, Your Honor?

      15               THE COURT:   Sure.

      16   BY MR. RASHBAUM:

      17   Q.   I just want to make sure I understand your testimony.       You

      18   signed up one other marketer, correct?

      19   A.   Yes, sir.

      20   Q.   Did you sign up any other patients?

      21   A.   Yes.

      22   Q.   How many patients did you sign up?

      23   A.   I think it must have been somewhere between 25 to 30 or so.

      24   Q.   So you signed up some people who didn't become marketers,

      25   right?
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       1   A.   Yeah, I mean, only one of them out of them, so almost -- I

       2   mean, yeah, not very many.

       3   Q.   Do you remember how much money you made with regard to this

       4   marketing program?

       5   A.   It was somewhere in the realm of, I think, maybe 19 to

       6   21,000.

       7   Q.   I just have one last question:          Did Monty Grow ever ask you

       8   to do anything that you thought was illegal?

       9   A.   No.

      10              MR. LARSEN:     Objection, hearsay.

      11              THE COURT:    Overruled.

      12              MR. RASHBAUM:    No further questions, Your Honor.

      13              THE COURT:    Cross-examination.

      14                               CROSS-EXAMINATION

      15   BY MR. LARSEN:

      16   Q.   Good afternoon, Mr. Green.

      17   A.   Good afternoon, sir.

      18   Q.   You stated on direct that you got involved in this.          You

      19   were a volleyball player, you had volleyball injuries out in San

      20   Diego; is that right?

      21   A.   Well, I mean, I played volleyball since I was in San Diego,

      22   but this was in Jacksonville.

      23   Q.   Excuse me, in Jacksonville.

      24   A.   Well, the injury was in Jacksonville.

      25   Q.   So the time that you got involved, you were living in
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       1   Jacksonville?

       2   A.   Yes, sir.

       3   Q.   There's a large naval or medical base or medical facility on

       4   every base; isn't that right, Mr. Green?

       5   A.   The one I went to would be Mayport, there is one there, yes.

       6   Q.   There's a large naval station, large medical facility at

       7   Mayport, Jacksonville, isn't there?

       8   A.   Yes, sir.

       9   Q.   And did you go to the doctors at Mayport medical about these

      10   injuries you just testified about?

      11   A.   Yes, sir.

      12   Q.   Okay.    And did you ask them for these pain medications that

      13   you eventually signed up for?

      14   A.   No.     At the time when I had gone in they had actually --

      15   their recommendation was to take six months off, they gave me

      16   some regular pain pills, something like Tylenol or something

      17   along those lines just to ease the pain, but nothing really to

      18   remedy the issue.

      19                As far as the ankle is concerned, I was going to

      20   physical therapy when I was on the ship, but when I transitioned

      21   over to Mayport, that all subsided just because the daily

      22   routine was kind of hectic, so it was kind of hard to fit that

      23   in my schedule.      I kind of just figured that, you know, it was

      24   just going to be an ailment that I would have for, you know,

      25   long term.
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       1   Q.   Oh, wait.    You're saying you were too busy to go to the

       2   doctor?

       3   A.   No, I didn't say that.

       4   Q.   I'm sorry.    I just missed something you said about your

       5   schedule.    I just want to make sure I understand.

       6   A.   Yeah, I said that the schedule was hectic, so at that point

       7   I kind of came to the conclusion that this was just going to be

       8   something that I would just kind of have to deal with.

       9   Q.   Oh, okay.    So when you came back and you had this continuing

      10   pain problem, did you see your doctor on the base?       It's free,

      11   isn't it, to go to the doctor?

      12   A.   Yeah.   Well, taxpayers pay for it, but it's free to me, yes.

      13   Q.   Okay.   Did you go and see a doctor on the base for follow-up

      14   with these injuries?

      15   A.   Yes, sir.

      16   Q.   Did they prescribe you anything other than Advil or Tylenol?

      17   A.   I don't really remember what it was, but it was a

      18   prescription like for some type of pain remedy and they said

      19   that if need be, that they would probably suggest surgery after

      20   that time frame.

      21   Q.   Okay.   Let's fast-forward to when you met Sara, and Sara

      22   recommended these pain products to you; is that correct?

      23   A.   Well, I had already known her but, yes, she did recommend

      24   those products to me.

      25   Q.   On direct you talked about speaking to a doctor.      Was that a
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       1   man or a woman, do you remember?

       2   A.   It was a male.

       3   Q.   It was a male?

       4   A.   On the phone?

       5   Q.   The doctor that called you.

       6   A.   Oh, I don't remember.

       7   Q.   You don't know if it was a man or a woman?

       8   A.   No.   I thought you were referring to my provider on the Navy

       9   base.

      10   Q.   The telephone doctor that called you.

      11   A.   I don't remember if it was male or female, no.

      12   Q.   You never were physically examined by that doctor, were you?

      13   A.   No, it was a phone call.

      14   Q.   So you testified at some point you decided to become a sales

      15   rep for these products?

      16   A.   Yes, sir.

      17   Q.   Was it a pain cream, a scar cream and a vitamin product?

      18   A.   Well, at first it was just pain cream and then the scar

      19   cream and then the multivitamin was introduced later.

      20   Q.   Okay.   Now, at the time you became a sales rep for these

      21   products, you weren't experienced in pharmaceutical products at

      22   all, were you?

      23   A.   No, sir.

      24   Q.   You didn't have any experience in marketing these products,

      25   did you?
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       1   A.   Not like official training on them, no.

       2   Q.   The defendant never trained you on marketing any of these

       3   products or how they worked, did he?

       4   A.   I guess training, no.     There wasn't like a training course

       5   for it, no, sir.

       6   Q.   He didn't train you, did he?       It's a yes or no question.

       7   A.   Oh, I mean, there was not a training process for it, no.

       8   Q.   In fact, it looks like you trained Monty.       In this email

       9   that counsel showed you from March 10, 2015, you're talking

      10   about the research that you did on these products and how you

      11   believe that knowing the product would give us all an ability to

      12   better market our product.      So you're training the defendant;

      13   isn't that right?      That's what this email looks like.

      14   A.   I mean that sounds somewhat presumptuous.

      15   Q.   Is it yes or no?

      16   A.   I mean, I don't know what he did and didn't know as far as

      17   that's concerned.      I mean, he may have known that stuff.    In a

      18   lot of conversations that we had via conference call, he would

      19   explain some of those benefits that are listed on there, but I

      20   personally took the initiative to take myself into a better role

      21   to understand the products myself.

      22   Q.   Why did you email him about the benefits of the vitamin if

      23   you weren't telling him how it worked and about your research?

      24   A.   Have you taken a look at the link?

      25   Q.   I see the link.
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       1   A.   It's countless, countless amount of pages that obviously I

       2   wasn't sure if he knew everything on all those pages, but I felt

       3   that it was a lot of benefit for anybody to know and it was

       4   really more I felt that it could be given to the other reps as

       5   well.      I just thought it was so beneficial.

       6   Q.   Okay.     So you testified that you at some point became an

       7   employee of this pharmacy, Patient Care America?

       8   A.   Um-hum.

       9   Q.   You didn't get any training from Patient Care America, did

      10   you, on these products?

      11   A.   No.

      12   Q.   I'm sorry?

      13   A.   No.

      14   Q.   Did you get any training or you didn't get any training

      15   from --

      16   A.   We did get training as far as like HIPAA compliance.

      17   Q.   Do you know what HIPAA is?

      18   A.   Excuse me?

      19   Q.   What's HIPAA?

      20   A.   HIPAA compliance?

      21   Q.   What is HIPAA?

      22   A.   Well, it really goes based off of what needs to be secure

      23   and what doesn't need to be secure.             So as far as documentation,

      24   it ensures that you're not revealing sensitive information and

      25   that you're not leaving loose-leaf papers that contain people's
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       1   Social Security number or things of that nature.

       2   Q.   Okay.    Now, did you receive training on their products, the

       3   pain cream, the scar cream, the vitamin products, from Patient

       4   Care America after you became an employee?

       5   A.   Not that I remember, no.

       6   Q.   Did you ever go to the pharmacy?

       7   A.   No.

       8   Q.   Isn't it true that the money that you received in your

       9   paychecks from Patient Care America were really just money paid

      10   to you for what you were doing for the defendant before the

      11   conversion?

      12   A.   Can you restate that again?

      13   Q.   The money you received as an employee of Patient Care

      14   America was really payment for what you were doing for the

      15   defendant before you got hired, correct?

      16   A.   I mean, I wouldn't jump to that assumption, no.      I mean,

      17   it's one company to another company, so I went to a different

      18   company and then they started paying me for the things that were

      19   given to that company.

      20   Q.   Were you actually going out in the field and bringing in

      21   patients for Patient Care America?

      22   A.   Yes.

      23   Q.   Okay.    How many?   Can you name some names?

      24   A.   I mean --

      25   Q.   You mentioned 20 to 25 people that you brought in.       Just
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       1   give us some names of these people.

       2   A.   I mean, there's Chantingua (phonetic), which is a guy that

       3   was actually one of the reps.

       4   Q.   He was a rep, right?    So he is another rep.    So you brought

       5   in a patient who then became a rep to make money for himself?

       6   A.   Yeah.

       7   Q.   Okay.    Give us another name.

       8   A.   There was Sean, who is also a military member who I worked

       9   with.

      10   Q.   Was he also a rep?

      11   A.   No.     Only one out of the almost 30 were reps, sir.

      12   Q.   Okay.     Some other names.

      13   A.   There was Johnson and then his wife also, she had scars.

      14   Q.   You signed up a husband and his wife?

      15   A.   Yeah.    He had scars on his inner armpit from lifting and

      16   then his wife had scars on her stomach from pregnancy.

      17   Q.   Did Mrs. get paid for Mr.'s prescription, do you know?

      18   A.   No.     I mean, I signed them up.

      19   Q.   So you got paid for both of them?

      20   A.   Correct.    I signed them up.

      21   Q.   What was your percentage, do you know?

      22   A.   Honestly, I don't remember what it was.

      23   Q.   You made over $20,000; isn't that true?

      24   A.   Yes, sir, about 21 or so I think; 19, 21, 20.

      25   Q.   You're not working for Patient Care America anymore, are
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       1   you?

       2   A.     No, sir.

       3   Q.     Do you know why you were let go?

       4   A.     Well, I am guessing that it wasn't beneficial for the

       5   company.

       6   Q.     Is it true --

       7   A.     That's usually why you let people go.

       8   Q.     Isn't it true you were told that Tricare stop paying for

       9   these products, and therefore, everyone was let go?

      10   A.     Yeah.

      11                MR. LARSEN:    Nothing further, Your Honor.

      12                THE COURT:     Any redirect?

      13                MR. RASHBAUM:     Just one question, Your Honor.

      14                                REDIRECT EXAMINATION

      15   BY MR. RASHBAUM:

      16   Q.     Those patients that you brought on, none of these patients

      17   got paid any money, right?

      18   A.     No.

      19                MR. RASHBAUM:    No further questions, Your Honor.

      20                THE COURT:    Thank you, sir, have a good day, and thank

      21   you for serving in the Navy.

      22                THE WITNESS:    Thank you, sir.

      23                THE COURT:     What say defense counsel?

      24                MR. RASHBAUM:     We would call Sal Davila.

      25                THE COURT:     Right over here, please, sir, your right,
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       1   my left.    Thank you.     Raise your right hand, please.

       2              SALVADOR DAVILA, DEFENDANT'S WITNESS, SWORN.

       3              THE COURT:     Okay.   Have a seat and tell us your name

       4   and how you spell your last name.

       5              THE WITNESS:     Salvador Davila, last name, D-a-v-i-l-a.

       6              THE COURT:     Is that with a capital V, too?

       7              THE WITNESS:    No, sir.

       8              THE COURT:     Capital V or without?

       9              THE WITNESS:    No, sir.

      10                              DIRECT EXAMINATION

      11   BY MR. RASHBAUM:

      12   Q.   Mr. Davila, where do you live?

      13   A.   Pensacola.

      14   Q.   What do you do for a living?

      15   A.   I am a personal trainer.

      16   Q.   Have you ever heard of a company called MGTEN?

      17   A.   Yes, sir.

      18   Q.   What is MGTEN?

      19   A.   To my understanding, it was a company owned by Monty, and he

      20   helped supply compounding medications.

      21   Q.   Have you ever met Monty Grow?

      22   A.   No, sir.

      23   Q.   Did there come a time when you became a marketer for MGTEN?

      24   A.   Yes, sir.

      25   Q.   When was that?
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       1   A.   Roughly, I believe 2014.      I don't remember the month.

       2   Q.   And how did you become introduced to MGTEN?

       3   A.   It was introduced by a gentleman named Ryan Long.

       4   Q.   And after you became introduced to it, what happened next?

       5   A.   I did my research on it and decided to be a part of it.

       6   Q.   And in what way did you become a part of MGTEN?

       7   A.   Basically, looking for people that were interested in

       8   compound scar creams and pain creams and vitamins.

       9   Q.   And when you became a marketer for MGTEN, did you receive

      10   any paperwork from Mr. Grow?

      11   A.   I was supposed to be a 1099.

      12   Q.   And did you fill out that paperwork?

      13   A.   Yes, sir.

      14   Q.   And ultimately, did you bring people in to the MGTEN

      15   company?    Let me rephrase.

      16              Did you find people to market the MGTEN products?

      17   A.   No, sir.

      18   Q.   Did you find patients for the MGTEN products?

      19   A.   Yes, sir.

      20   Q.   How many patients, give or take, did you find that needed

      21   the MGTEN products?

      22   A.   Roughly, give or take, maybe 20, 30.

      23   Q.   Out of those 20 or 30 patients that you brought in to MGTEN,

      24   did a single one of people, did any of those people become

      25   marketers?
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       1   A.   No, sir.

       2   Q.   How did you find the patients?

       3   A.   Just asking around.

       4   Q.   And did you ask around anyplace in particular?

       5   A.   For me, mainly it was the gym that I was working at.

       6   Q.   Did you ever get any complaints from the patients that you

       7   brought in regarding not being --

       8             MR. LARSEN:     Hearsay.

       9             THE COURT:    You have to wait for the question.

      10             Regarding what?

      11   BY MR. RASHBAUM:

      12   Q.   Did you ever get any complaints from the patients that you

      13   brought in?

      14             THE COURT:    What's the objection?     Now you state the

      15   objection.

      16             MR. LARSEN:     The objection is hearsay, Your Honor.

      17             THE COURT:    How is that not hearsay?

      18             MR. RASHBAUM:     I will move on.

      19             THE COURT:    Sustained.

      20   BY MR. RASHBAUM:

      21   Q.   When you brought in patients, what did you tell them?

      22   A.   It was a matter of just asking them if they had any pain or

      23   if they had any scars that they might have wanted to almost

      24   diminish or lighten; and if so, I was instructed to fill out an

      25   intake form, so they would fill it out and I would submit it.
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       1   Q.   And did you pay any of these patients to get the products?

       2   A.   No, sir.

       3   Q.   Did you receive compensation from this marketing program?

       4   A.   Yes, sir.

       5   Q.   Did there come a time when your 1099 status changed to a W-2

       6   status?

       7   A.   Yes, sir.

       8   Q.   And what do you recall about that?

       9   A.   I want to say it was roughly around maybe 2015, we were told

      10   by Monty that we were switching over to a W-2.

      11             THE COURT:     Who told you that, do you remember?

      12             MR. RASHBAUM:    The judge asked who told you that.

      13             THE COURT:     Who told you that, do you remember?

      14             THE WITNESS:     It was through a conference call.

      15             THE COURT:   With whom?

      16             THE WITNESS:    With Monty, along with some other people

      17   that I don't know.

      18             THE COURT:   All right.

      19   BY MR. RASHBAUM:

      20   Q.   And how much in total do you recall did you get paid by

      21   MGTEN?

      22   A.   Roughly, give or take, maybe 15, 20,000.

      23             MR. RASHBAUM:    No further questions, Your Honor.

      24             THE COURT:     Cross-examination, Mr. Larsen.

      25                              CROSS-EXAMINATION
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       1   BY MR. LARSEN:

       2   Q.   Good afternoon, Mr. Davila.       Davila?

       3   A.   Davila.

       4              THE COURT:   See, it was spelled wrong, that's why.

       5   They separated it in two in a piece of paper.       That's why we

       6   were confused.      My apologies.   Davila, with the accent on the

       7   first A.

       8   BY MR. LARSEN:

       9   Q.   Mr. Davila, you just testified that you made about $15,000

      10   out of this scheme; is that right?

      11   A.   From MGTEN?

      12   Q.   Oh, okay.     Was there a difference in -- how much did you

      13   make total?

      14   A.   I don't remember if I got paid by a pharmaceutical company

      15   that we switched over when we went to W-2s, but if I did, it

      16   would have been probably about a total of 30, 35.

      17   Q.   Let me show what's been admitted in evidence as Government's

      18   Exhibit Number 161.      Do you see your name here?   Is this you,

      19   Salvador Davila?

      20   A.   Yes, sir.

      21   Q.   I apologize.    Does that refresh your recollection?     41,360,

      22   is that what you got paid?     Sound about right?

      23   A.   I mean, I don't remember but if --

      24   Q.   Do you have any reason to dispute that?

      25   A.   No, sir.
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       1   Q.     Now, so you stated on direct that you met or were introduced

       2   to this program through your friend Ryan?

       3   A.     Through Ryan.

       4   Q.     Ryan at the gym; is that right?

       5   A.     Yes, sir.

       6   Q.     And you got what, six percent commission on anything you

       7   referred; is that right?

       8   A.     I don't recall the percentage.

       9   Q.     You stated that you researched these products and you

      10   decided you wanted to become a part of it.      Isn't it true you

      11   did this because you wanted to make money?      Isn't that true?

      12   That's the reason you decided to become a part of this?

      13   A.     That would be a part of it, yes, sir.

      14   Q.     And the primary thing that you needed to know to be a part

      15   of this was people with Tricare; isn't that true?

      16   A.     Correct.

      17   Q.     If you didn't know anybody in Tricare this was a dead-end

      18   deal; isn't that right?

      19   A.     I guess so, yes, sir.

      20   Q.     And you never received any training on these products, did

      21   you?

      22   A.     No, sir.

      23   Q.     You testified that you were looking for people that might

      24   benefit from these products, but you didn't know anything about

      25   these products, did you?
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       1   A.   I read up on them a little bit on a pamphlet that was given

       2   to me.

       3   Q.   Who gave you the pamphlet?

       4   A.   I don't recall if it came from Ryan or from Monty.

       5   Q.   You don't have any medical or marketing background, do you?

       6   A.   No, sir.

       7   Q.   And like you said, you weren't looking for people that

       8   didn't have Tricare; isn't that right?

       9   A.   That's correct.

      10   Q.   Because nobody was going to pay $5,000 for a 30-day supply

      11   of vitamins; is that right?

      12   A.   If that's how much they were then, yeah, that would be

      13   correct.

      14   Q.   Would you pay $5,000 for a 30-day supply of vitamins?

      15   A.   Probably not.

      16   Q.   Would you pay $17,000 for a tube of scar cream?

      17   A.   Probably not, but I don't have that kind of money.

      18   Q.   Did you know how much these products cost?      You didn't know?

      19   A.   No, sir.

      20   Q.   Well, wasn't the main issue that you were paid on how much

      21   these products cost?    You knew how much you were going to get

      22   paid, right?

      23   A.   I just knew that I was going to get paid on these products.

      24   Q.   Okay.   So the more people with Tricare you find, the more

      25   money you make, right?
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       1   A.     Correct.

       2   Q.     Did you know that the defendant was selling products to the

       3   pharmacy?

       4               MR. RASHBAUM:    Objection, Your Honor, outside the scope

       5   of direct.

       6               THE COURT:     Overruled.     Go ahead.      You can answer the

       7   question.

       8               THE WITNESS:    I'm sorry.       Could you repeat that?

       9   BY MR. LARSEN:

      10   Q.     Did you know whether or not the defendant was selling

      11   products to the pharmacy that was dispensing these creams?

      12   A.     No, sir, I did not know that.

      13   Q.     Did you know that the defendant was using telemedicine

      14   doctors that he was paying to issue the prescriptions?

      15   A.     No, sir, I did not know that.

      16   Q.     Did you know that the patients were not seeing the doctors

      17   that you were referring?

      18   A.     Yes, sir.

      19               MR. LARSEN:     That is all I have, Your Honor.           Thank

      20   you.

      21               THE COURT:     Redirect.

      22               MR. RASHBAUM:    I have no further questions, Your Honor.

      23               THE COURT:     Thank you, sir.         You are excused,

      24   Mr. Davila.

      25          (The witness was excused.)
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       1              THE COURT:     What say you?

       2              MR. RASHBAUM:    Judge, may we have one moment?

       3              THE COURT:     Sure.

       4              MR. RASHBAUM:    Judge, we'd like to put in some

       5   recordings of the defendant.

       6              MR. JUENGER:    Objection, hearsay, Your Honor.

       7              THE COURT:     Do you have any witnesses?

       8              MR. RASHBAUM:    Judge, our next witness -- Monty Grow

       9   will be our next witness, Your Honor.

      10              THE COURT:   Okay.      Call him on the stand, if that's

      11   what he wants to do.       He doesn't have to.

      12              Raise your right hand, please, sir.

      13                MONTY RAY GROW, DEFENDANT HEREIN, SWORN.

      14              THE COURT:     Okay.    Have a seat and tell us your name,

      15   please.

      16              THE WITNESS:     Monty Grow.           M-o-n-t-y, G-r-o-w.

      17              THE COURT:     Thank you, sir.

      18                              DIRECT EXAMINATION

      19   BY MR. RASHBAUM:

      20   Q.   Good afternoon, Mr. Grow.

      21   A.   Good afternoon.

      22   Q.   How old are you?

      23   A.   46.

      24   Q.   Where are you from?

      25   A.   I grew up in Inverness, Florida.
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       1   Q.   Tell me a little bit about your family.     Are you married?

       2   A.   I am single.     I have a seven-year-old daughter.

       3   Q.   How far did you go in school?

       4   A.   I graduated from the University of Florida.

       5   Q.   What years, if you recall, were you at the University of

       6   Florida?

       7   A.   I was there from 1989 to 1993.

       8   Q.   What did you do after attending the University of Florida?

       9   A.   I played professional football for the Kansas City Chiefs

      10   and the Jacksonville Jaguars.

      11   Q.   What position?

      12   A.   I was a defensive back.

      13   Q.   How long were you in the NFL for?

      14   A.   Two years.

      15   Q.   Why such a short career?

      16   A.   I suffered a knee injury that ended my career.

      17   Q.   After your football career, what did you do?

      18   A.   At first, I did some real estate investing through my mother

      19   who is a real estate broker, and at some point in time I took a

      20   job with a company called Precision Orthopedics in Tampa,

      21   Florida.

      22   Q.   And what did Precision Orthopedics do?

      23   A.   They sold orthopedic implants such as total knee

      24   replacements, total hip replacements, arthroscopy equipment,

      25   sports medicine things for things like ACL repairs, rotator cuff
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       1   repairs, things like that.

       2   Q.   Who did they sell this equipment to, patients or to doctors?

       3   A.   We called on physicians.     We would go into physician offices

       4   and show them our different equipment, our implants, the

       5   features and benefits of those; and if they chose to use those

       6   on those particular patients, then they would.

       7   Q.   How were you paid at Precision?

       8   A.   I was paid on commissions.      So I was 100 percent commission.

       9   Q.   After working at Precision Orthopedics -- I think you said

      10   you were there until around 2005 -- what did you do next?

      11   A.   Well, it was suggested by a physician that I stop working

      12   for them because I was suffering from a lot of stress, extremely

      13   high blood pressure and whatnot.         So he requested that I take

      14   some time off.    So I actually wasn't doing much.       I was

      15   investing.    So I did invest in a company called Community Oxygen

      16   & Medical, which is a durable medical equipment company, with a

      17   partner of mine named Laurene Holder.

      18   Q.   And that was the woman who testified here yesterday, I

      19   believe?

      20   A.   Yes.   At that point in time her name was Laurene Holder.         I

      21   believe she went back to her maiden name, Laurene Long.

      22   Q.   What did Community Oxygen & Medical do?

      23   A.   They sold durable medical equipment, things like

      24   wheelchairs, walkers, things like that, as well as oxygen

      25   supply.
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       1   Q.   And what was your role at this company?

       2   A.   My goal was hopefully that it would be successful and I

       3   could essentially earn a living off of the income that it was

       4   able to bring in.     I was not really an active participant in it.

       5   Our agreement was that we were 50/50 owners, and Ms. Holder

       6   would help in running the business with a consultant that we had

       7   hired to be our kind of CEO and run the day-to-day operations.

       8   Q.   How much did you invest in Community Health?

       9   A.   I believe overall it was approximately $180,000.

      10   Q.   And did there come a time when you sold your interest in the

      11   company?

      12   A.   I did.   I believe that was in 2010.       I had received some of

      13   my investment back and then I was -- my shares were purchased

      14   from Ms. Holder and another investor I believe for about 210,

      15   $220,000.

      16   Q.   So you made a little bit of money in the company?

      17   A.   I did.

      18   Q.   Now, I'm showing you what's in evidence as Government's

      19   Exhibit 2.    Do you recall seeing this document in court

      20   yesterday?

      21   A.   I believe so.

      22   Q.   Let me just --

      23              MR. RASHBAUM:   May I approach, Your Honor?

      24              THE COURT:   Sure.   Permanent permission to approach all

      25   witnesses.
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       1             MR. RASHBAUM:   Thank you, Your Honor.     I appreciate it.

       2   BY MR. RASHBAUM:

       3   Q.   Just take a quick look through to make sure that it's the

       4   document that you saw.

       5   A.   I believe it is, yes.

       6   Q.   And is this a document that you signed while at Community

       7   Health?

       8   A.   I think the document was signed when we first started.       It

       9   was a requirement.

      10   Q.   And this would be your signature here?

      11   A.   Yes, it is.

      12   Q.   And the document is around 40 pages long, 39 pages long?

      13   A.   It looks to be that, yes.

      14   Q.   Now, when you signed this document -- do you have any

      15   particular memories about it?       Was it a big moment in your life?

      16   A.   I don't recall seeing it really or -- you know, not really.

      17   Q.   Do you recall why you had to sign this document?

      18   A.   I was told by our CEO who was running the business --

      19             MR. JUENGER:    Objection, hearsay, Your Honor.

      20             THE COURT:   Overruled.     State of mind exception.

      21   A.   -- that it was required for anybody who owned more than 5

      22   percent of the company, that they're required to sign those

      23   forms.

      24   Q.   When you signed this document -- and it talks about in here

      25   Medicare laws, talks about the Federal Anti-Kickback Statute and
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       1   the Stark law -- were you provided with any additional

       2   information about this stuff?

       3   A.   No, I was not.

       4   Q.   Were you given any training on this information?

       5   A.   No, I was not.

       6   Q.   Mr. Grow, what's your degree in?           Did you get a degree from

       7   the University of Florida?

       8   A.   I did.    I graduated with a degree in physiology.

       9   Q.   Do you have a law degree?

      10   A.   I do not.

      11   Q.   So when you signed this, do you even recall reading all of

      12   this stuff?

      13   A.   I do not.

      14   Q.   But nonetheless, you signed it on February 1, 2005, correct?

      15   A.   Yes.

      16   Q.   And when you signed this document, did you know whether you

      17   were signing -- whether the document was referring to civil laws

      18   or criminal laws?     Any idea about that?

      19   A.   I had no idea.

      20   Q.   After working at Community Health -- or I shouldn't say

      21   working.      After investing in Community Health, what did you do

      22   next?

      23   A.   I actually started doing some consulting work for a company

      24   called InforMD Solutions out of Louisiana, Baton Rouge.

      25   Q.   And what was InforMD?
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       1                I'm going to call it InforMD for short, okay?

       2              What was InforMD?

       3   A.   InforMD was a company who basically was a marketing group,

       4   and they had different products that they marketed to

       5   physicians.

       6   Q.   Did they market to patients as well or just physicians?

       7   A.   Just physicians.

       8   Q.   And how big was InforMD?

       9   A.   At that point in time, I believe they probably had 30 to 40

      10   marketers.

      11   Q.   Now, I'm fast-forwarding a bit, but at a later point in time

      12   when you worked for them again, did they get much larger?

      13   A.   Yes, actually, when I was reapproached by them in 2014, at

      14   that point in time they said that they had approximately 3,000

      15   marketers across the country.

      16   Q.   Okay.    Now, let me bring you back to your first time at

      17   InforMD.      How long did you stay at InforMD that first time?

      18   A.   I think I marketed for them approximately six or eight

      19   months.

      20   Q.   And were you successful in your marketing for them?

      21   A.   I was.

      22   Q.   Why did you decide to leave?

      23   A.   I was marketing a product for them which is called Physician

      24   Dispensing.     It's basically for physicians who see workers'

      25   compensation patients within their practice; and with this, it
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       1   allowed the physician to be able to write prescriptions and fill

       2   them from their office, that way they can ensure that the

       3   workmen's compensation patients were actually receiving their

       4   medications.

       5   Q.   And did there come a time that you left InforMD?

       6   A.   Yes, I did.

       7   Q.   And why did you leave?

       8   A.   What happened was there was several, I guess, law changes,

       9   things like that, that occurred which really changed the whole

      10   business structure for physicians to be able to dispense

      11   medications out of their office.        It had a lot to do with

      12   opioids and things like that.      They couldn't write certain

      13   prescriptions out of their office anymore.        So really the

      14   business was not viable anymore.

      15   Q.   But you made good money at InforMD when you were there,

      16   correct?

      17   A.   I did.

      18   Q.   Now, after leaving InforMD, what did you do next?       Did you

      19   have another business venture?

      20   A.   I did.    I started a business with my brother called

      21   Grow-Chem.

      22   Q.   And tell us a little bit about that venture.

      23   A.   So that company was a company -- we sold agricultural

      24   products, and we basically focused on products for citrus

      25   growers and I started the company with my brother, although
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       1   really I was running everything, and I moved to Stuart, Florida

       2   and opened up an office in Okeechobee.

       3   Q.   And how did that company do?

       4   A.   We started out very well.     I think I profited maybe $420,000

       5   in the first month and a half, two months.

       6   Q.   And what happened over time to that company?

       7   A.   Unfortunately, the weather wasn't very good to us that year

       8   and the citrus growers that we were calling on had a bad freeze

       9   and so they lost most of their crops.          And our business

      10   structure, the way that we marketed our products, really kind of

      11   took the advantage away from us because the international ad

      12   companies that we were competing against were able to make --

      13   they were able to make financing agreements with the citrus

      14   growers so they could finance the cost of their products over a

      15   course of time because they had lost all their crops.             We were

      16   not able to compete with giving those types of terms over a long

      17   course of time.   So it really destroyed our business model.

      18   Q.   But you were still able to make a decent amount of money in

      19   that venture, correct?

      20   A.   420,000 in a couple of months, yes.

      21   Q.   Now, after this chemical, Grow chemical company, what

      22   happened next?

      23   A.   After we shut down the company, I moved from Stuart back to

      24   Pinellas County, which is like St. Petersburg, Clearwater area.

      25   Q.   And what did you do when you moved back to the Clearwater
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       1   area?

       2   A.   Initially, I didn't do anything.           I was having some health

       3   issues.   So I kind of took time off.           I had a newborn baby who

       4   was, you know, approximately eight months old at the time, and

       5   so really I was staying home with her and trying to get better.

       6   Q.   And did you go back to school at that point in time and get

       7   your degree?

       8   A.   I did.    When I originally left the University of Florida to

       9   go play for the Kansas City Chiefs, I had not graduated from

      10   college yet, and so I used that time that I was not employed, I

      11   used that time to finish my classes online and I was able to get

      12   my degree at that point in time.

      13             MR. RASHBAUM:    May I have one moment, Your Honor?

      14             THE COURT:    Sure.

      15   BY MR. RASHBAUM:

      16   Q.   Now, I think throughout this trial you've seen the

      17   Government has introduced Government's Exhibit 168.           What is

      18   this?

      19   A.   That's my current home.

      20   Q.   Okay.

      21             THE COURT:    Is there an exhibit number or part of the

      22   Government's or what?

      23             MR. RASHBAUM:    It's already in evidence, Your Honor.

      24   It's Government's Exhibit 168.

      25             THE COURT:    Okay.   Thank you.
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       1   BY MR. RASHBAUM:

       2   Q.   Is that your current home?

       3   A.   Yes.

       4   Q.   Now, going back to this time before you even had MGTEN and

       5   we've heard how you made considerable wealth at MGTEN -- I'd

       6   like to put into evidence now Defendant's Exhibit 201.

       7               MR. RASHBAUM:   I don't think there's an objection, Your

       8   Honor.

       9               MR. JUENGER:    No objection, Your Honor.

      10               THE COURT:   Okay.   No objection to 201.

      11               MR. RASHBAUM:   Yes, this is Defendant's Exhibit 201.

      12               THE COURT:   Okay.

      13        (Defendant's Exhibit Number 201 was received in evidence.)

      14   BY MR. RASHBAUM:

      15   Q.   Can you tell the jury what Defendant's Exhibit 201 is?

      16   A.   That was a previous home of mine I believe in maybe the

      17   years 2004 to 2009, something like that.

      18   Q.   Is it fair to say that before even founding MGTEN, you had a

      19   considerable amount of wealth in part from your football career

      20   and from the prior companies that you had worked with?

      21   A.   I would consider myself successful.

      22   Q.   Now, taking you further through the chronology --

      23               MR. RASHBAUM:   May I have one moment, Your Honor?    I'm

      24   sorry.

      25               THE COURT:   Sure.
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       1              MR. RASHBAUM:   I am losing my mind.

       2   BY MR. RASHBAUM:

       3   Q.   Did there come a time when you started to feel a little bit

       4   better and decided it's time to go back to work?

       5   A.   I wouldn't really call it as feeling better, but I did feel

       6   like it was time to go back to work, yes.

       7   Q.   And so in early 2014, what did you do?

       8   A.   In early 2014, I was approached by a man named Rick

       9   Massengale who owned the company InforMD Solutions that I

      10   previously worked for.

      11   Q.   And did Mr. Massengale hire you back to work again for

      12   InforMD?

      13   A.   He did.   He offered me a position to market the compounding

      14   prescriptions for him and his company.

      15   Q.   And when you say compounding prescriptions that you were

      16   going to be marketing for InforMD, tell the jury specifically

      17   what you're talking about.

      18   A.   Basically, what we would do -- I had worked with InforMD

      19   Solutions previously and Rick Massengale was the owner of the

      20   company.    He knew that I had previous sales experience calling

      21   on physicians.    So he asked me if I would like to, you know, get

      22   involved and reach out to some of the physicians that I

      23   previously had worked with and see if the compounding

      24   prescriptions would be something that they would like to have in

      25   their practice for their patients.
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       1   Q.   And so in InforMD, just to be clear, were you marketing to

       2   patients?

       3   A.   No, I was not.

       4   Q.   Who were you only marketing to?

       5   A.   To physicians.

       6   Q.   And what did you find would happen when you were marketing

       7   to -- what did you find would happen when you marketed to those

       8   physicians?

       9   A.   Well, when Mr. Massengale first approached me about

      10   marketing the products, he told me a little bit about them and

      11   explained to me that these were medications that, you know,

      12   could benefit patients because they were non-narcotic, they were

      13   non-toxic, and they were an alternative to opioids, so that

      14   physicians, you know, were really liking the products because it

      15   gave them another solution.

      16             So I reached out to a couple of physicians that I had

      17   worked with, you know, years past when I was in the orthopedic

      18   business; and they confirmed that they were already writing

      19   these prescriptions in their practice, they were using them, and

      20   they had good success with them.

      21               So I also -- what I did was I reached out to several

      22   other friends of mine that were current sales representatives

      23   for Precision Orthopedics, the old company that I used to work

      24   for, and I asked them if they would reach out to some of their

      25   physicians and ask them if they were currently using the
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       1   products and what type of experience they had with those.

       2   Q.   Did you learn anything about a program called Tricare while

       3   working at InforMD?

       4   A.   I did.

       5   Q.   What did you learn about Tricare?

       6   A.   When Mr. Massengale first started talking to me about

       7   compounding, what it was and things like that, he informed me

       8   that some insurances at that point in time were paying for the

       9   medications, some weren't.    But he singled out that Tricare was

      10   the best payer because a lot of the other insurance companies,

      11   depending on what type of plan you had -- there are so many

      12   different plans, you know, with Blue Cross Blue Shield or Aetna,

      13   different things like that -- sometimes they might get approved,

      14   sometimes they wouldn't.    And he said that Tricare would always

      15   get approved if a doctor, you know, wrote a prescription.

      16   Q.   Now, in the beginning when you were working at InforMD, it

      17   was more than Tricare paying for these compound pharmaceuticals,

      18   correct?

      19   A.   That's correct.

      20   Q.   And some private insurances were paying for them as well; is

      21   that fair to say?

      22   A.   Yes, yes.

      23   Q.   With regard to all of the payments made by any of these

      24   insurance companies, did you have anything to do with how much

      25   these insurance companies would reimburse for the particular
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       1   products?

       2   A.   No, I had no control over that.

       3   Q.   Did you have anything to do with setting the price for these

       4   products?

       5   A.   No.

       6   Q.   Did you have anything to do with submitting claims for any

       7   of these products?

       8   A.   No.

       9   Q.   Now, I think you said when you were back in InforMD, you

      10   would market the products directly to doctors.       Did you find

      11   that to be easy or difficult?

      12   A.   It was difficult.     It wasn't because the doctors didn't want

      13   to use it.     The problem was -- for me, it's that they were

      14   already using it.    So pretty much every physician that I was

      15   going to already had a current relationship with another

      16   salesperson who had been coming to their office and providing

      17   them with the compounding services.

      18   Q.   And so --

      19               THE COURT:   All right.    Let me interrupt you.   It's

      20   close to 6:00.    I take it you're probably not finished, right?

      21              MR. RASHBAUM:    No, Your Honor.

      22              THE COURT:    How long do you think you'll be?      I'm not

      23   limiting you.    I'm merely inquiring.

      24              MR. RASHBAUM:    I'm really not sure, but it will be

      25   awhile.
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       1            THE COURT:    All right.     So what I'm going to say is I'm

       2   going to send you home.      It's still light out.         And remember,

       3   tomorrow morning you can sleep in.            We'll start at 10:30.     So

       4   Shirley Christie will take you to the jury room and then we've

       5   got my old courtroom back.     This has been a fine courtroom, and

       6   I'm happy that Judge Graham allowed me, but we'll be back.

       7            So take your notebooks and all your belongings.               If you

       8   left anything in this jury room, take it with you to the other

       9   jury room, okay?

      10            Don't talk about it.      Don't look at anything about it.

      11   Don't google.   All right?     You know.        See you tomorrow, 10:30.

      12            THE COURT SECURITY OFFICER:           All rise.

      13      (The jury retired from the courtroom at 5:57 p.m.)

      14            THE COURT:    All right.     Sir, you may sit down with your

      15   lawyers, please.   Thank you.

      16            MR. RASHBAUM:    May I sit down, Your Honor?

      17            THE COURT:    Sure.

      18            MR. RASHBAUM:    Thank you.

      19            THE COURT:    Okay.    All the jurors have left.         Are you

      20   going to call any other witnesses in this case?

      21            MR. RASHBAUM:    It kind of depends, but probably not,

      22   but, you know, I don't want to commit to that.

      23            THE COURT:    Well, who would you call?           How about

      24   telling your opponent?

      25            MR. RASHBAUM:    No, I don't mind telling him.          I really
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       1   wouldn't know until after Mr. Grow is crossed.

       2              THE COURT:    All right.

       3              MR. RASHBAUM:    But again, Judge, in all candor, I hope

       4   to not call anyone else.

       5              THE COURT:    All right.      Did you all get a chance to do

       6   anything with the jury instructions?             Do you remember those

       7   sheets after Rule 29?

       8              MR. LARSEN:     Judge, I looked at them over lunch.         I had

       9   a couple of small changes.

      10              THE COURT:    Okay.     Any big things?

      11              MR. LARSEN:     No.   Just some typos and --

      12              THE COURT:    Okay.     All right.      Cut out the sheets.

      13              How about from the defense?

      14              MR. MARCUS:     We'll be submitting some additional

      15   instructions.

      16              THE COURT:    No, that's not what I asked.         That's not

      17   what I asked.      You've got that until tomorrow.        What about

      18   problems with it?

      19              Cut out the sheet that you don't like with your

      20   changes.    You be the judge, see, for a little bit.

      21              MR. MARCUS:     Sure.    Well --

      22              THE COURT:    No, just cut it out and give it to me.          You

      23   don't have to talk.      Just write; write, w-r-i-t-e.         Remember?   I

      24   think I said that.

      25              Okay.    So whatever changes you think should be made.
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       1            MR. MARCUS:     There are some substantive --

       2            THE COURT:     Whatever changes, write them in with pen,

       3   pencil, whatever it is.       Whatever you don't like.    You know,

       4   cross it over, delete it, say it doesn't include this, whatever

       5   it is and then rip out those pages and give it to me and we will

       6   be ahead of the game.    Assuming the defendant continues to

       7   testify -- I assume he will, and he'll be crossed.

       8            If the Government is going to have any rebuttal, you

       9   should have it tomorrow afternoon --

      10            MR. JUENGER:    We'll be prepared, Your Honor.

      11            THE COURT:     -- okay, which means we won't have the

      12   closing arguments.    We'll have the charge conference tomorrow

      13   and you can prepare over the weekend for your closing arguments

      14   on Monday morning.    Okay?

      15            How long does the Government want for closing argument?

      16            I am sitting down, so you can say.

      17            MR. JUENGER:     90 minutes, Your Honor.

      18            THE COURT:     90 minutes.      How do you want to break up

      19   your 90 minutes?     Emphasis added by the court reporter.

      20            MR. JUENGER:    I'll talk slow.       60/30.

      21            THE COURT:     Oh, my goodness.       How about the defense?

      22            MR. RASHBAUM:    Judge, we won't go 90 minutes, but we'll

      23   ask for 90 minutes as well.

      24            THE COURT:     You know --

      25            MR. RASHBAUM:     There's no chance we'll go 90 minutes.
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       1              THE COURT:     -- only one time did a lawyer, in all the

       2   trials I've had, did a lawyer say, I don't need that much time,

       3   as my opponent.    I can do this in 40 minutes, 30 minutes, and I

       4   thought maybe you were going to be the second one, but you're

       5   not.

       6              MR. RASHBAUM:      I'm not that unique.

       7              THE COURT:   No.

       8              MR. RASHBAUM:      Judge --

       9              THE COURT:     All right.     So that will be some time

      10   Monday, and then the jury can decide.            No big deal.

      11              MR. JUENGER:     Your Honor, can I just inquire?         Having

      12   not tried a case before you, do you allow us to split the

      13   closing so that one of us --

      14              THE COURT:     You do split the closing.       You do.    Don't

      15   you?   Oh, yeah.   Other judges don't allow you to do that?

      16              MR. JUENGER:     Some don't.

      17              THE COURT:     Really?   Which ones, just for my

      18   information.    There's nothing wrong with that.          I'm just

      19   curious.

      20              MR. JUENGER:    Offhand, I can't recall.       And then

      21   different judges have rules about the rebuttal close can't

      22   exceed twice the -- whatever.

      23              THE COURT:     Well, you know, the theory of it is -- it's

      24   not really a time thing.

      25              The theory is that two prosecutors have been fighting
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       1   internally about who gives the opening, who does what witness,

       2   who does what cross, because they're usually type A

       3   personalities, like the defense lawyers, too.         So I don't know

       4   how they decide; seniority, flip of the coin, who worked harder,

       5   who started the case, however those things are done.

       6               So what ends up happening is sometimes the individual

       7   who gives the opening statement actually gives a closing

       8   argument.    I've seen that.     And then when we have the closings,

       9   the rebuttal doesn't become a rebuttal.         It becomes the closing

      10   argument that the person wanted, which has probably driven some

      11   judges to have these rules.

      12            I don't have one.       I'm going to trust you all, but the

      13   rebuttal has to rebut.       So that's why generally we can't have

      14   someone say, 10 minutes for opening, an hour and a half for

      15   rebuttal.     Obviously, we can't have that because there's no way

      16   you would need that much time to rebut.         So as long as their

      17   rebuttal is to rebut -- sometimes it's the most exciting part of

      18   a closing argument.        You just get down to it without the

      19   beginning.     I don't have rules about that.

      20               So, of course, you can split it.      There are two of you.

      21               MR. JUENGER:    Thank you, Your Honor.

      22               MR. RASHBAUM:    And Judge, can Mr. Marcus and I split

      23   our closing argument?

      24            THE COURT:    You know, I don't see that that often, but

      25   what's sauce for the goose should be sauce for the gander.            I
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       1   have no problem with that as long as it doesn't exceed the time,

       2   and you all agree among yourselves.           It doesn't bother me.    It

       3   doesn't bother me.

       4            MR. RASHBAUM:      Thank you, Your Honor.

       5            THE COURT:    Does it bother other judges?

       6               MR. RASHBAUM:   Not so far, but --

       7            THE COURT:    Okay.   No, I think that's only fair, if you

       8   want, you know, as long as it doesn't get too disjointed.             If we

       9   started having three or four, and then the defendant would have

      10   to -- the client would have to decide eventually.           It can't be

      11   like that.    But I don't have any problem.        I don't even care if

      12   it's repetitious thinking that it inures to the detriment of the

      13   person who's repeating.     So there's no point arbitrarily giving

      14   you a time limit in closing that is less than what you've asked

      15   for when we always have delays in a trial.          So I've never been a

      16   believer of that.

      17            I will tell you, look at the jurors.           90 minutes is --

      18   you know, unless they are recent Cuban arrivals who were forced

      19   to listen to Fidel Castro, it's just a long time.          But I'm sure

      20   it will be more valuable than anything that Fidel Castro said in

      21   his life.    Okay?

      22               MR. RASHBAUM:   Judge -- sorry.

      23            THE COURT:    What else?

      24               MR. RASHBAUM:   I just wanted to --

      25            THE COURT:    I think we've killed the five minutes.
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       1   That's my intention.

       2            MR. RASHBAUM:     We all know this, but I'm going to put

       3   in almost all of our exhibits through Mr. Grow.

       4            THE COURT:    Okay.   Are you going to have any objections

       5   to the exhibits, realizing the state of mind exception is really

       6   applicable to a defendant?

       7            MR. JUENGER:    It sure is, and I probably will not

       8   object to anything.

       9            THE COURT:     So what I'm going to let you do, you can

      10   meet tonight.   You prefer meeting tomorrow morning?

      11            MR. RASHBAUM:    I'll send him an email and I'll just

      12   tell him all the exhibits.

      13            THE COURT:    Do it however you want, but what I want you

      14   to do is get here, get to my courtroom a little bit more 10:30.

      15   I have a suspicion the juror is going to be late, since he's

      16   been late twice, and he can blame the doctor, so we should have

      17   time to do that.   But what I expect is to do it simply.

      18            You tell me what the exhibits are, the numbers; and if

      19   I don't hear anything from the Government on the defense

      20   exhibits, they're in.    If there's an objection to something,

      21   then yes, and then we can talk -- cross-examination is wide

      22   open.

      23            The only issue I had, and I probably should have

      24   presented it before, because the defendant mentioned his family

      25   which he is entitled to do, but I suspect the Government does
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       1   not intend to cross-examine on an alleged incident regarding his

       2   child, are you?

       3            MR. JUENGER:    Never even crossed my mind.

       4            THE COURT:     Okay.

       5            MR. RASHBAUM:     We discussed that, yes.

       6            THE COURT:     Okay.   I just didn't know about it.    I

       7   didn't know whether you thought opening the door was a little --

       8   you've got to be careful because some judges might think talking

       9   about that, assuming it's the same child, I don't know if it's

      10   the same child -- that that might open the door, if you've used

      11   something for the benefit.      I don't think it's appropriate and,

      12   under 403, I would probably exclude it; but then I don't want to

      13   hear about it anymore, nor in closing, because it has nothing to

      14   do with it, the family.     All right?

      15            MR. RASHBAUM:    Judge, sorry, one last thing.     We would

      16   like to play recordings through Mr. Grow.

      17            THE COURT:     So the defense wants to play recordings of

      18   Mr. Grow that were taken by whom?

      19            MR. RASHBAUM:     By the Government.

      20            THE COURT:     By the Government.    Wow.   You all really

      21   have just switched this thing, and the Government is going to

      22   agree or object to the Government's recordings of the defendant?

      23            MR. JUENGER:     I don't disagree that the recordings --

      24            THE COURT:     No, no, I just want to know if you're going

      25   to object.
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       1               MR. JUENGER:     Well, it could come in as a --

       2               THE COURT:   No, no, I just want to know if you're going

       3   to object.     If you're not going to object --

       4               MR. JUENGER:    Can I just reserve on whether I object

       5   until tomorrow?     I just need to think about it.          I haven't

       6   actually heard the recordings.         So I'd like to listen to them

       7   first.

       8               THE COURT:   Okay.   You should listen to the

       9   Government's recordings of the defendant.

      10               MR. JUENGER:    Someone has.        It just hasn't been me.

      11               THE COURT:   Well, then he should tell you what they

      12   say.     I suspect it's something exculpatory, because, if not, the

      13   defense wouldn't bring it in.        Even though it's technically

      14   hearsay because, you know, the state of mind exception is so

      15   wide open, I probably wouldn't risk it.            But unless there's

      16   something said or if he knew he was being recorded or, you know,

      17   something, I don't know --

      18               MR. RASHBAUM:    I will do it towards the end.

      19              THE COURT:    How long are these recordings?

      20              MR. RASHBAUM:     I've got to look, Your Honor.       They are

      21   not short.

      22               THE COURT:     More or less.

      23               MR. RASHBAUM:    Like 30 minutes each.

      24               THE COURT:     Oh, my goodness.       Oh, my goodness.

      25               MR. RASHBAUM:    They're shorter.       They're shorter.
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       1   Don't listen to me.

       2            THE COURT:    Maybe the thing to do is see how the

       3   cross-examination is, and if there are prior consistent

       4   statements, they come in as prior consistent statements.

       5            MR. RASHBAUM:     I would just be afraid that they

       6   wouldn't come in in redirect but we'll --

       7            THE COURT:     Well, I have a feeling he's going to be

       8   attacked on cross-examination --

       9            MR. RASHBAUM:     He might be.

      10            THE COURT:     -- by cross.     Yeah, so that's going to

      11   happen, but I don't know.

      12            MR. RASHBAUM:     That might be a good compromise, Your

      13   Honor.

      14            MR. JUENGER:     Your Honor, just going back --

      15            THE COURT:     I want to go forward.

      16            MR. JUENGER:     I know.   I hate to backtrack.   In a way

      17   it's going forward.

      18            As to the issue of Mr. Grow's incident with his child,

      19   I --

      20            THE COURT:     I thought you said it never even crossed

      21   your mind.   I shouldn't have even brought it up.

      22            MR. JUENGER:    No, no, it didn't cross my mind to

      23   inquire into the matter, but I could see how something relevant

      24   could come out of that, because this whole issue about having

      25   access to lawyers and did you get advice, et cetera, I think it
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       1   would be --

       2             THE COURT:     Oh, you think a criminal defense lawyer --

       3             MR. JUENGER:     I think it would be fair --

       4             THE COURT:     -- in a child abuse case gave him Tricare

       5   advice?

       6             MR. JUENGER:    No, absolutely not, but I think it would

       7   be fair to simply establish a fact which he probably will not

       8   deny, that he had access to lawyers.           He could have found a

       9   lawyer for himself and, clearly, he could have.            I don't know

      10   that he would deny that, but if he tried to deny that some way,

      11   it would certainly be fair to say, you have had lawyers in that

      12   time period.

      13             THE COURT:     If you ask him, you had access to lawyers

      14   if you wanted to --

      15             MR. JUENGER:    Correct.

      16             THE COURT:     -- didn't you?

      17             MR. RASHBAUM:    His answer will be yes.        His answer will

      18   be yes.

      19             THE COURT:     There you go.        See, there you could ask

      20   leading questions.     See how they are?

      21             MR. JUENGER:     Yes, I do.     I like them.

      22             THE COURT:     You've all practiced leading questions so

      23   well on direct, you should be able to do it on cross.

      24             All right.     Anything else I can help you with?

      25             Sleep in tomorrow or prepare.          Do what you want.   See,
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       1   I'm not rushing you that much.         You start at 10:30.          What's the

       2   complaint?     Okay?

       3              THE COURT SECURITY OFFICER:          All rise.

       4              THE COURT:     All right.    Have a good afternoon.

       5              MR. RASHBAUM:     Have a good night, Your Honor.

       6              MR. JUENGER:    Good night, Your Honor.

       7              THE COURT:     Good afternoon.       When does the sun set,

       8   Shirley?

       9              MR. RASHBAUM:     The sun has set, Your Honor.

      10              MR. LARSEN:    The sun has set, Your Honor.

      11              THE COURT:    No, no.   You've got to go to the west side

      12   and you'll still see it.

      13              MR. LARSEN:    The sun has set.

      14              You want the instructions tonight?

      15              THE COURT:     Yes, I do.    I do.     I do.     I do.    And from

      16   the defense.

      17              Okay.   Let's clean up.

      18              I need just the ones you want to change.

      19              MR. MARCUS:     I could red line --

      20              THE COURT:     No, I don't need red line.

      21              MR. MARCUS:     There are some that are red lined.

      22              THE COURT:     I wanted you to do it all.          Do it all.    I

      23   don't want you to red line.        I want you to take a pen and write

      24   or delete.     That's what I want you to do.         One of the three of

      25   you can do it.     That's what I want you to do.          Bring it in
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       1   tomorrow morning with that.     I don't want red lining.

       2            I want you to cross out what you dislike, and I want

       3   you to write in what you would like.      Then you can type

       4   additional instructions.    Those you can type.     Those that you

       5   don't like, just say you don't like them.      You don't even have

       6   to say why.

       7        (The trial adjourned at 6:15 p.m.)

       8

       9                       C E R T I F I C A T E

      10            I hereby certify that the foregoing is an accurate

      11   transcription of proceedings in the above-entitled matter.

      12

      13   ________________
              09-10-18                ______________________________________
               DATE                   GILDA PASTOR-HERNANDEZ, RPR, FPR
      14                              Official United States Court Reporter
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